 Case
 Case 2:21-cv-07192-SVW-AS
      2:21-cv-06968-RGK-MARDocument
                            Document1-1
                                      33-1
                                         Filed
                                             Filed
                                               09/08/21
                                                   02/02/22
                                                          Page
                                                             Page
                                                               1 of1104
                                                                     of 104
                                                                          Page
                                                                             Page
                                                                               ID #:7
                                                                                  ID
                                    #:221
   AO 106A (08/18) Application for a Warrant by Telephone or Other Reliable Electronic Means


                                          UNITED STATES DISTRICT COURT                                                                          vn:;1m
                                                                                                                                    Cl.~11)(. !",8, urnR!('T C(>\'Ri
                                                                           for the
                                                                Central District of California                                     13111121 I
                                                                                                                                (;I;!'< fRALl'll> TRIC'f (i~ \ .\l.lHJl'l,L\
                     In the Matter of the Search of                            )                                                   m·:           ••           lltri.n·
             (Briefly describe the property to be searched or identify the     )
                             person by name and address)                       )        Case No. 2:21-MJ-01302
      9182 W. OLYMPIC BLVD.,                                                   )
      BEYERLY HILLS, CALIFORNIA                                                )
                                                                               )
                                                                               )
                                                                               )

      APPLICATION FOR A WARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS
          I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
  penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
  property to be seal'ched and give its location):
        See Attachment A
  located in the Central District of California, there is now concealed (identify the person or describe the properly to be seized):
        See Attachment 13

            The basis for the search under Fed. R. Crim. P. 41 (c.,) is (check one or more):
                   [8j evidence of a crime;
                   l8l contraband, fruits of crime, or other items illegally possessed;
                   [8j property designed for use, intended for use, or used in committing a crime;

                   D a person to be arrested or a person who is unlawfully restrained.
             The search is related to a violation of:
                Code Section                                                             Offense Description
          18 u.s,c. §§ 371, .wl, 12.5.!i; 21 u.s.c. §§                       See affidavit
          841, 846; 31 u.s,c, §§ 5324 and illl.


         The application is based on these facts:
                   See attached Affidavit
                   [8j Continued on the attached sheet.
         D Delayed notice of_ _ _ _days (give exact ending date if more than 30 days: _ _ _ _ _ ) is requested
         under 18 !l,S.C. § 3103a, the basis of which is set forth on the attached sheet.
                                                                                   Is Lynne Zellhart
                                                                                                       Applicant's signature
                                                                                   Special Ag¢ ~Jlne Zellhart, FBI_~- _
                                                                                                       Printed name and title
Attested to by the applicant in accordance with the requirements of fed. R, Crjm. P, 4, l by telephone.
Date: March 17, 2021
                                                                                                       J11dge 's signature
City and state: Los Angeles. CA                                                    Hon. Steve Ki~U.S. Ma_gistrate Jud~~-
                                                                                                  Prtnted name and title
AUSA Andrew Brown, xO 102, 11th Floor
                                                                       EXHIBIT A
                                                                           7
Case
Case 2:21-cv-07192-SVW-AS
     2:21-cv-06968-RGK-MARDocument
                           Document1-1
                                     33-1
                                        Filed
                                            Filed
                                              09/08/21
                                                  02/02/22
                                                         Page
                                                            Page
                                                              2 of2104
                                                                    of 104
                                                                         Page
                                                                            Page
                                                                              ID #:8
                                                                                 ID
                                   #:222




                                ATTACHMENT A - USPV

      The premises to be searched is:

           The storefront located at 9182 W. OLYMPIC BLVD., BEVERLY
      HILLS, CALIFORNIA, which houses the businesses known as Olympic
      Gold & Jewelry and U.S. Private Vaults in a single retail space
      with only one entrance.     The premises to be searched is a retail
      space in a strip mall located on the south side of Olympic Blvd.
      between S. Palm Drive and S, Oakhurst Drive.       It bears the
      current street number "9182" over the glass entry door on the
      left side of the space, and the former street number "9186"
      towards the right.    Above the premises to be searched on the
      stucco wall is the sign "US PRIVATE VAULTS" in red and blue
      letters.   The front of the premises to be searched is all glass,
      some of it darkly tinted.     The glass windows bear the additional
      signs "OLYMPIC GOLD & JEWELRY" and "US PRIVATE VAULTS."        The
      premises to be searched is between the stores "Silver Nails" to
      the east and "Mail Service" to the west, and is pictured in the
      attached photographs:




                                         1




                                   EXHIBIT A
                                       8
Case
Case 2:21-cv-07192-SVW-AS
     2:21-cv-06968-RGK-MARDocument
                           Document1-1
                                     33-1
                                        Filed
                                            Filed
                                              09/08/21
                                                  02/02/22
                                                         Page
                                                            Page
                                                              3 of3104
                                                                    of 104
                                                                         Page
                                                                            Page
                                                                              ID #:9
                                                                                 ID
                                   #:223




                                         2




                                   EXHIBIT A
                                       9
Case
 Case2:21-cv-07192-SVW-AS
      2:21-cv-06968-RGK-MARDocument
                             Document
                                    1-133-1
                                         FiledFiled
                                               09/08/21
                                                    02/02/22
                                                          Page
                                                             Page
                                                               4 of 4104
                                                                      of 104
                                                                          Page
                                                                             Page
                                                                               ID #:10
                                                                                   ID
                                     #:224




   1                                  ATTACHMENT B--USPV
   2   I.   ITEMS TO BE SEIZED
   3        1.      The items to be seized are evidence, contraband, fruits, or
   4   instrumentalities of violations of 18 U,S.C, §§ 371, llll, and ll.5..fi.;
   5   2.1 u.s.c.   §§   841, 846; and 31 U,S,C, §§ 5324 and 5.3.3..l (money
   6   laundering, distribution of controlled substances, wire fraud,
   7   structuring, and conspiracy to commit the same)         (the "SUBJECT
   8   OFFENSESn), namely:
   9                a.     Narcotics and controlled substances, such as cocaine
  10   and THC, and related paraphernalia such as scales, pay-owe sheets,
  11   packaging material such as vape cartridges, and documents referring
  12   or relating to them, such as their manufacture or sale, or
  13   maintaining premises for the same;
  14                b.     Records referring or relating to countersurveillance
  15   of law enforcement, obstructing investigations, warning persons of
  16   law enforcement inquiries or activities such as serving subpoenas or
  17   search warrants, or hiding, altering, or destroying evidence;
  18                c.     Money counters, cash over $10,000, bitcoin and other
  19   digital currency as well as related documents and programs, and
  20   records referring or relating the preceding items or to IRS form
  21   8300, Currency Transaction Reports and other Bank Security Act (BSA)
  22   requirements, currency reporting requirements generally, structuring
  23   transactions to circumvent those requirements, such as instructions
  24   to keep transactions under $10,000 in cash, anti-money laundering

  25   programs and how to evade them, investigations by financial
  26   institutions and the closure or threatened closure of financial
  27   accounts, and, since 2019, records of cash payments and receipts;
  28




                                      EXHIBIT A
                                         10
Case
 Case2:21-cv-07192-SVW-AS
      2:21-cv-06968-RGK-MARDocument
                             Document
                                    1-133-1
                                         FiledFiled
                                               09/08/21
                                                    02/02/22
                                                          Page
                                                             Page
                                                               5 of 5104
                                                                      of 104
                                                                          Page
                                                                             Page
                                                                               ID #:11
                                                                                   ID
                                     #:225




   1              d.    Firearms, ammunition, and related paraphernalia such
   2   as holsters and magazines, and records referring or relating to the
   3   same;
   4              e.   Documents and records referring or relating to actual
   5   or threatened violence, such as those to enforce a criminal debt;
   6              f.   Documents and records referring or relating to the
   7   conversion of cash to financial instruments such as checks and wire
   8   transfers, and vice versa, for a percentage of the dollar value
   9   converted, including such conversions when there is an intermediate
  10   medium such as precious metals, whether real or purported;
  11              g.   Records reflecting or relating to the escheatment of
  12   property to the state of California including the requirement to do
  13   so, returning property to a named designee, the disposition of
  14   contents of abandoned/unpaid safety deposit boxes, and complaints
  15   that items were missing from a safety deposit box;
  16              h.   Records referring or relating to criminals, crimes,
  17   prison, arrests, criminal investigations, criminal charges, and asset
  18   forfeiture;
  19              i.   Biometric scanning equipment and records, and
  20   documents referring or relating to them;
  21              j.   Digital or video security systems, recordings of
  22   forcing open safety deposit boxes and the removal of contents of
  23   boxes for any purpose including abandonment or incapacity of the
  24   customer and documents referring or relating to the same, and, since
  25   2019, surveillance video;
  26              k.   Nests of safety deposit boxes and keys, and documents
  27   and records referring or relating to them since 2019.        This warrant
  28   does not authorize a criminal search or seizure of the contents of
                                           2


                                    EXHIBIT A
                                       11
Case
 Case2:21-cv-07192-SVW-AS
      2:21-cv-06968-RGK-MARDocument
                             Document
                                    1-133-1
                                         FiledFiled
                                               09/08/21
                                                    02/02/22
                                                          Page
                                                             Page
                                                               6 of 6104
                                                                      of 104
                                                                          Page
                                                                             Page
                                                                               ID #:12
                                                                                   ID
                                     #:226




   1   the safety deposit boxes.     In seizing the nests of safety deposit

   2   boxes, agents shall follow their written inventory policies to

   3   protect their agencies and the contents of the boxes.         Also in

   4   accordance with their written policies, agents shall inspect the

   5   contents of the boxes in an effort to identify their owners in order

   6   to notify them so that they can claim their property;

   7              1.    Records referring or relating to CARES Act relief

   8   programs, such as the Paycheck Protection Program and Small Business

   9   Administration loans;

  10              m.    Records referring or relating to the ownership or

  11   control of U.S. PRIVATE VAULTS or OLYMPIC GOLD      &   JEWELRY or parent or

  12   subsidiary entity, including employment records, and records of

  13   corporate actions such as corporate minutes and votes;

  14              n.    Since 2019, documents and records referring or

  15   relating to financial or monetary transactions involving U.S. PRIVATE

  16   VAULTS or OLYMPIC GOLD & JEWELRY, including records referring to or

  17   identifying their customers;

  18              o.    Records referring or relating to Beltran or a cartel,

  19   or since 2019 to MJ Real Estate Investors Inc.       (MJRE), Emerald Fund

  20   LLC, Alta Quality Growers, MGP Management, MGP Consulting, MGP

  21   Filling and Packaging, Bachelor Valley Fund LLC, Antares Topanga

  22   Group LLC, dba Valley Collective Care, Rogue Bioscience, and

  23   Sportsware Inc.;

  24              p.    Records relating to wealth and the movement of wealth

  25   since 2019, such as tax returns and forms, crypto-currency accounts

  26   and transfers, other digital wealth storage and transfer methods

  27   including PayPal and Venmo, money orders, brokerage and financial

  28   institution statements, wire transfers, currency exchanges, deposit

                                           3



                                    EXHIBIT A
                                       12
Case
 Case2:21-cv-07192-SVW-AS
      2:21-cv-06968-RGK-MARDocument
                             Document
                                    1-133-1
                                         FiledFiled
                                               09/08/21
                                                    02/02/22
                                                          Page
                                                             Page
                                                               7 of 7104
                                                                      of 104
                                                                          Page
                                                                             Page
                                                                               ID #:13
                                                                                   ID
                                     #:227




   1   slips, cashier's checks, transactions involving prepaid cards, and/or
   2   other financial documents related to depository bank accounts, lines
   3   of credit, credit card accounts, real estate mortgage initial
   4   purchase loans or loan refinances, residential property leases,
   5   escrow accounts, the purchase, sale, or leasing of automobiles or
   6   real estate, or auto loans, and investments, or showing or referring
   7   to purchases or transactions for more than $1,000;
   8              q.   Records or items containing indicia of occupancy,
   9   residency or ownership of any location or vehicle being searched,
  10   such as keys, rental agreements, leases, utility bills, identity
  11   documents, cancelled mail, and surveillance video;
  12              r.   Documents and records showing electronic and telephone
  13   contacts and numbers called or calling, such as SIM cards, address
  14   books, call histories, telephone bills, and Signal, ICQ, Telegram,
  15   and email addresses.
  16              s.   Any digital device which is itself or which contains
  17   evidence, contraband, fruits, or instrumentalities of the Subject
  18   Offenses, and forensic copies thereof.
  19        2.    With respect to any digital device containing evidence
  20   falling within the scope of the foregoing categories of items to be
  21   seized:
  22              a.   evidence of who used, owned, or controlled the device
  23   at the time the things described in this warrant were created,
  24   edited, or deleted, such as logs, reglstry entries, configuration
  25   files, saved usernames and passwords, documents, browsing history,
  26   user profiles, e-mail, e-mail contacts, chat and instant messaging
  27   logs, photographs, and correspondence;
  28

                                           4


                                    EXHIBIT A
                                       13
Case
 Case2:21-cv-07192-SVW-AS
      2:21-cv-06968-RGK-MARDocument
                             Document
                                    1-133-1
                                         FiledFiled
                                               09/08/21
                                                    02/02/22
                                                          Page
                                                             Page
                                                               8 of 8104
                                                                      of 104
                                                                          Page
                                                                             Page
                                                                               ID #:14
                                                                                   ID
                                     #:228




   1              b.   evidence of the presence or absence of software that
   2   would allow others to control the device, such as viruses, Trojan
   3   horses, and other forms of malicious software, as well as evidence of
   4   the presence or absence of security software designed to detect
   5   malicious software;
   6              C,   evidence of the attachment of other devices;
   7              d.   evidence of counter-forensic programs (and associated
   8   data) that are designed to eliminate data from the device;
   9              e.   evidence of the times the device was used;
  10              f.   passwords, encryption keys, biometric keys, and other
  11   access devices that may be necessary to access the device;
  12              g.   applications, utility programs, compilers,
  13   interpreters, or other software, as well as documentation and
  14   manuals, that may be necessary to access the device or to conduct a
  15   forensic examination of it;
  16              h.   records of or information about Internet Protocol
  17   addresses used by the device;
  18              i.   records of or information about the device's Internet
  19   activity, including firewall logs, caches, browser history and
  20   cookies, "bookmarked" or "favorite" web pages, search terms that the
  21   user entered into any Internet search engine, and records of user-
  22   typed web addresses.
  23        3.    As used herein, the terms "records," "documents,"
  24   "programs," "applications," and "materials" include records,
  25   documents, programs, applications, and materials created, modified,
  26   or stored in any form, including in digital form on any digital
  27   device and any forensic copies thereof.
  28

                                           5



                                    EXHIBIT A
                                       14
Case
 Case2:21-cv-07192-SVW-AS
      2:21-cv-06968-RGK-MARDocument
                             Document
                                    1-133-1
                                         FiledFiled
                                               09/08/21
                                                    02/02/22
                                                          Page
                                                             Page
                                                               9 of 9104
                                                                      of 104
                                                                          Page
                                                                             Page
                                                                               ID #:15
                                                                                   ID
                                     #:229




   1         4.   As used herein, the term "digital device" includes any
   2   electronic system or device capable of storing or processing data in
   3   digital form, including central processing units; desktop, laptop,
   4   notebook, and tablet computers; personal digital assistants; wireless
   5   communication devices, such as telephone paging devices, beepers,
   6   mobile telephones, and smart phones; digital cameras; gaming consoles
   7   (including Sony PlayStations and Microsoft Xboxes); peripheral
   8   input/output devices, such as keyboards, printers, scanners,
   9   plotters, monitors, and drives intended for removable media; related
  10   communications devices, such as modems, routers, cables, and
  11   connections; storage media, such as hard disk drives, floppy disks,
  12   memory cards, optical disks, and magnetic tapes used to store digital
  13   data (excluding analog tapes such as VHS); and security devices.
  14   II.   SEARCH PROCEDURE FOR DIGITAL DEVICES

  15         5.   In searching digital devices or forensic copies thereof,
  16   law enforcement personnel executing this search warrant will employ
  17   the following procedure:
  18              a.   Law enforcement personnel or other individuals
  19   assisting law enforcement personnel (the "search team") will, in
  20   their discretion, either search the digital device(s) on-site or
  21   seize and transport the device(s) and/or forensic image{s) thereof to
  22   an appropriate law enforcement laboratory or similar facility to be
  23   searched at that location.     The search team shall complete the search
  24   as soon as is practicable but not to exceed 120 days from the date of
  25   execution of the warrant.     The government will not search the digital
  26   device(s) and/or forensic image(s) thereof beyond this 120-day period
  27   without obtaining an extension of time order from the Court.
  28

                                           6


                                    EXHIBIT A
                                       15
Case
 Case2:21-cv-07192-SVW-AS
      2:21-cv-06968-RGK-MARDocument
                             Document
                                    1-133-1
                                         FiledFiled
                                               09/08/21
                                                    02/02/22
                                                          Page
                                                             Page
                                                               10 of10104
                                                                       of 104
                                                                           Page
                                                                              Page
                                                                                ID #:16
                                                                                    ID
                                     #:230




    1                b.   The search team will conduct the search only by using
    2   search protocols specifically chosen to identify only the specific
    3   items to be seized under this warrant.
    4                     i.    The search team may subject all of the data
    5   contained in each digital device capable of containing any of the
    6   items to be seized to the search protocols to determine whether the
    7   device and any data thereon falls within the list of items to be
    8   seized.   The search team may also search for and attempt to recover
    9   deleted, "hidden," or encrypted data to determine, pursuant to the
   10   search protocols, whether the data falls within the list of items to
   11   be seized.
   12                     ii.   The search team may use tools to exclude normal
   13   operating system files and standard third-party software that do not
   14   need to be searched.
   15                     iii. The search team may use forensic examination and
   16   searching tools, such as "Encase" and "FTK" (Forensic Tool Kit),
   17   which tools may use hashing and other sophisticated techniques.
   18                c.   If the search team, while searching a digital device,
   19   encounters immediately apparent contraband or other evidence of a
   20   crime outside the scope of the items to be seized, the team will not
   21   search for similar evidence outside the scope of the items to be
   22   seized without first obtaining authority to do so.
   23                d.   If the search determines that a digital device does
   24   not contain any data falling within the list of items to be seized,
   25   the government will, as soon as is practicable, return the device and
   26   delete or destroy all forensic copies thereof.
   27                e.   If the search determines that a digital device does
   28   contain data falling within the list of items to be seized, the
                                            7



                                     EXHIBIT A
                                        16
Case
 Case2:21-cv-07192-SVW-AS
      2:21-cv-06968-RGK-MARDocument
                             Document
                                    1-133-1
                                         FiledFiled
                                               09/08/21
                                                    02/02/22
                                                          Page
                                                             Page
                                                               11 of11104
                                                                       of 104
                                                                           Page
                                                                              Page
                                                                                ID #:17
                                                                                    ID
                                     #:231




    1   government may make and retain copies of such data, and may access
    2   such data at any time,
    3             f.    If the search determines that a digital device is (1)
    4   itself an item to be seized and/or (2) contains data falling within
    5   the list of other items to be seized, the government may retain the
    6   digital device and any forensic copies of the digital device, but may
    7   not access data falling outside the scope of the other items to be
    8   seized (after the time for searching the device has expired) absent
    9   further court order.
   10             g.    The government may also retain a digital device if the
   11   government, prior to the end of the search period, obtains an order
   12   from the Court authorizing retention of the device (or while an
   13   application for such an order is pending), including in circumstances
   14   where the government has not been able to fully search a device
   15   because the device or files contained therein is/are encrypted.
   16             h.    After the completion of the search of the digital
   17   devices, the government shall not access digital data falling outside
   18   the scope of the items to be seized absent further order of the
   19   Court.
   20        6.   The review of the electronic data obtained pursuant to this
   21   warrant may be conducted by any government personnel assisting in the
   22   investigation, who may include, in addition to law enforcement
   23   officers and agents, attorneys for the government, attorney support
   24   staff, and technical experts.     Pursuant to this warrant, the
   25   investigating agency may deliver a complete copy of the seized or
   26   copied electronic data to the custody and control of attorneys for
   27   the government and their support staff for their independent review.
   28

                                            8


                                    EXHIBIT A
                                       17
Case
 Case2:21-cv-07192-SVW-AS
      2:21-cv-06968-RGK-MARDocument
                             Document
                                    1-133-1
                                         FiledFiled
                                               09/08/21
                                                    02/02/22
                                                          Page
                                                             Page
                                                               12 of12104
                                                                       of 104
                                                                           Page
                                                                              Page
                                                                                ID #:18
                                                                                    ID
                                     #:232




    1        7.   In order to search for data capable of being read or
    2   interpreted by a digital device, law enforcement personnel are
    3   authorized to seize the following items:
    4             a.    Any digital device capable of being used to commit,
    5   further, or store evidence of the offense(s) listed above;
    6             b.    Any equipment used to facilitate the transmission,
    7   creation, display, encoding, or storage of digital data;
    8             c.    Any magnetic, electronic, or opticaJ. storage device
    9   capable of storing digital data;
   10             d.    Any documentation, operating logs, or reference
   11   manuals regarding the operation of the digital device or software
   12   used in the digital device;
   13             e.    Any applications, utility programs, compilers,
   14   interpreters, or other software used to facilitate direct or indirect
   15   communication with the digital device;
   16             f.    Any physical keys, encryption devices, dongles, or
   17   similar physical items that are necessary to gain access to the
   18   digital device or data stored on the digitaJ. device; and
   19             g.    Any passwords, password files, biometric keys, test
   20   keys, encryption codes, or other information necessary to access the
   21   digital device or data stored on the digital device.
   22        8.   During the execution of this search warrant, law
   23   enforcement is permitted to:    (1) depress the thumbs and/or fingers of
   24   MARK PAUL, MICHAEL POLJAK, GEORGE VASQUEZ, and HILLARY and STEVE
   25   BARTH onto the fingerprint sensor of the device (only when the device
   26   has such a sensor}, and direct which specific finger(s) and/or
   27   thumb(s) shall be depressed; and (2) hold the device in front of the
   28   face of those persons with their eyes open to activate the facial-,
                                            9



                                    EXHIBIT A
                                       18
Case
 Case2:21-cv-07192-SVW-AS
      2:21-cv-06968-RGK-MARDocument
                             Document
                                    1-133-1
                                         FiledFiled
                                               09/08/21
                                                    02/02/22
                                                          Page
                                                             Page
                                                               13 of13104
                                                                       of 104
                                                                           Page
                                                                              Page
                                                                                ID #:19
                                                                                    ID
                                     #:233




    1   iris-, or retina-recognition feature,     in order to gain access to the

    2   contents of any such device.     In depressing a person's thumb or

    3   finger onto a device and in holding a device in front of a person's

    4   face,    law enforcement may not use excessive force, as defined in

    5   Graham v. Connor,    490 tJ,S, 386 (1989); specifically, law enforcement
    6   may use no more than objectively reasonable force in light of the

    7   facts and circumstances confronting them.

    8           9.   The special procedures relating to digital devices found in

    9   this warrant govern only the search of digital devices pursuant to

   10   the authority conferred by this warrant, and do not apply to any

   11   other search of digital devices.

   12

   13
   14
   15

   16

   17
   18

   19

   20
   21
   22

   23

   24

   25
   26

   27
   28
                                           10



                                    EXHIBIT A
                                       19
Case
 Case2:21-cv-07192-SVW-AS
      2:21-cv-06968-RGK-MARDocument
                             Document
                                    1-133-1
                                         FiledFiled
                                               09/08/21
                                                    02/02/22
                                                          Page
                                                             Page
                                                               14 of14104
                                                                       of 104
                                                                           Page
                                                                              Page
                                                                                ID #:20
                                                                                    ID
                                     #:234




    1                                A F F I D A V I T

    2        I, Lynne K. Zellhart, being duly sworn and under oath, hereby

    3   depose and say as follows:

    4                              AFFIANT'S BACKGROUND
    5        1.    I am a Special Agent ("SA") with the FBI, and have been so

    6   employed since May 2004.     I am currently assigned to a White Collar

    7   Crime squad, which investigates money-laundering facilitation.        Prior

    8   to this assignment, I was assigned to the Southwest Border Anti-Money

    9   Laundering Task Force ("SWBAMLTF") in Los Angeles, which investigated

   10   large-scale, money-laundering activities associated with Mexican

   11   Criminal Enterprises ("MCE"), and was comprised of Special Agents

   12   from the FBI and deputies from the Los Angeles County Sheriff's

   13   Office.   Prior to my assignment with the SWBAMLTF, I was assigned to

   14   a Los Angeles High Intensity Drug Trafficking Area ("HIDTA") group,

   15   which investigated drug trafficking organizations.       I have also been

   16   assigned to a criminal enterprise (Bloods and Crips) task force in

   17   Los Angeles, as well as the Northern Ohio Law Enforcement Task Force,

   18   which is also engaged in investigations of drug trafficking

   19   organizations.   In addition to Special Agent training at Quantico,

   20   Virginia, I have attended DEA-sponsored Basic Narcotics Investigator

   21   School, a 40-hour intensive training for federal narcotics

   22   investigators.   I have also attended a 40-hour Asset Forfeiture/Money

   23   Laundering class, two week-long money laundering facilitation

   24   conferences and several other conferences sponsored by the various

   25   anti-money laundering interests.     I have made presentations on money

   26   laundering investigations at several training conferences including

   27   the Asset Forfeiture Summit for Law Enforcement Executives (March
   28

                                             1



                                     EXHIBIT A
                                        20
Case
 Case2:21-cv-07192-SVW-AS
      2:21-cv-06968-RGK-MARDocument
                             Document
                                    1-133-1
                                         FiledFiled
                                               09/08/21
                                                    02/02/22
                                                          Page
                                                             Page
                                                               15 of15104
                                                                       of 104
                                                                           Page
                                                                              Page
                                                                                ID #:21
                                                                                    ID
                                     #:235




    1   2018), the Advanced Money Laundering Conference (May 2018), and Money

    2   Laundering Across Investigative Programs (October 2018).
    3        2.      I have participated in numerous investigations of criminal

    4   enterprises, including violent criminal street gangs, drug-

    s   trafficking organizations, and businesses that are facilitating the

    6   laundering of criminal proceeds.        During the course of these

    7   investigations, I have identified co-conspirators through the use of

    8   telephone records and bills, financial records, photographs, and

    9   other documents.     I have directed and assisted in the handling of

   10   confidential sources to successfully infiltrate various-sized

   11   criminal enterprises via intelligence gathering, participation in

   12   consensual recordings, and the monitored purchase of a controlled

   13   substance.     I have participated in debriefings of cooperating

   14   defendants.     I have executed search warrants for controlled

   15   substances, documents, digital records and the proceeds of drug

   16   trafficking and other crimes.     I have conducted physical and

   17   electronic surveillance.     I have also conducted investigations in

   18   which I have used Global Positioning System ("GPS") information to

   19   locate and track persons who are the subjects of criminal

   20   investigations.     I have directed and participated in investigations

   21   involving the use of court-authorized interception of wire

   22   communications.     I have engaged in extensive document-based

   23   investigations, collecting, reviewing and analyzing bank documents,

   24   wire transfers, employment records, e-mail, and database research.

   25   I,   PURPOSE OF AFFIDAVIT: SEARCH AND SEIZURE WARRANTS

   26        3.      This affidavit is made in support of search warrants for

   27   the business U.S PRIVATE VAULTS ("USPV"), and the homes of USPV's

   28   principals MARK PAUL, MICHAEL POLIAK, GEORGE VASQUEZ (also known as

                                            2



                                     EXHIBIT A
                                        21
Case
 Case2:21-cv-07192-SVW-AS
      2:21-cv-06968-RGK-MARDocument
                             Document
                                    1-133-1
                                         FiledFiled
                                               09/08/21
                                                    02/02/22
                                                          Page
                                                             Page
                                                               16 of16104
                                                                       of 104
                                                                           Page
                                                                              Page
                                                                                ID #:22
                                                                                    ID
                                     #:236




    1   JORGE VASQUEZ), STEVE BARTH and HILLARY BARTH, for evidence of

    2   violations of 18 U,S,C           §§   371, lli..3., .J.3.5..6.; 21 u,s,c,       §§   84], .8..i6,;
    3   and 3J U,S,C, §§ 5324 and .il.3.1. (hereafter, the SUBJECT OFFENSES), as

    4   described more fully in Attachment B, which is incorporated by

    5   reference.          The locations to be searched (collectively, the "SUBJECT

    6   PREMISES"), described more fully in Attachments A which are also

    7   incorporated by reference, are:

    8                  a.      U.S. PRIVATE VAULTS,       9182 W. OLYMPIC BLVD., BEVERLY

    9   HILLS, CALIFORNIA ("USPV").

   10                  b.

   11

   12

   13

   14
   15
   16

   17
   18        4.        This affidavit is also made in support of a seizure warrant

   19   for the business computers, money counters, nests of safety deposit

   20   boxes and keys, digital and video surveillance and security equipment

   21   and biometric scanners located at USPV,                9182 West Olympic Blvd.,

   22   Beverly Hills, CA 90212, which are subject to seizure pursuant to lB.

   23   U,S.C,    §   982{h\ 11), 21 U.S.C.       §   853/fj and 3J U.S,C,          §    53J7(c) and
   24   forfeiture pursuant to 18 U.S,C, § 1956 (money laundering), ZJ U.S.C,

   25   § 841 (drug trafficking) and 31 u,s.c. § 5321 (structuring) because
   26   there is probable cause to believe that those items were used or

   27   intended to be used to facilitate violations of 11Lll...S,C, §§                            1956, 2.l.
   28   U,S,C,    §,..8.A.l   and 31 U.S.C. §   5321, and conspiracy to commit the same.
                                                      3



                                           EXHIBIT A
                                              22
Case
 Case2:21-cv-07192-SVW-AS
      2:21-cv-06968-RGK-MARDocument
                             Document
                                    1-133-1
                                         FiledFiled
                                               09/08/21
                                                    02/02/22
                                                          Page
                                                             Page
                                                               17 of17104
                                                                       of 104
                                                                           Page
                                                                              Page
                                                                                ID #:23
                                                                                    ID
                                     #:237




    1         5.    The information set forth in this affidavit is based upon

    2   my participation in the investigation, encompassing my personal

    3   knowledge, observations and experience, as well as information

    4   obtained through my review of evidence, investigative reports, and

    5   information provided by others, including other law enforcement

    6   partners.   As this affidavit is being submitted for the limited

    7   purpose of securing the requested warrants, I have not included each

    8   and every fact known to me concerning this investigation.        I have set

    9   forth only the facts that I believe are necessary to establish

   10   probable cause for the requested warrants.

   11   II.   Summary of investigation

   12         6.    U.S. Private Vaults is a business in a strip mall that

   13   rents safety deposit boxes anonymously.      It is owned and managed by

   14   criminals who engage in money laundering, drug trafficking, and

   15   structuring, among other offenses.      Its business model is designed to

   16   appeal to criminals for customers.      It charges many times what banks

   17   do for similar safety deposit box rentals, but staff conduct

   18   countersurveillance for customers, alert them to law enforcement

   19   investigations, and structure transactions for them to avoid filing

   20   currency reports--in addition to providing them a place to store

   21   criminal proceeds anonymously.     OSPV also launders for its customers

   22   cash that is purported to be drug proceeds by converting it into

   23   precious metals or wire transfers.      The great majority of USPV

   24   customers pay cash to rent their safety deposit boxes, at least some

   25   of which USPV then deposits into their own bank account, which it

   26   uses to pay its operating expenses.     By using its customers' criminal

   27   proceeds to maintain its own anonymous facility for the storage of

   28   criminal proceeds, USPV engages in money laundering.

                                            4



                                    EXHIBIT A
                                       23
Case
 Case2:21-cv-07192-SVW-AS
      2:21-cv-06968-RGK-MARDocument
                             Document
                                    1-133-1
                                         FiledFiled
                                               09/08/21
                                                    02/02/22
                                                          Page
                                                             Page
                                                               18 of18104
                                                                       of 104
                                                                           Page
                                                                              Page
                                                                                ID #:24
                                                                                    ID
                                     #:238




    1   III. PROBABLE CAUSE

    2        A.     US PRIVATE VAULTS HAS BEEN INDICTED
    3        7.     The Grand Jury indicted corporate defendant U.S. PRIVATE
    4   VAULTS INC. for Conspiracy to Launder Money, Conspiracy to Distribute
    5   Controlled Substances, and Conspiracy to Structure Transactions on
    6   March 9, 2021.     The indictment also contained forfeiture allegations
    7   against certain business equipment located at USPV, which the Grand
    8   Jury explicitly found were supported by probable cause.        The
    9   indictment is attached and incorporated by reference.        AUSA Andrew
   10   Brown informed me that:
   11               a.    The Ninth Circuit held in United States v. Seybold,
   12   726 F,2d 502, 504-05 (1983), that magistrates may consider the
   13   information contained in an indictment in making a subsequent
   14   probable cause determination, such as for search and seizure
   15   warrants.
   16               b.    The legislative history of forfeiture statute 21.
   17   I},S.C. § 853 indicates that Congress intended a grand jury's finding
   18   in support of forfeiture to be given considerable weight:
   19        For the purposes of issuing a restraining order, the
             probable cause established in the indictment . . . is to be
   20        determinative of any issue regarding the merits of the
             government's case on which the forfeiture is to be based.
   21
        S, Rep. No. 225, 98th Cong., 2d Sess. 203 (1984), reprinted in 1984
   22
        U.S. Code Cong,    &   Administrative News 3182, 3386.
   23
             Here, the description of the USPV business equipment that I seek
   24
        to seize by seizure warrant is identical to the description of the
   25
        USPV business equipment that the Grand Jury found probable cause to
   26
        forfeit in their indictment.
   27

   28
                                             5



                                      EXHIBIT A
                                         24
Case
 Case2:21-cv-07192-SVW-AS
      2:21-cv-06968-RGK-MARDocument
                             Document
                                    1-133-1
                                         FiledFiled
                                               09/08/21
                                                    02/02/22
                                                          Page
                                                             Page
                                                               19 of19104
                                                                       of 104
                                                                           Page
                                                                              Page
                                                                                ID #:25
                                                                                    ID
                                     #:239




    1           B.      INVESTIGATION BACKGROUND
    2           8.      In approximately 2015, several state and federal law
    3   enforcement agencies including the Federal Bureau of Investigation
    4   ("FBI"), the Drug Enforcement Administration ("DEA"), the United
    5   States Postal Inspections Service ("USPIS"), the Los Angeles Police
    6   Department ("LAPD"), and the Los Angeles County Sheriff's Department
    7   ("LASD") learned that the targets of criminal investigations were
    8   employing the services of U.S. PRIVATE VAULTS ("USPV") to store
    9   criminal proceeds.        Separate and unrelated investigations into drug
   10   trafficking, human trafficking, illegal gambling, racketeering,
   11   computer intrusion, insurance fraud and identity theft led
   12   investigators to the doorstep of USPV.        Search warrants executed on
   13   individual boxes within USPV consistently produced criminal proceeds
   14   and evidence of criminal conduct.
   15           9.     The following individuals have an ownership or management
   16   interest in USPV as described:
   17                  a.    Mark PAUL - PAUL is the owner and founder of USPV.
   18   According to California Secretary of State records, PAUL is the CEO
   19   and registered agent of USPV.        PAUL has held himself out to be the
   20   owner of USPV publicly and privately.        PAUL told CS-1, discussed
   21   later in this affidavit, that he has the ability to monitor
   22   activities inside USPV remotely from his residence at
   23

   24                  b.    Michael POLIAK - In 2019 POLIAK became a co-owner of
   25   USPV.        POLIAK purchased a 50% interest in the business - 25% from
   26   Hilary BARTH (HILLARY BARTH) and Steve BARTH (STEVE BARTH) and 25%
   27   from Mark PAUL.        POLIAK himself stated that he paid $475,000 for his
   28   share of the business - "two-seventy-five clean; two hundred dirty,"
                                              6



                                        EXHIBIT A
                                           25
Case
 Case2:21-cv-07192-SVW-AS
      2:21-cv-06968-RGK-MARDocument
                             Document
                                    1-133-1
                                         FiledFiled
                                               09/08/21
                                                    02/02/22
                                                          Page
                                                             Page
                                                               20 of20104
                                                                       of 104
                                                                           Page
                                                                              Page
                                                                                ID #:26
                                                                                    ID
                                     #:240




    1   Bank records show that in April 2019, Michael POLJAK transferred
    2   $225,000 to USPV's business bank account. Agents believe the
    3   remainder was paid in cash (i.e. "dirty") to PAUL and the BARTHs.
    4   POLIAK was a USPV customer for two years before becoming an owner.
    5                c.      George VASQUEZ - VASQUEZ is employed at USPV as
    6   manager and armed guard.        He works Tuesday through Saturday during
    7   business hours and handles new customers, sales, security, and all
    8   matters of operation.        Secretary of State records (2019) list VASQUEZ
    9   as "manager" of USPV.        The Beverly Hills Chamber of Commerce website
   10   lists VASQUEZ as USPV's Vice President.
   11                d.     Matt BONVICIN - BONVICIN is a partner at USPV and its
   12   Chief Technology Officer.        Bank records show that BONVICIN's company,
   13   SPORTSWARE INC., receives regular payments from USPV, including two
   14   large payments after POLJAK bought in to the company in April 2019.
   15                e.      HILLARY BARTH and STEVE BARTH owned a 25% interest in
   16   USPV prior to POLJAK buying them out.        They operate OLYMPIC GOLD &
   17   JEWELRY on a daily basis, and operate USPV on VASQUEZ's day off,
   18   OLYMPIC GOLD & JEWELRY is located at the same physical location as
   19   USPV and engages in buying and selling gold and silver, often to USPV
   20   customers.        STEVE BARTH is listed on a 2016 Secretary of State filing
   21   as "Secretary" of USPV.        HILLARY BARTH is listed as a
   22   "representative" of USPV on the Beverly Hills Chamber of Commerce
   23   website.
   24        C.      HOW USPV OSTENSIBLY OPERATES

   25        10.     According to its own advertising literature, website and
   26   statements made to investigators, USPV operates as follows:
   27

   28
                                              7



                                        EXHIBIT A
                                           26
Case
 Case2:21-cv-07192-SVW-AS
      2:21-cv-06968-RGK-MARDocument
                             Document
                                    1-133-1
                                         FiledFiled
                                               09/08/21
                                                    02/02/22
                                                          Page
                                                             Page
                                                               21 of21104
                                                                       of 104
                                                                           Page
                                                                              Page
                                                                                ID #:27
                                                                                    ID
                                     #:241




    1              a.   Customers may rent a safe deposit box ranging in size
    2   in inches between 3 x 5 x 22 (smallest) and 10 x 10 x 22 (largest)
    3   for $575 to $1,800 a year, respectively,

    4              b.   An iris scan provides the customer with access to the
    5   vault,   No personal information, social security number, driver's
    6   license or other forms of identification are required to rent or
    7   access a box,
    8              c.   The customer keeps all keys.     The keys do not contain
    9   or denote box numbers on them.
   10              d.   A hand scan is taken as a second form of biometric
   11   identification, in the event iris data is lost or a customer loses an
   12   eye.
   13              e.   A second person may have access to a box, if the
   14   customer so chooses, and the second individual is present with the
   15   customer when access is arranged; the second party's access is also
   16   through iris scan; and the customer may revoke the second party's
   17   access at any time.
   18              f.   USPV has 24/7 electronic monitoring, 24/7 armed
   19   response, and the vault is time locked when not open.
   20              g.   In the event of non-payment for three months, USPV
   21   will drill open the box.    USPV recommends that customers leave
   22   contact information inside the box to account for this situation.
   23   However, "If no contact information is found, we will store the
   24   contents of your box in our private safe for three years. Thereafter,
   25   we are required to escheat (forward) the contents to the State of
   26   California.ll   (USPV Website, Frequently Asked Questions).
   27
   28
                                            8



                                    EXHIBIT A
                                       27
Case
 Case2:21-cv-07192-SVW-AS
      2:21-cv-06968-RGK-MARDocument
                             Document
                                    1-133-1
                                         FiledFiled
                                               09/08/21
                                                    02/02/22
                                                          Page
                                                             Page
                                                               22 of22104
                                                                       of 104
                                                                           Page
                                                                              Page
                                                                                ID #:28
                                                                                    ID
                                     #:242




    1        D.     US Private Vaults (USPV) Is Designed to Appeal to and Cater
                    to Criminals
    2
             11.    USPV's primary pitch to customers is anonymity: "Complete
    3
        Privacy; Biometric Identification; No ID Required. 1 "      By providing
    4
        and promoting total anonymity, USPV caters to and attracts criminals,
    5
        who seek to keep their identities and the source of their cash beyond
    6
        the reach of banks, regulators, the IRS, and law enforcement.
    7
             12.    On USPV's website 2 , Chief Technology Officer Matt BONVICIN 3
    8
        boasts, "Our business is one of very few where we don't even want to
    9
        know your name.    For your privacy and the security of your assets in
  10
        our vault, the less we know the better."       The statement by USPV "the
   11
        less we know, the better" suggests they know that their customers are
   12
        using the vault for criminal purposes, such as storing illegal
   13
        proceeds.    This practice appeals to those engaged in activities which
   14
        they wish to hide from legal authorities and law-abiding financial
   15
        institutions.
   16
             13.    USPV puts forth a similar rationale with regard to use of
   17
        USPV safe deposit boxes versus bank safe deposit boxes.       On its
   18
        website, another USPV executive 4 posted "Four Reasons to Store Your
   19
        Gold At USPV," asserting: "Banks require clients to provide their
   20

   21        1 USPV website, www.usprivatevaults.com
   22        2 usprivatevaults.com/uspv-news
             3 This post on the USPV web page was written by Matt Bonvicin
   23   who is described at the end of the post as follows: "Matt is an
        entrepreneur, programmer, and database/systems admin who enjoys
   24   toying with technologies. He is a partner at U.S. Private Vaults as
        well as its Chief Technology Officer."
   25
             4 This post on the USPV website (usprivatevaults.com) was
   26   written by Kent Martin, who is described at the end of the post as
        follows: "A serial entrepreneur with a background in investment
   27   banking, Kent is a founding partner of U.S. Private Vaults and serves
        as its Chief Executive Officer." We believe Martin is no longer
   28   USPV's Chief Executive Officer; however, the post remains on their
        website.
                                            9



                                     EXHIBIT A
                                        28
Case
 Case2:21-cv-07192-SVW-AS
      2:21-cv-06968-RGK-MARDocument
                             Document
                                    1-133-1
                                         FiledFiled
                                               09/08/21
                                                    02/02/22
                                                          Page
                                                             Page
                                                               23 of23104
                                                                       of 104
                                                                           Page
                                                                              Page
                                                                                ID #:29
                                                                                    ID
                                     #:243




    1   social security number and a photo identification as a condition for

    2   renting a safe deposit box. Your information is then filed in the

    3   bank's central data system. This information can be easily accessed

    4   by government agencies (such as the IRS) or attorneys armed with

    5   court orders, If no one is aware you have a safe deposit box, the

    6   contents (your gold) are much safer."       By advocating a service which

    7   circumvents the IRS and persons "armed with court orders," USPV

    8   tacitly acknowledges that criminal proceeds (which the government has

    9   a legitimate interest in) can be secreted at USPV, but not at banks
   10   or law abiding financial institutions.

   11        14.     In the same post ("Four Reasons to Store Your Gold At

   12   USPV"), the same USPV executive wrote:        "As government chartered

   13   institutions, banks are now required to file 'suspicious activity

   14   reports.'        . . U.S. Private Vaults is not subject to federal

   15   banking laws and would only cooperate with the government under court

   16   order."     In this way, USPV is marketing its service to criminals and

   17   those operating outside the law.

   18        15.     THE USPV website also contains a link to an article titled,

   19   "The Los Altos Vault and Safe Deposit Co. up for sale."        The article

   20   attributes the following comment to USPV owner MARK PAUL: "Another

   21   growing segment of private safety deposit renters is legal cannabis

   22   distributors. Although their business may be sanctioned in the state

   23   of California, it's not legal on the federal level, so they can't

   24   conduct business through banks."        In this statement, PAUL invites

   25   those engaged in violations of federal law to utilize private vaults,

   26   (such as USPV).     Additionally, as discussed in more detail later,

   27   cannabis distributors operating legally under California law may

   28   theoretically exist and use private vaults, but the reality is that

                                           10



                                     EXHIBIT A
                                        29
Case
 Case2:21-cv-07192-SVW-AS
      2:21-cv-06968-RGK-MARDocument
                             Document
                                    1-133-1
                                         FiledFiled
                                               09/08/21
                                                    02/02/22
                                                          Page
                                                             Page
                                                               24 of24104
                                                                       of 104
                                                                           Page
                                                                              Page
                                                                                ID #:30
                                                                                    ID
                                     #:244




    1   many engaged in secreting cannabis sale proceeds at USPV are acting
    2   outside California law as well as federal law.        Indeed, all of the
    3   identified marijuana traffickers and their associates linked to USPV
    4   in this investigation are operating outside the law of California, as
    5   described in more detail later.
    6        E.      Other Safety Deposit Box Companies Do Not Permit Anonymous
                     Users as USPV Does
    7
             16.     Private safe deposit boxes are not in and of themselves
    8
        illegal or suspicious.     In fact, investigators have identified
    9
        businesses which offer this service in a manner which does not cater
   10
        to or attract criminals.     For example, Ultra Vault 5 provides similar
   11
        services, but requires customers to fill out registration forms, and
   12
        provide sufficient information for Ultra Vault to conduct due
   13
        diligence or "Know Your Customer ("KYC") ."     Conducting due diligence
   14
        or "KYC" would likely deter criminals, rather than attract them, as
   15
        this type of inquiry might expose the illegal source of funds;
   16
        customer's lack of employment or legitimate income; criminal history;
   17
        residence or citizenship; or other factors which a criminal customer
   18
        would not want known.     Additionally, Ultra Vault has some physical
   19
        locations, but also offers removable box pick-up and delivery.        While
   20
        this would be convenient to a law-abiding, legitimate customer, it
   21
        would not appeal to someone engaged in criminal activity, as it would
   22
        expose additional details about him/her such as address details, home
   23
        environment, family, etc.     Thus the policies and procedures of a
   24
        company such as Ultra Vault would likely repel, rather than attract,
   25
        criminal actors.
   26

   27

   28
             5    https://www.ultra-vault.com/how-it-works/
                                           11



                                     EXHIBIT A
                                        30
Case
 Case2:21-cv-07192-SVW-AS
      2:21-cv-06968-RGK-MARDocument
                             Document
                                    1-133-1
                                         FiledFiled
                                               09/08/21
                                                    02/02/22
                                                          Page
                                                             Page
                                                               25 of25104
                                                                       of 104
                                                                           Page
                                                                              Page
                                                                                ID #:31
                                                                                    ID
                                     #:245




    1        17.    Similarly, BlueVault, which has locations in San Diego and

    2   Orange County, provides similar services, including co-located gold

    3   and silver exchange.      However, in contrast to USPV, Bluevault

    4   requires "An acceptable photo ID showing a US address 6 " in order to

    5   rent a safe deposit box or vault.      Elsewhere on the website, it again

    6   notes "A valid US Driver's License (or equivalent) is required."

    7   Requiring both a photo ID and a valid address will deter criminals

    8   who do not want to be identified, who live outside the US and may be

    9   moving criminal proceeds across the border, or who do not want law

   10   enforcement to be able to identify or find them as part of a criminal

   11   investigation.      Thus, in contrast to USPV, Bluevault has policies in

   12   place which would deter rather than attract criminal clientele.

   13        18.    Similarly, traditional banks and financial institutions

   14   which provide safe deposit boxes, do so in a manner which does not

   15   cater to and attract criminals.      For example, many explicitly

   16   prohibit the storage of cash:      Wells Fargo prohibits "cash, coin and

   17   currency;" JP Morgan Chase requires a renter to "agree not to use the

   18   box to store money, coin or currency unless it is of a collectable

   19   nature;" and HSBC requires renters to agree "that you will not place

   20   into the Box: cash, currency or legal tender of any country or

   21   jurisdiction. 7 "   Furthermore, safe deposit box rental agreements at

   22   most major financial institutions explicitly advise that the bank

   23   will comply with all subpoenas, search warrants and legal process,

   24   and that the bank reserves the right to enter into the box if it has

   25   reason to believe that the box contains any prohibited or dangerous

   26

   27        6   https://www.bluevaultsecure.com/
   28
             7   Statements taken from Safe Deposit Box rental agreements.
                                           12


                                      EXHIBIT A
                                         31
Case
 Case2:21-cv-07192-SVW-AS
      2:21-cv-06968-RGK-MARDocument
                             Document
                                    1-133-1
                                         FiledFiled
                                               09/08/21
                                                    02/02/22
                                                          Page
                                                             Page
                                                               26 of26104
                                                                       of 104
                                                                           Page
                                                                              Page
                                                                                ID #:32
                                                                                    ID
                                     #:246




    1   item.       Rental agreements also frequently include language referring
    2   the "Know Your Customer" rules of identification, investigation and
    3   due diligence, all of which would deter criminals from using their
    4   safe deposit boxes in the manner employed by USPV customers,
    5           19.   State banking regulations in New York and New Jersey also
    6   prohibit anonymous safe deposit boxes.       Both Mark PAUL and Michael
    7   POLIAK have acknowledged as much, during discussions about expanding
    8   USPV to other states.       During such a discussion, which included PAUL,
    9   POLIAK, VASQUEZ and a Confidential Source ("CS-1")8, PAUL stated
   10   explicitly that they could not open a branch in New York because of
   11   the banking laws.       Similarly, POLIAK, who is from the New York/Now
   12   Jersey area told CS-1 that he hired attorneys to figure out a way to
   13   open a business similar to USPV in New York or New Jersey and
   14   concluded it was impossible, as the laws do not permit anonymity,
   15   POLIAK emphasized that anonymity is the key to the business model.
   16   POLIAK therefore decided NOT to expand to New York/New Jersey because
   17   he determined that the laws preventing anonymity would have rendered
   18   his business model for a private vault unprofitable.
   19
   20
   21
   22          During the course of this investigation, agents obtained
                8
        information and operational assistance from an undisclosed
   23   Confidential Source (CS-1). CS-1 has provided information to the
        USPIS since 2008. CS-1 has provided information and expertise
   24   regarding criminal investments, monetary practices, accounting and
        money laundering. CS-l's information has led to the seizure of
   25   assets, including $200,000 in a mortgage fraud case. CS-l's
        information has been corroborated by independent sources such as law
   26   enforcement database checks, review of other records, recordings,
        surveillance, interviews and other investigative activity. CS-l's
   27   information has never been found to be false or misleading.   CS-1
        has no criminal history. I believe CS-l's information is highly
   28   credible.
                                             13



                                      EXHIBIT A
                                         32
Case
 Case2:21-cv-07192-SVW-AS
      2:21-cv-06968-RGK-MARDocument
                             Document
                                    1-133-1
                                         FiledFiled
                                               09/08/21
                                                    02/02/22
                                                          Page
                                                             Page
                                                               27 of27104
                                                                       of 104
                                                                           Page
                                                                              Page
                                                                                ID #:33
                                                                                    ID
                                     #:247




    1        F.      USPV and its Principals Profit from Patrons' Willingness to
                     Pay a Premium for Anonymity
    2
             22.     A survey of safe deposit box pricing demonstrates that
    3
        patrons of USPV could rent a safe deposit box at a major financial
    4
        institution for a fraction of the cost.      For example, a 10 x 10 box
    5
        at JP Morgan Chase rents for $350; at PNC for $146; at TD Bank for
    6
        $150-$360 depending on location; and at Bank of America for $300-360
    7
        depending on location9.    In November 2020, a representative from a
    8
        Wells Fargo branch in Los Angeles advised that a 14 x 9 safe deposit
    9
        box (most comparable size) rents for $200 a year.       By contrast, USPV
   10
        charges between $1800 (if paid annually) and $2000 (if paid
   11
        quarterly) for the same/similar 10 x 10 box.      USPV charges six to ten
   12
        times what major banks charge, banks which offer security, a national
   13
        presence, experience, years in business, and are often American
   14
        institutions.     By contrast, USPV has been in business for ten years,
   15
        is located in a strip-mall, and its owners are generally unknown to
   16
        customers.    As discussed throughout this affidavit, OSPV charges a
   17
        premium for its services because it offers something which legitimate
   18
        banks do not: anonymity, a place to store illegally obtained cash,
   19
        counter-surveillance, tips and assistance for avoiding law
   20
        enforcement, money laundering through the co-located gold and silver
   21
        trade, and a stated willingness to look the other way with regard to
   22
        all kinds of criminal conduct.
   23

   24

   25

   26

   27
             9 "BANKING 101: WHAT DOES A SAFE DEPOSIT BOX COST? AVERAGE RATE
   28   BY SIZE" by Dillon Thompson. March 1, 2020.
        www.depsositaccounts.~Q~
                                        14


                                     EXHIBIT A
                                        33
Case
 Case2:21-cv-07192-SVW-AS
      2:21-cv-06968-RGK-MARDocument
                             Document
                                    1-133-1
                                         FiledFiled
                                               09/08/21
                                                    02/02/22
                                                          Page
                                                             Page
                                                               28 of28104
                                                                       of 104
                                                                           Page
                                                                              Page
                                                                                ID #:34
                                                                                    ID
                                     #:248




    1        G.      USPV Has, In Fact, Been Used By Criminals to Store Criminal
                     Proceeds
    2
             20.     As set forth above, USPV is designed to appeal to and cater
    3
        to criminals, and has been successful in doing so.          Numerous federal,
    4
        state and local investigations have led law enforcement to USPV
    5
        repeatedly.        The contents of specific USPV boxes have been forfeited
    6
        to the government because they are the proceeds of criminal activity.
    7
        The cases below exemplify this.        According to court documents and law
    8
        enforcement reports:
    9
                     a,      OWEN HANSON -- On September 9,   2015 federal agents
   10
        executed a federal search warrant for three separate safe deposit
   11
        boxes located at USPV. The boxes belonged to OWEN HANSON who was the
   12
        leader and organizer of ODOG ENTERPRISE, an association existing for
   13
        the purpose of importing and exporting controlled substances;
   14
        conducting an illegal gambling business; bookmaking; promoting
   15
        racketeering activities; and money laundering.         As part of the
   16
        enterprise, HANSON's organization distributed methamphetamine,
   17
        heroin,    cocaine and ecstasy.     HANSON was indicted and pleaded guilty
   18
        to Racketeering Conspiracy and Conspiracy to Distribute Illegal
   19
        Narcotics.        As a result of the search warrants at USPV, agents seized
   20
        a $5,000 bond; approximately 400 one-ounce silver coins; and twenty-
   21
        six ten-ounce silver bars.        The contents of HANSON's USPV boxes were
   22
        forfeited as criminal proceeds 10 ,
   23
                     b.      CYRUS IRANI -- On October 28, 2015, federal agents
   24
        executed a federal search warrant on Box 2105 at USPV.          The box
   25
        belonged to CYRUS IRANI who was the master bookmaker and head of an
   26

   27

   28        io UNITED STATES OF AMERICA v. OWEN HANSON, Case No, 15cr2310-
        WQH, U.S. District Court, Southern District of California
                                         15


                                       EXHIBIT A
                                          34
Case
 Case2:21-cv-07192-SVW-AS
      2:21-cv-06968-RGK-MARDocument
                             Document
                                    1-133-1
                                         FiledFiled
                                               09/08/21
                                                    02/02/22
                                                          Page
                                                             Page
                                                               29 of29104
                                                                       of 104
                                                                           Page
                                                                              Page
                                                                                ID #:35
                                                                                    ID
                                     #:249




    1   illegal gambling organization.         IRANI's organization operated both

    2   internet and traditional bookmaking operations, and engaged in money

    3   laundering.        IRANI had well over 1500 gambling accounts under his

    4   ultimate supervision.        IRANI pleaded guilty to Enterprise Corruption;

    5   fourteen others in the IRANI organization were also convicted of

    6   various gambling, money laundering and enterprise corruption charges.

    7   As a result of the search warrant at USPV, agents seized $500,000 in

    8   U.S. currency; a box containing 15 gold coins and 22 gold bars; and

    9   documents.        The contents of IRANI's USPV box were forfeited as

   10   criminal proceeds.

   11                c.      NATHAN HOLTZ -- On November 3, 2015 a state search

   12   warrant was executed at USPV on a box rented by NATHAN HOLTZ.          HOLTZ

   13   had been arrested earlier that day for a violation of        California
   14   Healtb & Safetx code §11370,9 (possession of narcotics proceeds),
   15   after leaving USPV. HOLTZ had $55,200 in his vehicle, as well as keys

   16   to his USPV box.        A search of HOLTZ's USPV box resulted in the

   17   seizure of an additional $200,100.        HOLTZ was on active probation for

   18   a prior marijuana sales conviction and admitted that the cash was

   19   proceeds of interstate transportation and sale of marijuana 11 •       The

   20   cash was forfeited as criminal proceeds.

   21                d.      GERALD LEBOWITZ    On November 12, 2015 GERALD

   22   LEBOWITZ consented to a search of his box at USPV, stating at the

   23   time that cash in the vault was brought into the country illegally to

   24   avoid taxes.        Agents from the DEA seized $1,543,400 from LEBOWITZ's

   25   box, which he disclaimed.        Further investigation into LEBOWITZ

   26   revealed that he was part of a conspiracy to manufacture and

   27
   28       11 Note that these events pre-date the legalization of mariJuana
        in California, and involve illegal interstate sales in any case.
                                        16


                                        EXHIBIT A
                                           35
Case
 Case2:21-cv-07192-SVW-AS
      2:21-cv-06968-RGK-MARDocument
                             Document
                                    1-133-1
                                         FiledFiled
                                               09/08/21
                                                    02/02/22
                                                          Page
                                                             Page
                                                               30 of30104
                                                                       of 104
                                                                           Page
                                                                              Page
                                                                                ID #:36
                                                                                    ID
                                     #:250




    1   distribute methaqualone, a controlled substance.       During the course
    2   of the investigation, agents seized over 45 kilograms of methaqualone
    3   powder and 12 canisters of the chemical o-Taluidine, both chemical
    4   precursors.    In addition, agents seized over $4 million, beyond that
    5   disclaimed at USPV.    In 2017 LEBOWITZ pleaded guilty to possession
    6   with intent to distribute methaqualone and money laundering.        All
    7   assets were forfeited as criminal proceeds 12 •
    8             e.    Prostitution Ring -- In 2014, FBI Newark initiated an
    9   investigation into a network of individuals engaged in facilitation
   10   of prostitution, including child prostitution; Mann Act violations;
   11   money laundering and possession of child pornography.        FBI Newark
   12   identified the leader of the organization (Newark Target Subject,
   13   hereafter "Newark TS") who operated a high-end escort service and
   14   provided prostitutes to clients nationally.       Based on information
   15   from multiple confidential sources, investigators learned that Newark
   16   TS has had as many as five different boxes at USPV.       Additionally,
   17   investigators learned that Newark TS accessed his USPV boxes
   18   approximately 50 times between July 2012 and December 2016.        On one
   19   occasion, an FBI Confidential Source 13 ("CS-2") went to USPV with
   20
             12  UNITED STATES OF AMERICA v. GERALD LEBOWITZ, Case No. 2:17-cr-
   21   00053-CAS, U.S. District Court, Central District of California
              13 CS-2 provided information to FBI Newark. The information CS-2
   22
        provided to the FBI about Newark TS's prostitution business has proved to
   23   be accurate and reliable based on corroboration from several independent
        sources. For instance, CS-2's description of Newark TS's efforts to
   24   recruit CS-2 for prostitution from the adult film industry has been
        corroborated by open sources of information, including social media
   25   websites, identifying CS-2 as a performer in the adult film industry.
        Moreover, CS-2 contacted law enforcement of his/her own volition and
   26   provided information concerning Newark TS's criminal activities and his/her
        criminal activities without any promise of immunity from prosecution,
   27   remuneration, or other benefits, Federal agents have been able to
        corroborate the vast majority of information provided by CS-2 through
   28   public records, U.S. passport and foreign travel records, and business

                                           17


                                    EXHIBIT A
                                       36
Case
 Case2:21-cv-07192-SVW-AS
      2:21-cv-06968-RGK-MARDocument
                             Document
                                    1-133-1
                                         FiledFiled
                                               09/08/21
                                                    02/02/22
                                                          Page
                                                             Page
                                                               31 of31104
                                                                       of 104
                                                                           Page
                                                                              Page
                                                                                ID #:37
                                                                                    ID
                                     #:251




    1   Newark TS and personally saw what he/she estimated to be $250,000 US

    2   currency in Newark TS's USPV box. On a separate occasion, CS-2 went

    3   to USPV with Newark TS and saw what he/she estimated to be $500,000

    4   in US currency.     Further, CS-2 observed computer discs, digital

    5   devices and back-up co~puter hard drives in Newark TS's USPV box.

    6   CS-2 was aware that Newark TS used these digital devices to store

    7   photos, videos and other data associated with prostitution,

    8   pornography, and child pornography.     CS-2 was also aware that Newark

    9   TS stored client lists, pornographic photos and pornographic videos

   10   of clients, for possible use as leverage and/or blackmail.        Based on

   11   business records obtained in January 2020, Newark TS continues to

   12   rent a box at USPV.     FBI Newark's investigation into this subject is

   13   on-going.

   14               f.    MIKHAIL MALYKHIN -- On September 1, 2016 federal

   15   agents executed a federal search warrant on box 5005 at USPV.        The

   16   box belonged to MIKHAIL MALYKHIN who was the leader of an identity

   17   theft/computer intrusion fraud ring.      MIKHAIL and others were

   18   involved in a complex scheme which involved altering hacked "Flexible

   19   Spending Account" debit cards from a health insurance provider and

   20   altering the codes to cash out the debit cards.       MIKHAIL was also

   21   involved in credit card fraud, ATM fraud,     tax fraud, computer

   22   intrusion and other similar crimes.     MIKHAIL was indicted for

   23   conspiracy to commit access device fraud and pleaded guilty.        As a

   24   result of the September 1, 2016 search warrant at USPV, agents seized

   25   $2661150 United States Currency; four one-ounce gold bars; various

   26
   27   incorporation records, Internet searches of social media pages and
        websites, and information provided by other witnesses. Accordingly, Your
   28   Affiant submits that CS-2's information is credible and reliable under the
        totality of the circumstances.
                                           18


                                    EXHIBIT A
                                       37
Case
 Case2:21-cv-07192-SVW-AS
      2:21-cv-06968-RGK-MARDocument
                             Document
                                    1-133-1
                                         FiledFiled
                                               09/08/21
                                                    02/02/22
                                                          Page
                                                             Page
                                                               32 of32104
                                                                       of 104
                                                                           Page
                                                                              Page
                                                                                ID #:38
                                                                                    ID
                                     #:252




    1   gift cards which had been loaded with over $20,000 in value; two
    2   Russian passports; a car Certificate of Title for a 1966 Ford
    3   Mustang; two digital devices (flash drives) containing evidence of
    4   the offenses; and four more gold keys, identical to those used at
    5   USPV.    Additional warrants were obtained for the additional USPV
    6   boxes.    Those warrants resulted in the seizure of $592,450 US
    7   Currency from one box and $435,190 from another.       The contents of all
    8   of MIKHAIL's USPV boxes were forfeited as criminal proceeds and used
    9   to pay restitution to victims 14 •
   10              g.    VINCENT RAMOS -- On March 6, 2018 federal agents
   11   executed a federal Seizure Warrant for the contents of Box 314 at
   12   USPV.    The box belonged to VINCENT RAMOS who was the CEO of Phantom
   13   Secure, a criminal enterprise which facilitated the importation,
   14   exportation and distribution, internationally, of wholesale
   15   quantities of cocaine, heroin and methamphetamine.       Phantom Secure
   16   provided encrypted communications devices to drug trafficking
   17   organizations to further international drug trafficking, while
   18   obstructing and impeding law enforcement.      RAMOS was indicted for and
   19   pleaded guilty to Racketeering and Drug Trafficking.       As a result of
   20   the search warrants at USPV, agents seized $101,080 in US Currency
   21   and 26 one-ounce gold coins.     The contents of RAMOS's USPV box were
   22   forfeited as criminal proceeds 15 •
   23               h.    ALLAN NEYMAN et al.      On April 24, 2019, Victim S.S.
   24   was kidnapped in San Diego, California and taken against his will to
   25   a warehouse in Los Angeles.     While being held in the warehouse, S.S.
   26
             1 4 UNITED STATES v. MIKHAIL KONSTANTIVOV MALYKHIN, No. 16-0688-
   27   DMG, United States District Court, Central District of California
   28        15 UNITED STATES v. VINCENT RAMOS, Case No. 18CR1404-WQH, United
        States District Court, Southern District of California
                                          19


                                    EXHIBIT A
                                       38
Case
 Case2:21-cv-07192-SVW-AS
      2:21-cv-06968-RGK-MARDocument
                             Document
                                    1-133-1
                                         FiledFiled
                                               09/08/21
                                                    02/02/22
                                                          Page
                                                             Page
                                                               33 of33104
                                                                       of 104
                                                                           Page
                                                                              Page
                                                                                ID #:39
                                                                                    ID
                                     #:253




    1   was brutally tortured,     He was hit with sticks and baseball bats;

    2   stripped naked; tasered on his penis and testicles; hit with a hammer

    3   on his toes; doused in a flammable liquid; set on fire; and anally

    4   penetrated with a foreign object.       S.S. had been employed by a group

    5   of people who were engaged in the distribution of counterfeit

    6   marijuana vaping cartridges.     This group believed that S.S. stole a

    7   suitcase full of cash, which a vape cartridge customer left at the

    8   warehouse.    S.S. had a portion of the money with him in San Diego;

    9   the rest was left with his ex-wife, who placed the cash in a safe

   10   deposit box at USPV.     At the direction of the kidnappers, she

   11   retrieved the cash from USPV and delivered it as ransom.        S.S.

   12   eventually escaped from the warehouse.       Detectives identified ALLAN

   13   NEYMAN and four others who participated in the kidnapping and

   14   torture.     They were arrested and charged with violations of

   15   California Penal Code 209(a) - Kidnap for Ransom; P.C 664/187(a) -

   16   Attempt Murder; P.C. 206 - Torture; and P.C. 205 - Aggravated Mayhem.

   17   Investigators believe that the money stored at USPV was the proceeds

   18   of criminal activity; stolen; the cause of brutal violence; and used

   19   as ransom.     During the course of this investigation, agents also

   20   learned that NEYMAN is an associate of USPV owner Michael POLIAK.          In

   21   conversations with CS-1, POLIAK described in detail, the April 2019

   22   kidnapping/torture and attributed the crime to his business

   23   associate, NEYMAN.     POLIAK told CS-1 that he purchased vape

   24   cartridges and packaging (but not THC oil) from NEYMAN ("my guy who

   25   owned the warehousell) for his marijuana vape business.       Furthermore,

   26   POLIAK said to CS-1, "you want to hear the funny thing?        The money

   27   was in my vault! His wife put money into my vault,ll explicitly

   28   acknowledging DSPV's role in the crime.      Additionally, on or about

                                           20


                                     EXHIBIT A
                                        39
Case
 Case2:21-cv-07192-SVW-AS
      2:21-cv-06968-RGK-MARDocument
                             Document
                                    1-133-1
                                         FiledFiled
                                               09/08/21
                                                    02/02/22
                                                          Page
                                                             Page
                                                               34 of34104
                                                                       of 104
                                                                           Page
                                                                              Page
                                                                                ID #:40
                                                                                    ID
                                     #:254




    1   January 27, 2020, CS-1 met NEYMAN with POLIAK and discussed various

    2   internet-based fraud schemes which might generate income.           POLIAK and

    3   CS-1 had previously discussed taking over NEYMAN's business interests

    4   due to NEYMAN's pending incarceration.

    5                i.      MATTHEW BEAVER -- On July 1, 2019, agents of the DEA

    6   and LAPD seized $215,653 in US currency from MATTHEW BEAVER, who was

    7   observed entering and leaving USPV.          BEAVER was arrested for

    8   violations of California Health       &    Safety Code Section §11370,6,

    9   transportation of narcotics proceeds greater than $100,000,              Pursuant

   10   to his arrest, agents seized the cash, as well as eight cell phones

   11   and keys which were similar to the keys which open boxes at USPV.                On

   12   July 8, 2019 a state search warrant was served on USPV boxes #6515

   13   and #7111.        Agents seized $1,448,700 from those boxes.     Subsequent

   14   search warrants executed on BEAVER's phones revealed evidence of his

   15   involvement in marijuana trafficking.          BEAVER has a criminal history

   16   and is not licensed to distribute or grow marijuana in California or

   17   any other state.        Per the California Employment Development

   18   Department (EDD), BEAVER has no employment which would generate the

   19   income represented by this cash seizure.           BEAVER admitted his

   20   participation in an illegal marijuana business.            BEAVER admitted

   21   that the cash was the proceeds of unlawful criminal activity.              The

   22   cash was therefore forfeited.

   23                j,      Between February 1, 2020 and February 26, 2021, agents

   24   conducted surveillance at USPV.           Agents identified many current USPV

   25   customers who, based on my training and experience, are likely

   26   engaged in criminal activity and storing criminal proceeds or

   27   evidence of crimes at USPV.        For example, on February 12, 2020,

   28   agents observed a couple enter USPV who were subsequently identified

                                              21


                                        EXHIBIT A
                                           40
Case
 Case2:21-cv-07192-SVW-AS
      2:21-cv-06968-RGK-MARDocument
                             Document
                                    1-133-1
                                         FiledFiled
                                               09/08/21
                                                    02/02/22
                                                          Page
                                                             Page
                                                               35 of35104
                                                                       of 104
                                                                           Page
                                                                              Page
                                                                                ID #:41
                                                                                    ID
                                     #:255




    1   and linked to an FBI San Diego healthcare fraud investigation.
    2   Similarly, agents observed subject H.T. at USPV on three separate
    3   occasions; H.T. is the subject of a current healthcare fraud
    4   investigation by FBI Los Angeles.       A third healthcare fraud suspect
    5   appeared at USPV on May 28, 2020.       On June 9, 2020, agents identified
    6   a USPV customer who was subsequently linked to a current, on-going
    7   investigation into dark-web drug trafficking.       Agents also identified
    8   a USPV customer who is closely associated with a group being
    9   investigated for the theft of thousands of cell phones. Another
   10   individual identified has been associated to an FBI Los Angeles
   11   (Russian) counterintelligence investigation.       Another customer
   12   identified in February 2021 was referred to FBI Los Angeles for a
   13   possible Ponzi scheme.    Furthermore, on multiple occasions agents
   14   observed USPV patrons in vehicles with out of state license plates,
   15   specifically Illinois, Ohio and Nevada.       Based on my training and
   16   experience in money laundering investigations, Chicago, Illinois is a
   17   hub of both drug trafficking and money laundering.       I believe these
   18   patrons were using their USPV box to store drug proceeds.        Agents
   19   also observed a number of USPV patrons in rental cars.       Based on my
   20   training and experience, drug traffickers often rent vehicles to
   21   transport drugs and cash, in an effort to remain anonymous, and hide
   22   their identities from law enforcement.
   23
   24
   25
   26

   27

   28
                                           22


                                    EXHIBIT A
                                       41
Case
 Case2:21-cv-07192-SVW-AS
      2:21-cv-06968-RGK-MARDocument
                             Document
                                    1-133-1
                                         FiledFiled
                                               09/08/21
                                                    02/02/22
                                                          Page
                                                             Page
                                                               36 of36104
                                                                       of 104
                                                                           Page
                                                                              Page
                                                                                ID #:42
                                                                                    ID
                                     #:256




    1           H.     USPV Principals Are Aware That Their Customers Are Engaged
                       in Criminal Conduct and Store Criminal Proceeds at USPV
    2
                        1.   MARK PAUL described his customers as bookies,
    3                        prostitutes, and weed guys
    4           21.     During the course of this investigation, agents spoke with
    5   a Cooperating Witness ("CW-1n) 16 •        According to CW-1, prior to his/her
    6   arrest and incarceration, CW-1 rented multiple safo deposit boxes at
    7   USPV.        CW-1 became acquainted with USPV owner, MARK PAUL, and they
    8   became friends.        Based on conversations CW-1 had with PAUL, PAUL was
    9   aware that USPV customers, including CW-1, were engaged in criminal
   10   activity.        PAUL told CW-1 that his best USPV customers were
   11   "bookies,n "prostitutes,n and "weed guys." PAUL designed the business
   12   to appeal to people operating outside the law or "in the gray area.n
   13   PAUL specifically told CW-1 that the business was designed to help
   14   people hide money from the IRS and the FBI.          Based on their
   15   conversations, CW-1 described PAUL as an advocate of not paying taxes
   16   on one's cash.
   17           22.     CW-1 routinely discussed his/her illegal gambling business
   18   with PAUL, and PAUL was aware that CW-1 earned money from running an
   19
   20
   21           CW-1 has provided information to the FBI since 2015, CW-1
                16
        hopes to reduce his/her current sentence by providing information to
   22   the FBI. Specifically, CW-1 has provided information leading to the
        indictment of 5 individuals involved in drug trafficking and money
   23   laundering, The credibility of CW-l's testimony, however, is limited
        because CW-1 has omitted (and outright lied about) key facts when
   24   those facts implicated relatives or close friends who were continuing
        to run his/her criminal organization after his/her arrest. Although
   25   the United States does not possess any evidence to suggest CW-1 lied
        about the information discussed herein, CW-l's credibility is
   26   effectively limited to only testimony that can be corroborated by
        other independent evidence,    To that end, much of CW-l's information
   27   has been corroborated by independent sources such as law enforcement
        database checks, interviews and evidence gathered in other related
   28   FBI investigations, review of business records, surveillance, and
        other investigative activity.
                                              23


                                       EXHIBIT A
                                          42
Case
 Case2:21-cv-07192-SVW-AS
      2:21-cv-06968-RGK-MARDocument
                             Document
                                    1-133-1
                                         FiledFiled
                                               09/08/21
                                                    02/02/22
                                                          Page
                                                             Page
                                                               37 of37104
                                                                       of 104
                                                                           Page
                                                                              Page
                                                                                ID #:43
                                                                                    ID
                                     #:257




    1   illegal gambling business.      PAUL was further aware that CW-1 used

    2   USPV to store the proceeds of that business.

    3           23.   CW-1 also referred many clients to PAUL, including many

    4   bookies from CW-l's illegal gambling organization.         Based on

    5   conversations CW-1 had with PAUL, PAUL was aware that these

    6   individuals     (USPV customers) also earned money from an illegal

    7   gambling business, and stored the proceeds of that business at USPV.

    8   On one occasion, PAUL asked CW-1 if he/she "had any more bookies"

    9   that CW-1 could refer to USPV.      This shows that PAUL was aware of the

   10   criminal activities of his clients and was eager to do more business

   11   with them.

   12           24.   In addition to numerous individuals engaged in various

   13   aspects of illegal gambling, CW-1 also referred 1) an individual whom

   14   CW-1 personally knew to be a pimp; 2) a cocaine dealer; and 3) an

   15   individual involved in facilitating a sophisticated drug trafficking

   16   organization.      With regard to the pimp, CW-1 specifically described

   17   him as a "pimp" to PAUL and they discussed that he was engaged in

   18   promoting high-end prostitution.         Furthermore, CW-1 knows that the

   19   pimp in fact rented several boxes at USPV because CW-1 and PAUL

   20   discussed the pimp's efforts to negotiate a better price.

   21   PAUL told CW-1 that many of his USPV clients were "weed dealers."

   22   PAUL told CW-1 that he liked doing business with "weed guys" because

   23   they always rented the larger boxes which were more profitable for

   24   PAUL.     PAUL made similar statements to CS-1 in late 2019, thus

   25   corroborating CW-l's information.        On one occasion before the
   26   legalization of marijuana in California, CW-1 specifically referred

   27   an individual to PAUL, telling him the guy was "in the green

   28

                                            24


                                     EXHIBIT A
                                        43
Case
 Case2:21-cv-07192-SVW-AS
      2:21-cv-06968-RGK-MARDocument
                             Document
                                    1-133-1
                                         FiledFiled
                                               09/08/21
                                                    02/02/22
                                                          Page
                                                             Page
                                                               38 of38104
                                                                       of 104
                                                                           Page
                                                                              Page
                                                                                ID #:44
                                                                                    ID
                                     #:258




    1   business," or words to that effect, by which CW-1 meant in the
    2   marijuana business.
    3        25.     PAUL also told CW-1 that he thought wealthy Beverly Hills-
    4   based "Persians" or Iranians were hiding "dirty money" or "revolution
    5   money" at USPV.     CW-1 did not know if PAUL had specific conversations
    6   with those customers or if he was just speculating.       In either case,
    7   however, it shows that PAUL had no objections or qualms about
    8   facilitating clients who may have been violating federal or
    9   international laws.
   10        26,     PAUL was aware that CW-1 was laundering his/her illegal
   11   proceeds through the purchase of gold and silver, and encouraged CW-1
   12   to do this.     PAUL told CW-1 that he "liked what you are doing with
   13   the gold" and "gold is the way to go" with regard to laundering
   14   money.     CW-1 also purchased gold for others in order to assist them
   15   in laundering their own criminal proceeds.      PAUL was aware of this
   16   and handed out business cards advertising CW-l's gold-investment
   17   "business," which CW-1 described as a front for laundering money.
   18   Furthermore, CW-1 advertised the storage of gold as part of the
   19   services of his/her "business" and listed 9182 Olympic Blvd., Beverly
   20   Hills, California (location of USPV) as the storage location. PAUL
   21   was aware of this and thus participated with CW-1 in the laundering
   22   of other people's criminal proceeds.
   23        27.     In November 2019, PAUL met with CS-1.    The meeting was
   24   recorded and reviewed by investigators.      During the meeting, PAUL
   25   told CS-1 that a lot of the USPV clientele came from the cannabis
   26   industry and comprised approximately a third of the business at USPV.
   27   Additionally, PAUL told CS-1, "Whatever you put in [the vault], I
   28   don't want to know."
                                           25


                                     EXHIBIT A
                                        44
Case
 Case2:21-cv-07192-SVW-AS
      2:21-cv-06968-RGK-MARDocument
                             Document
                                    1-133-1
                                         FiledFiled
                                               09/08/21
                                                    02/02/22
                                                          Page
                                                             Page
                                                               39 of39104
                                                                       of 104
                                                                           Page
                                                                              Page
                                                                                ID #:45
                                                                                    ID
                                     #:259




    1        28.     During the same November 2019 meeting, PAUL also made a
    2   number of exculpatory statements to CS-1, whom he had just met.         For
    3   example, PAUL said a number of times that his business was on the up
    4   and up; that he paid his taxes; that he declared all the cash he
    5   deposited; and that he was in the business of self-storage with a
    6   high level of security.     Based on my training and experience,
    7   criminals who hold themselves out as legitimate businessmen often
    8   falsely deny their criminality, particularly with persons they do not
    9   know or trust.     This has proven to be the case with PAUL, who in
   10   subsequent meetings with CS-1, admitted to participation in the
   11   marijuana industry and tacit knowledge of money laundering and other
   12   criminal conduct by his USPV business partner, Mike POLIAK.
   13                2.   MICHAEL POLIAK bragged about brinqinq druq traffickers
                          to USPV as customers
   14
             29.     On or about December 17, 2019, CS-1 met with Michael
   15
        POLIAK.     The meeting was consensually recorded and reviewed by
   16
        investigators.     During that conversation, POLIAK made the following
   17
        statements demonstrating his knowledge that criminal proceeds are
   18
        being stored at USPV:
   19
                     a.   POLIAK told CS-1 that "Mark [PAUL] made no money until
   20
        I came in . .     . None! . . . For seven years, made nothing.     I
   21
        changed that whole business . . . he was making forty grand a year.
   22
        With me he makes fifteen thousand a month himself.       I turned it from,
   23
        from three thousand a month to thirty thousand a month 17 •     The
   24
        business.     All I did was call marijuana lawyers and they sent me
   25
   26
             17 In September 2020, POLIAK told CS-1 that he was the best thing
   27   that ever happened to Mark PAUL, in that, prior to his co-ownership
        of USPV, PAUL was making $60,000 a year as a 100% owner; but now, as
   28   a 50% owner, he is making $20,000 a month and the business is
        growing.
                                         26


                                    EXHIBIT A
                                       45
Case
 Case2:21-cv-07192-SVW-AS
      2:21-cv-06968-RGK-MARDocument
                             Document
                                    1-133-1
                                         FiledFiled
                                               09/08/21
                                                    02/02/22
                                                          Page
                                                             Page
                                                               40 of40104
                                                                       of 104
                                                                           Page
                                                                              Page
                                                                                ID #:46
                                                                                    ID
                                     #:260




    1   customers,        That's all I did.    And those people, I met up with them

    2   and they gave me referrals."           During this exchange about operating

    3   USPV, CS-1 said, "Yeah, he [PAUL] was telling me, like, when, back

    4   then, I didn't know you were his partner, he was saying 'my partner'

    5   brought in, you know, a lot of marijuana, cocaine people who have,

    6   who have money."        POLIAK replied, "Yeah."     Shortly after, POLIAK

    7   said, "When I joined in, this guy [PAUL] had maybe one-third the

    8   boxes full.        Two-thirds empty.     Now it's maybe sixty, sixty-three

    9   percent full."         This clearly demonstrates not only that POLIAK is

   10   aware that marijuana and cocaine proceeds are held at USPV, but that

   11   this occurs by design, in order to make the business more profitable.

   12                b.      Shortly after the exchange described above, POLIAK

   13   added, "Listen, you don't want every drug dealer in your place

   14   either.   You need normal people too."           The expressed idea that "you

   15   need normal people too" suggests that drug dealers comprise the

   16   majority of USPV customers, and the business has to make an effort to

   17   attract a non-criminal clientele as well, so as not to be too obvious

   18   a haven for criminals.

   19                c.      While discussing the possibility of opening a second

   20   location of USPV, POLIAK said, "You have to pre-sell one third of the

   21   place to break even."        He asked CS-1, rhetorically, "who's your

   22   customer base?        Five guys that are laundering money?     That's not

   23   going to fill the business."           CS-1 said, "Not five. I have a lot."

   24   POLIAK replied, "Thirty guys?           Still not gonna fill a business."

   25   This exchange shows that POLIAK is aware of and specifically

   26   anticipates USPV customers' use of the vault by criminals who need to

   27   launder money. It further shows POLIAK's position that USPV needs to

   28

                                                 27


                                        EXHIBIT A
                                           46
Case
 Case2:21-cv-07192-SVW-AS
      2:21-cv-06968-RGK-MARDocument
                             Document
                                    1-133-1
                                         FiledFiled
                                               09/08/21
                                                    02/02/22
                                                          Page
                                                             Page
                                                               41 of41104
                                                                       of 104
                                                                           Page
                                                                              Page
                                                                                ID #:47
                                                                                    ID
                                     #:261




    1   attract more than money launderers - they also need drug dealers
    2   storing cash.
    3               d.   In September 2020, POLIAK and CS-1 met again.         That
    4   meeting was recorded and reviewed by investigators.       During that
    5   meeting, POLIAK told CS-1 that they planned to expand USPV by taking
    6   over the Mail Boxes Etc. store immediately adjacent to USPV, further
    7   indicating that POLIAK's strategy of bringing in drug

    8   dealer/customers has been successful.     Moreover, POLIAK told CS-1 he
    9   planned to turn one of two "privacy rooms" inside USPV (used by
   10   customers to access their boxes in private) into a separately rented
   11   secure space.    POLIAK plans to charge $10,000 a month for the room.
   12   With regard to what POLIAK's customer was going to keep in the room,
   13   POLIAK said, "I don't know.      I don't ask. But I'm charging ten grand
   14   for that little room!    Hundred and twenty grand a year."      CS-1
   15   commented that the room could hold $20 million dollars in cash.
   16   POILIAK replied, "I really don't care what he do.       He might put gold
   17   in there.    I don't know."
   18               3.   POLIAK describes PAUL as a legitimate looking "face"
                         for USPV that obscures POLIAK's illegal conduct and
   19                    ownership of USPV
   20               e.   During the December 17, 2019 meeting, which was
   21   recorded and reviewed by investigators, POLIAK told CS-1 that he was
   22   a customer at USPV for two years before buying in to the business.
   23   POLIAK told CS-1, "You know, I wanted Mark,     [as a] partner.    I didn't

   24   want to do it on my own.      Because again, I have illegal businesses at
   25   the time, like my vape shit, and I was back doing everything from New
   26   York, I wanted a face.     Mark's a great face."   Here, POLIAK admits
   27   that he is personally engaged in "illegal businesses" and was storing

   28   proceeds at USPV.    In fact, POLIAK told CS-1 he had approximately $8
                                            28


                                      EXHIBIT A
                                         47
Case
 Case2:21-cv-07192-SVW-AS
      2:21-cv-06968-RGK-MARDocument
                             Document
                                    1-133-1
                                         FiledFiled
                                               09/08/21
                                                    02/02/22
                                                          Page
                                                             Page
                                                               42 of42104
                                                                       of 104
                                                                           Page
                                                                              Page
                                                                                ID #:48
                                                                                    ID
                                     #:262




    1   million stored in six boxes at USPV, and another $2 million which he

    2   used to purchase property (discussed later).

    3                4.   POLIAK remarks that it is funny that the drug money
                          stolen from his business associate, which led to the
    4                     kidnapping and torture, happened to be stored at SPV
    5                f.   During the December 17, 2019 meeting with CS-1,

    6   discussed above, POLIAK described in great detail the kidnap and

    7   torture event described above.     POLIAK admitted that he was doing

    8   business with ALLAN NEYMAN who owned the warehouse and was present

    9   throughout the torture.     POLIAK told CS-1, "He [the victim] left the

   10   [stolen) money - you want to hear the funny thing?        The money was in

   11   my vault!     His wife put the money into my vault.n

   12                     PROBLEMS WITH CS-3 IN A DIFFERENT CASE

   13        30.     From communicating with other law enforcement officers and

   14   AUSAs, I learned that in a different investigation, on more than one

   15   occasion, CS-3 exchanged sexts with the target.        CS-3 did not provide

   16   these and other communications with the target to his handler. CS-3

   17   later admitted to his handler and the government that he had deleted
   18   some of his communications with the target that were sexual in

   19   nature.     CS-3 failed to follow explicit instructions from a handler

   20   on at least one instance, and failed to contemporaneously notify the

   21   handler that he was doing so.     CS-3 falsely told the target that CS-3

   22   had cancer to induce her to pay CS-3 thousands of dollars for

   23   fictitious medical treatments.     CS-3 has informed the handler and the

   24   government that he did this in an attempt recover money that CS-3 had

   25   advanced on behalf of the target, but this "justification" has not

   26   been verified.     CS-3 contacted the target from an unknown phone

   27   number and email address, pretending to be other persons in order to

   28   buttress his lies about the cancer treatment.       CS-3 failed to notify

                                           29


                                    EXHIBIT A
                                       48
Case
 Case2:21-cv-07192-SVW-AS
      2:21-cv-06968-RGK-MARDocument
                             Document
                                    1-133-1
                                         FiledFiled
                                               09/08/21
                                                    02/02/22
                                                          Page
                                                             Page
                                                               43 of43104
                                                                       of 104
                                                                           Page
                                                                              Page
                                                                                ID #:49
                                                                                    ID
                                     #:263




    1   his handlers of these issues before they came to light, and when
    2   initially confronted, did not disclose the full scope of his conduct.
    3   There is also evidence that CS-3 fraudulently used another person's
    4   credit card.
    5        31.   CS-3 has provided information to the DEA since 2018 and,
    6   aside from the problems set forth above, has proven reliable.        His
    7   work led the seizure of drugs and weapons.      In the instant
    8   investigation, CS-3's information has been regularly corroborated by
    9   independent sources such as law enforcement database checks, review
   10   of other records, recordings, surveillance, interviews and
   11   information and operational assistance provided by other Confidential
   12   Sources, unknown to CS-3.     As described below, CS-3 was repeatedly
   13   paired with an undercover task force officer, who was also a witness
   14   to CS-3's undercover work.
   15        GEORGE VASQUEZ
   16        32.   CS-3 has had numerous conversations with USPV manager,
   17   GEORGE VASQUEZ.    Many of those conversations reveal that VASQUEZ is
   18   aware that USPV customers engage in unlawful activity and maintain
   19   the proceeds of unlawful activity in their USPV safe deposit boxes.
   20   Conversations between CS-3 and VASQUEZ on June 28, August 9, and
   21   August 22, 2019, were all consensually recorded and reviewed by
   22   investigators.    The following examples demonstrate VASQUEZ's
   23   knowledge and awareness of the criminal activity which USPV
   24   facilitates.
   25        33.   On June 28, 2019 CS-3 spoke to VASQUEZ about the purchase
   26   of marijuana vape cartridges (discussed more fully herein).        During
   27   the conversation, CS-3 said, "I don't know about this shit [vape
   28   cartridges].     I'm just the money laundering mijo.    The real big thing
                                           30


                                     EXHIBIT A
                                        49
Case
 Case2:21-cv-07192-SVW-AS
      2:21-cv-06968-RGK-MARDocument
                             Document
                                    1-133-1
                                         FiledFiled
                                               09/08/21
                                                    02/02/22
                                                          Page
                                                             Page
                                                               44 of44104
                                                                       of 104
                                                                           Page
                                                                              Page
                                                                                ID #:50
                                                                                    ID
                                     #:264




    1   is the other shit [drugs, not marijuana] for me."        During this

    2   conversation, CS-3 unambiguously stated that he/she is the "money

    3   laundering mijo."        This statement conveys specific knowledge to

    4   VASQUEZ that CS-3 is engaged in criminal activity, specifically money

    5   laundering.     Additionally, CS-3 contrasts his/her ignorance of the

    6   cannabis oil business with his/her conduct in "other shit."        Based on

    7   my training and experience, as well as a comprehensive de-brief of

    8   CS-3, CS-3 was referring to hard drugs, not cannabis oil, when he

    9   said "The real big thing is the other shit for me."        Furthermore, CS-

   10   3 believes that VASQUEZ was aware that CS-3 was referring to non-

   11   cannabis drug trafficking.

   12              5.     VASQUEZ warns CS-3 about "asset forfeiture"

   13        34.   On August 9, 2019, CS-3 spoke to USPV manager GEORGE

   14   VASQUEZ about difficulties in transporting cash.        VASQUEZ told CS-3

   15   that USPV owners planned to expand their business into other cities,

   16   including Chicago 18 •     CS-3 said, "So let me tell you what I'm doing.

   17   I can't fuckin' drive with this kind of cash, from fuckin' east coast
   18   down here . . .    'cause I get pulled over, just like you just said."

   19

   20
             18 Based on my experience investigating drug trafficking and
   21   money laundering organizations, I know that drug trafficking and
        money laundering activities are concentrated in certain cities.
   22   These include cities on or near the U.S.-Mexico border, such as
        Laredo, San Diego and Los Angles.   In addition, other cities
   23   throughout the United States serve as "hubs," or center points where
        drug distribution and money collection are concentrated. For example,
   24   drugs are often sent to Chicago, Illinois, before being further
        distributed to other cities in the mid-west, such as Cleveland or
   25   Milwaukee.   Likewise, the proceeds of drug sales are often collected
        and concentrated in Chicago as well.   Based on my experience
   26   investigating money laundering, I know that millions of dollars in
        drug proceeds are processed through banks in Chicago. Adding a USPV
   27   branch in Chicago would likely be profitable in that it would further
        facilitate drug trafficking and money laundering. USPV owner Michael
   28   POLIAK expressed this to CS-1 numerous times during conversations
        with him/her in late 2019.
                                         31


                                       EXHIBIT A
                                          50
Case
 Case2:21-cv-07192-SVW-AS
      2:21-cv-06968-RGK-MARDocument
                             Document
                                    1-133-1
                                         FiledFiled
                                               09/08/21
                                                    02/02/22
                                                          Page
                                                             Page
                                                               45 of45104
                                                                       of 104
                                                                           Page
                                                                              Page
                                                                                ID #:51
                                                                                    ID
                                     #:265




    1   VASQUEZ added, "Asset forfeiture."     CS-3 continued, "And I just have
    2   to fuckin' walk away.    And I'm not trying to take that loss anymore.
    3         So anywhere that he's [MARK PAUL] willing, you know, to go in
    4   to it (private vault business], I want dibs."        Based on my training
    5   and experience, as well as a comprehensive debrief of CS-3, I believe
    6   that CS-3 was telling VASQUEZ about the difficulties in transporting
    7   drug proceeds (cash) across the United States, and the possibilities
    8   of those proceeds being seized by law enforcement.        Further, I
    9   believe that VASQUEZ was aware that CS-3 was referring to the
   10   transport of criminal proceeds, and his comment, "Asset forfeiture"
   11   demonstrates that he is aware that law enforcement can seize and
   12   forfeit money that is criminally derived,
   13              6.    VASQUEZ explains that USPV would not work in New York
                         because anonymous safety deposit box rentals there are
   14                    prohibited
   15        35.   On August 9, 2019 CS-3 spoke to USPV manager GEORGE VASQUEZ
   16   about expanding USPV's business.     During the course of the
   17   conversation, VASQUEZ explained why USPV's business model would not
   18   work in New York.     VASQUEZ said, "You know, we had already talked
   19   about several cities, you know.     We tried New York        . And it can't
   20   be like us.     It can't be anonymous and private.           In New York.
   21   We tried that.    That's what Mike [POLIAK] wanted first 19 •   New York
   22   and Jersey and all that area around there."      Based on my training and
   23   experience, as well as a comprehensive debrief of CS-3, I believe
   24   VASQUEZ is aware of and referencing a New York state law which
   25   prohibits operating private safe deposit box vault in the manner that
   26
   27
   28        19 MICHAEL POLIAK is from the New York and New Jersey area and
        relocated to California.
                                         32


                                    EXHIBIT A
                                       51
Case
 Case2:21-cv-07192-SVW-AS
      2:21-cv-06968-RGK-MARDocument
                             Document
                                    1-133-1
                                         FiledFiled
                                               09/08/21
                                                    02/02/22
                                                          Page
                                                             Page
                                                               46 of46104
                                                                       of 104
                                                                           Page
                                                                              Page
                                                                                ID #:52
                                                                                    ID
                                     #:266




    1   USPV operates, with anonymity, the particular quality which appeals
    2   to criminals.
    3                 7.   VASQUEZ and CS-3 openly discuss drug traffickinq,
                           money movement and money laundering
    4
                36.   On August 22, 2019, CS-3 spoke to USPV manager GEORGE
    5
        VASQUEZ about crossing the US-Mexico border.         During the conversation
    6
        CS-3 asked VASQUEZ, "You drive through? [the US-Mexico border].
    7
        VASQUEZ replied, "Yeah."      CS-3 asked, "And they don't sweat you at
    8
        all?"     VASQUEZ replied, "Not really."      Later in the conversation,
    9
        VASQUEZ asked CS-3, "Do you go there [Mexico] much?"         CS-3 replied,
   10
        "I do, but now I got Primo who does that so like I'm not even trying
   11
        to fuck with any of that           he's the one who runs back and forth."
   12
        Based on my training and experience as well as a comprehensive
   13
        debrief of CS-3, CS-3 was discussing the challenges of crossing drugs
   14
        into the United States from Mexico. Further, CS-3 believes that
   15
        VASQUEZ understood that CS-3 was making references to smuggling drugs
   16
        across the US-Mexico border.
   17
                37.   On August 22, 2019, USPV manager GEORGE VASQUEZ spoke to
   18
        cs-3 about the need to hide money from both law enforcement and
   19
        people in one's own organization.        During the conversation CS-3 said,
   20
        \\
                  buddy of mine just got fuckin' hit, not by fuckin' feds but by
   21
        fuck his own fuckin' team.      And what are you gonna do, call the
   22
        fuckin' cops?"      VASQEZ replied, "Yeah."     Later in the conversation
   23
        CS-3 said, "Doesn't even fuckin' trust anyone.         Everybody told him,
   24
        hey you're stupid, you fuckin', find a stash pad, something."
   25
        VASQUEZ replied, "Yeah.      That's what happened with Mike [POLJAK].
   26
        That's how Mike got here. You know.        He was referred by one of my
   27
        other clients .         He's like, hey man, you're getting too big
   28
                                            33


                                      EXHIBIT A
                                         52
Case
 Case2:21-cv-07192-SVW-AS
      2:21-cv-06968-RGK-MARDocument
                             Document
                                    1-133-1
                                         FiledFiled
                                               09/08/21
                                                    02/02/22
                                                          Page
                                                             Page
                                                               47 of47104
                                                                       of 104
                                                                           Page
                                                                              Page
                                                                                ID #:53
                                                                                    ID
                                     #:267




    1   already . . . You guys go put it away somewhere.           That's how he came

    2   by.    Most of my clients are word of mouth, you know?"         Based on my

    3   training and experience as well as a comprehensive debrief of CS-3,

    4   CS-3 was talking to VASQUEZ about the difficulties in hiding criminal

    5   proceeds both from law enforcement and from individuals in one's own

    6   criminal organization.        Additionally, VASQUEZ's comments show that

    7   USPV co-owner MIKE POLIAK had difficulty finding a place to put large

    8   amounts of cash, presumably criminal proceeds.         Finally, VASQUEZ

    9   confirmed that most of the USPV clients learn about USPV from other

   10   clients, who may also be engaged in criminal activity.

   11          38,   On August 22, 2019, CS-3 spoke to USPV manager GEORGE

   12   VASQUEZ about needing to move money.         During the conversation CS-3

   13   said, "My biggest thing right now is how do I fuckin' move it [money]

   14   out.              because I told you, I bought a fuckin'   car, but actually

   15   it gets old after a while . . . And I can only buy a certain amount

   16   of cars before I need a fuckin' dealer's license."          Based on my

   17   training and experience as well as a comprehensive debrief of CS-3,

   18   CS-3 was talking to VASQUEZ about finding ways to launder criminal

   19   proceeds, specifically drug money,         CS-3 referenced purchasing

   20   vehicles as a method for laundering criminal proceeds, and the

   21   difficulties that poses.        CS-3 believes that VASQUEZ was aware and

   22   understood that CS-3 was talking about ways to launder criminal

   23   proceeds.

   24                8.      VASQUEZ acknowledges the likely storage of drug
                             proceeds at USPV
   25
               39.   During the course of this investigation, agents obtained
   26
        information and operational assistance from an undisclosed
   27

   28

                                              34


                                        EXHIBIT A
                                           53
Case
 Case2:21-cv-07192-SVW-AS
      2:21-cv-06968-RGK-MARDocument
                             Document
                                    1-133-1
                                         FiledFiled
                                               09/08/21
                                                    02/02/22
                                                          Page
                                                             Page
                                                               48 of48104
                                                                       of 104
                                                                           Page
                                                                              Page
                                                                                ID #:54
                                                                                    ID
                                     #:268




    1   Confidential Source ("CS-4") 20 •   On or about February 25, 2020, CS-4,

    2   who had previously rented a large 10 x 10 box at USPV, spoke to

    3   VASQUEZ about a sign at USPV saying they employed the use of drug-

    4   sniffing dogs.     CS-4 asked VASQUEZ when was the last time they had a

    5   drug dog in USPV, and VASQUEZ said he couldn't remember.

    6        I.      USPV Principals Brokered and Supplied Illegal Drugs (THC
                     and Cocaine) from SUBJECT PREMISES Including USPV
    7
             40.     In June 2019, CS-3 cultivated a friendly business
    8
        relationship with USPV manager GEORGE VASQUEZ.       During that time, CS-
    9
        3 spoke to VASQUEZ about purchasing marijuana vaping products.
   10
        VASQUEZ offered to provide CS-3 with samples of vaping products.
   11
                     1.   USPV Manager VASQUEZ displayed marijuana cartridqes
   12                     for sale in the private view room of USPV

   13        41.     On June 28, 2019, CS-3 went to USPV in person to obtain the

   14   vaping samples from VASQUEZ.     The meeting was consensually recorded

   15   and subsequently reviewed by the Affiant.      At approximately 11:40

   16   a.m. CS-3 arrived at USPV where he/she was immediately met at the

   17   front door by VASQUEZ. VASQUEZ was holding a small cardboard box in

   18   his hands and directed CS-3 back to the secure vault. VASQUEZ was

   19   armed at the time of this transaction with a semiautomatic pistol

   20   that was in an open carry holster on his right hip alongside an

   21   unknown type of badge. Investigators have noticed that VASQUEZ is

   22   always armed in this fashion during his work hours as part of his

   23

   24        2   °
                CS-4 has provided information to the FBI since 2015.
        Specifically, CS-4 has provided information which has identified
   25   participants in various money-laundering schemes, as well as the
        methods for pursuing those schemes. CS-4's information and
   26   operational assistance have been used in numerous investigations. CS-
        4's information has been corroborated by independent sources such as
   27   law enforcement database checks, review of other records, recordings,
        surveillance, interviews and other investigative activity.   CS-4's
   28   information has never been found to be false or misleading.    I
        believe CS-4's information is highly credible.
                                         35


                                    EXHIBIT A
                                       54
Case
 Case2:21-cv-07192-SVW-AS
      2:21-cv-06968-RGK-MARDocument
                             Document
                                    1-133-1
                                         FiledFiled
                                               09/08/21
                                                    02/02/22
                                                          Page
                                                             Page
                                                               49 of49104
                                                                       of 104
                                                                           Page
                                                                              Page
                                                                                ID #:55
                                                                                    ID
                                     #:269




    1   purported duties as the security manager for USPV. VASQUEZ and CS-3
    2   proceeded to the private viewing rooms in the back of the actual
    3   vault.
    4        42.   Once inside the room VASQUEZ placed the box on the small
    5   desk and opened it revealing six small packages of various sizes with
    6   different advertising boxes. CS-3 knew this to be the Butane Hash Oil
    7   ("BHO") containing THC vape cartridges he/she was there to acquire
    8   from VASQUEZ. The cartridges were packaged differently and displayed
    9   different brand names and TCH yields on the packaging. They appeared
   10   ready for retail sale in a marijuana dispensary.
   11        43.   During the meeting, VASQUEZ said, "So I'll text you the
   12   prices right now       . They're like from ten to seven, the prices."
   13   Later VASQUEZ said, "He [the supplier] told me do whatever you want.
   14   He can make pretty much whatever you want."      CS-3 asked for
   15   information about the product and VASQUEZ said, "that's Danka
   16   [brand].   I think that's like seven.         . He says the ones that are
   17   ten bucks, which is the Brass Knuckles [brand)-" CS-3 said, "Which is
   18   probably the good stuff."    VASQUEZ agreed, "The good stuff . . . The
   19   good quality       . these others are kind of cheesy quality.              The
   20   VSOP and Eurekas are the good stuff . . . so check it out."         CS-3
   21   agreed and accepted the samples.
   22              2.   USPV Manaoer VASQUEZ hints that USPV Owner POLJAK is
                        the source of the marijuana cartridges
   23
             44.   CS-3 then asked about making a larger purchase.        "Like, he
   24
        [supplier] got supply? . . . like could he produce the numbers?"
   25
        VASQUEZ replied, "I can tell you this.      He's a partner here,"     CS-3
   26
        and VASQUEZ then discussed having CS-3 speak directly with the
   27

   28

                                           36


                                    EXHIBIT A
                                       55
Case
 Case2:21-cv-07192-SVW-AS
      2:21-cv-06968-RGK-MARDocument
                             Document
                                    1-133-1
                                         FiledFiled
                                               09/08/21
                                                    02/02/22
                                                          Page
                                                             Page
                                                               50 of50104
                                                                       of 104
                                                                           Page
                                                                              Page
                                                                                ID #:56
                                                                                    ID
                                     #:270




    1   supplier.    VASQUEZ referred to the supplier as "Mike,," subsequently

    2   identified as MICHAEL POLIAK, co-owner of USPV.
    3        45.    Immediately after the meeting, DEA agents took into custody

    4   six samples of BHO containing THC vape cartridges.       The samples

    5   included 1) Dank Vapes, Green Crack (90.66% THC); 2) Kingpen,

    6   Trainwreck (71.72% THC); 3) Space Vape, V.S.O.P.      (98.4% THC); 4)

    7   Eureka, Purple Punch (92.3% THC); 5) Space Vape, Alien Alaskan

    8   Thunderfuck (91.18% THC) and 6) Brass Knuckles, Jack Herer (1000 mg

    9   cannabis distillate).

   10               3.   USPV Owner POLIAK meets a customer at USPV and then
                         leads him to the USPV parking lot to view marijuana
   11                    cartridges

   12        46.    On July 26, 2019, CS-3 went to USPV to purchase a large

   13   quantity of BHO THC containing vape cartridges.       The meeting was

   14   consensually recorded and subsequently reviewed by the Affiant.

   15   Shortly after arriving at USPV and making contact with VASQUEZ, CS-3

   16   was introduced to MICHAEL POLIAK,       During the conversation, POLIAK

   17   said, "Hey it's [the vaping cartridges) in my trunk, in boxes.

   18   Like five boxes, two hundred each."      About three minutes after

   19   arriving at USPV, agents observed CS-3 and POLIAK in the USPV parking

   20   lot at POLIAK's vehicle, a white 2017 BMW 740i four door sedan

   21   bearing California license plate




   24   boxes from POLIAK's vehicle into CS-3's vehicle.

   25        47.    After transferring the boxes, CS-3 and POLIAK went back

   26   inside USPV.     CS-3 asked, "You got a money counter here, right? Yeah,

   27   there it is right there.     Eight."    CS-3 then gave POLIAK $8,000 for

   28   the five boxes, as previously agreed.       POLIAK said, "I can feel money

                                           37


                                    EXHIBIT A
                                       56
Case
 Case2:21-cv-07192-SVW-AS
      2:21-cv-06968-RGK-MARDocument
                             Document
                                    1-133-1
                                         FiledFiled
                                               09/08/21
                                                    02/02/22
                                                          Page
                                                             Page
                                                               51 of51104
                                                                       of 104
                                                                           Page
                                                                              Page
                                                                                ID #:57
                                                                                    ID
                                     #:271




    1    already,u     CS-3 said, "I'll let you know how it goes and I'll put in
    2    a bigger one for you, okay?u     CS-3 departed from USPV and provided
    3    DEA agents with 1000 units of BHO vape cartridges containing THC that
    4    was purchased by from Michael POLIAK and George VASQUEZ at USPV.        DEA
    5    took the boxes into evidence, and the DEA Lab determined that the
    6    products contained THC.
    7                 4.   USPV Owner POLIAK sold 1000 marijuana cartridges from
                           the parkinq lot of POLIAK'S RESIDENCE
    8
              48.     On October 31, 2019, CS-3 purchased an additional 1000
    9
         units of BHO THC-containing vape pen cartridges from USPV owner
   10
         Michael POLIAK.     The operation was consensually recorded and reviewed
   11
         by investigators.     cs-3 met POLIAK in the parking lot of
   1.2
                                             adjacent to the residence of Michael
   13
         POLIAK.     CS-3 purchased vape pen cartridges with brand name KingPen.
   14
         KingPen has been identified by the California Department of Consumer
   15
         Affairs (COCA), Department of Investigations, as one of the several
   16
         unlicensed brands of vape pen cartridges that have led to multiple
   17
         hospitalizations nationwide.     Through this investigation, agents have
   18
         determined that POLIAK is not a licensed marijuana distributor in
   19
         California.
   20
              49.     The cartridges were immediately taken into DEA custody and
   21
         sent to the DEA lab for analysis, where they tested positive for THC.
   22
              50.    Additionally, DEA sent eight samples of vape cartridges
   23
         seized from each of the three transactions described above (June 28,
   24
         July 26, and October 31) to the California Department of Public
   25
         Health, Food and Drug Laboratory Branch for additional testing.        The
   26
         testing showed that five of the eight samples contained Vitamin E
   27
         acetate oil, which the Center for Disease Control has linked to lung
   28

                                            38


                                      EXHIBIT A
                                         57
Case
 Case2:21-cv-07192-SVW-AS
      2:21-cv-06968-RGK-MARDocument
                             Document
                                    1-133-1
                                         FiledFiled
                                               09/08/21
                                                    02/02/22
                                                          Page
                                                             Page
                                                               52 of52104
                                                                       of 104
                                                                           Page
                                                                              Page
                                                                                ID #:58
                                                                                    ID
                                     #:272




    1   damage and death. 21 This health crisis was particularly acute in the
    2   summer and fall of 2019, when POLIAK and VASQUEZ sold these products
    3   to CS-3.      At least one sample from each of the three transactions
    4   tested positive for Vitamin E acetate oil.
    5           51.   Based on conversations POLIAK had with CS-1 on December 17,
    6   2019, which were recorded and reviewed by investigators, POLIAK is
    7   clearly aware of the unlawful and dangerous nature of the BHO THC-
    8   containing products he was selling.      During that meeting POLIAK told
    9   CS-1, "I don't have anything.      Nothing to move.   I shut everything
   10   down.     I'm not doing anything right now."   CS-1 asked, "Why?"     POLIAK
   11   replied, "I don't want the liability.          . I mean, enough [money].
   12   It's never enough, but I don't want the liability this stage of my
   13   life cause I was making vapes.          . They brought lung diseases now.
   14   People are having-- there's commercials, you know? I don't need the
   15   liability."      This demonstrates POLIAK's awareness that the product he
   16   was recently selling was linked to "lung diseases" and potential
   17   liability.      POLIAK also seems to be referring to Public Service
   18   Announcements (PSAs) alerting the public to the dangers of marijuana
   19
   20         21 See The New York Times, "Vaping Illnesses are Linked to

   21   Vitamin E Acetate, C.D.C. Says," Denise Grady, November 8, 2019;
        www. nytimes ~_com/2019/11/08/heal th/vapinq-illnes-gdc. html;
   22         "A form of vitamin E has been identified as a 'very strong
        culprit' in lung injuries related to vaping THC, health officials
   23   reported on Friday, a major advance in a frightening outbreak that
        has killed 40 people and sickened 2,051 . . . . The outbreak has
   24   revealed the existence of a vast, unregulated, shadowy marketplace of
        illicit or bootleg vaping products that are essentially a stew of
   25   unknown chemicals concocted, packed and sold by unknown manufacturers
        and sellers . . . . Hundreds of state and federal health
   26   investigators have been deployed to find out what has cause such
        extensive damage to patients' lungs, which researchers have likened
   27   to the chemical burns suffered by soldiers attacked with mustard gas
        in World War I . . . . Many of the products used by those who became
   28   ill were illicitly obtained, public health experts have said, by
        patients who bought them from friends or on the street."
                                            39


                                      EXHIBIT A
                                         58
Case
 Case2:21-cv-07192-SVW-AS
      2:21-cv-06968-RGK-MARDocument
                             Document
                                    1-133-1
                                         FiledFiled
                                               09/08/21
                                                    02/02/22
                                                          Page
                                                             Page
                                                               53 of53104
                                                                       of 104
                                                                           Page
                                                                              Page
                                                                                ID #:59
                                                                                    ID
                                     #:273




    1   vape products.       Additionally, during a discussion about the
    2   kidnap/torture event (discussed above), POLIAK said, "He [NEYMAN) was
    3   the one selling the cartridges and the packaging.        Not the oil, you
    4   know?     I would make my own oil and inject."     Because the oil itself
    5   is believed to be causing the lung damage, POLIAK effectively
    6   admitted his role in manufacturing this dangerous product.
    7                 5.    USPV Owner POLIAK discussed with a USPV customer
                            selling flavored cocaine while at POLIAK'S RESIDENCE
    8
                52.   In October 2019, CS-3 and USPV co-owner MICHAEL POLIAK
    9
        first discussed the sale of "flavored cocaine" or "Flavado."        On or
   10
        about October 11, 2019, CS-3 and POLIAK met for lunch.        After lunch,
   11
        they returned to POLIAK's RESIDENCE at


        •·
   12
                 While approaching POLIAK's unit, they passed the mailboxes and
   13
        POLIAK commented to CS-3 about the cocaine residue on his mailbox
   14
        key.     POLIAK explained that he uses the key routinely to snort
   15
        cocaine, and the key therefore has coke residue.        CS-3 expressed an
   16
        interest in purchasing cocaine.
   17
                53,   POLIAK then told CS-3 about "Flavado," with which CS-3 was
   18
        unfamiliar.        POLIAK described it as flavored cocaine which softens
   19
        the drug's effects, without diluting them.        POLIAK told CS-3 that
   20
        women love it and he recommended the strawberry flavored coke. CS-3
   21
        expressed an interest in purchasing flavored cocaine.        POLIAK called
   22
        "Casey" in the presence of CS-3 and identified "Casey" as the person
   23
        who could "hook [CS-3] up."        POLIAK told CS-3 that he would connect
   24
        CS-3 with Casey when CS-3 was ready to buy, and CS-3 should just let
   25
        POLIAK know.
   26
                54.   On or about November 5, 2019, CS-3 contacted POLIAK and
   27
        asked him if he could hook CS-3 up with Casey in order to purchase
   28
                                              40


                                       EXHIBIT A
                                          59
Case
 Case2:21-cv-07192-SVW-AS
      2:21-cv-06968-RGK-MARDocument
                             Document
                                    1-133-1
                                         FiledFiled
                                               09/08/21
                                                    02/02/22
                                                          Page
                                                             Page
                                                               54 of54104
                                                                       of 104
                                                                           Page
                                                                              Page
                                                                                ID #:60
                                                                                    ID
                                     #:274




    1   the flavored cocaine they had previously discussed.       POLIAK asked how

    2   much CS-3 needed and CS-3 told him he was looking for "a zip" [one

    3   ounce].    POLIAK told CS-3 that Casey didn't sell it like that-- he

    4   breaks it down into per-use quantities.      CS-3 asked for $1000 worth

    5   and POLIAK agreed.

    6        55.   On or about November 15, 2019, CS called POLIAK to follow-

    7   up on the requested cocaine purchase.      POLIAK advised that he was

    8   having family issues he was dealing with, and didn't have time to

    9   arrange the deal.

   10        56.   On or about December 11, 2019, CS-3 and POLIAK again

   11   discussed the purchase of flavored cocaine.       During that phone

   12   conversation, POLIAK suggested CS-3 communicate with him using a

   13   wireless application called "Signal."      CS-3 agreed, and further

   14   discussion about the flavored cocaine purchase occurred over Signal,

   15   an encrypted application popular with drug traffickers. POLIAK and

   16   CS-3 continued to discuss the cocaine deal over Signal, often

   17   including the third-party supplier; however,      POLIAK never allowed CS-

   18   3 to deal directly with anyone - POLIAK was always involved.          CS-3

   19   believes this was intentional in order for POLIAK to protect his

   20   financial cut in the deal.

   21              6.    USPV Owner POLIAK set up a cocaine deal at USPV, but
                         then moved it when USPV Manaqer VASQUEZ Objected to
   22                    the location

   23        57.   On or about December 16, 2019, POLIAK told CS-3, "Come to

   24   the vault [USPV]; we'll do it [cocaine deal] here."       CS-3 agreed.

   25   However, a little later, George VASQUEZ called CS-3 and expressed his

   26   objection to CS-3 and POLIAK conducting a cocaine deal at USPV.

   27   VASQUEZ felt that POLIAK was not being careful and that he was

   28   possibly bringing unwanted attention from law enforcement onto the

                                           41


                                     EXHIBIT A
                                        60
Case
 Case2:21-cv-07192-SVW-AS
      2:21-cv-06968-RGK-MARDocument
                             Document
                                    1-133-1
                                         FiledFiled
                                               09/08/21
                                                    02/02/22
                                                          Page
                                                             Page
                                                               55 of55104
                                                                       of 104
                                                                           Page
                                                                              Page
                                                                                ID #:61
                                                                                    ID
                                     #:275




    1   business.    VASQUEZ told CS-3 to "do the deal quickly - pick it up and

    2   get out of here," or words to that effect. Shortly after, POLIAK

    3   contacted CS-3 and said they could not do the deal at USPV.
    4        58.    On or about December 18, 2019, in a conversation with CS-3,

    5   which was recorded and reviewed, POLIAK instructed CS-3 to meet with
    6   an unknown associate of his at

    7                in order to obtain one ounce of flavored cocaine.      CS-3

    8   was able to make arrangements for a DEA Task Force Officer, working

    9   in an undercover capacity ("TFO-UC"), and posing as an associate of

   10   CS-3, to make the purchase for $2,200.      TFO-UC arrived at the

   11   location and met with an individual who was later identified as

   12   Daniel SAVAGE and obtained a quantity of suspected cocaine in a white

   13   shopping bag, hidden beneath a pair of black gym shorts.        DEA agents

   14   took custody of the suspected cocaine which was in a clear plastic

   15   sandwich baggie that had been tied in a knot.      The white substance

   16   and the sandwich baggies weighed 29 grams.      The suspected cocaine was

   17   sent to the DEA lab for processing.     The substance tested positive

   18   for cocaine HCL.

   19        J.     USPV Owner Mark PAUL Leases Property for the Purposes of
                    Manufacturing, Producing and Distributing Controlled
   20               Substances

   21        59.    On or about February 20, 2020, PAUL met with CS-1,      The

   22   meeting was consensually recorded and reviewed by investigators.

   23   During that meeting, PAUL told CS-1, "I've been doing cannabis

   24   deals," but then described himself as "just a landlord."        PAUL went

   25   on to describe one location as an "amazing property" that everyone in

   26   the marijuana business wanted because of its location.       However, it

   27   was located near a Gymboree - a business which falls under California

   28   Health & Safety Code 11362.3(3), prohibiting marijuana possession

                                           42


                                    EXHIBIT A
                                       61
Case
 Case2:21-cv-07192-SVW-AS
      2:21-cv-06968-RGK-MARDocument
                             Document
                                    1-133-1
                                         FiledFiled
                                               09/08/21
                                                    02/02/22
                                                          Page
                                                             Page
                                                               56 of56104
                                                                       of 104
                                                                           Page
                                                                              Page
                                                                                ID #:62
                                                                                    ID
                                     #:276




    1   within 1,000 feet of a school, day care or youth center - so no one
    2   in the cannabis business could buy the location.       PAUL then explained
    3   how he bought the Gymboree, left the signage in place, and then
    4   bought the "amazing property" for the dispensary.       He did not remove
    5   the Gymboree sign until the dispensary was open for business. PAUL
    6   told CS-1 that he paid $250,000 for the Gymboree (which he closed),
    7   and $4,5 million for the other property, as well as $700,000 in
    8   improvements.   PAUL told CS-1 that he earns $62,000 a month renting
    9   the property to the dispensary owners 22 •
   10        60.   During the same consensually recorded meeting in February
   11   2020, PAUL said, ~r have another deal - I have a dispensary--" then
   12   he stopped speaking abruptly, as though he thought better of
   13   admitting that he had a marijuana dispensary.       PAUL then changed the
   14   focus of his comments to the company in Oregon rather than his role.
   15   PAUL went on to describe "the largest marijuana processing company in
   16   Oregon" with whom he partnered.     PAUL told CS-1 that this business
   17   could process 5 to 10 million pounds of marijuana a month with the
   18   use of a kiln that quickly dries wet hemp.      Further, he told CS-1
   19   that the group was conducting $2 million a month in business, but had
   20   contracts for $10 million a month that they could not meet.        PAUL
   21   told CS-1 that he invested $5,5 million in the business.
   22
   23
   24
             2 2 Based on specific descriptions, agents have identified the
   25   marijuana dispensary as The Atrium at 5441 Topanga Canyon, Woodland
        Hills. Mike POLIAK corroborated PAUL's association with this
   26   business to CS-1 in September 2020, telling CS-1 that PAUL purchased
        land "up north" for a marijuana grow, but refused to finance the
   27   equipment. Now, according to POLIAK, PAUL's partners are having
        trouble paying the lease on the land, their "finance guy" has taken
   28   over the Atrium dispensary, and there is a power struggle for
        control.
                                          43


                                    EXHIBIT A
                                       62
Case
 Case2:21-cv-07192-SVW-AS
      2:21-cv-06968-RGK-MARDocument
                             Document
                                    1-133-1
                                         FiledFiled
                                               09/08/21
                                                    02/02/22
                                                          Page
                                                             Page
                                                               57 of57104
                                                                       of 104
                                                                           Page
                                                                              Page
                                                                                ID #:63
                                                                                    ID
                                     #:277




    1        61,    On or about April 22, 2020, CS-4 spoke with George VASQUEZ

    2   while at USPV to pay rent on a safe deposit box.       This conversation

    3   was not recorded, but was reported to the Affiant immediately after

    4   it occurred.    VAQUEZ informed CS-4 that "his boss" recently purchased

    5   six or seven hundred acres in Colorado for the cultivation of

    6   marijuana and was looking for individuals interested in providing

    7   security.    Based on conversations VASQUEZ has had with CS-3 and CS-4,

    8   VASQUEZ refers to Mark PAUL as his boss.

    9        62.    During the course of this investigation, investigators

   10   reviewed and analyzed PAUL's business, banking and financial

   11   activity.    PAUL's businesses include MJ Real Estate Investors Inc.
   12   ("MJRE") 23 , a marijuana real estate investment company; Emerald Fund,

   13   LLC; Bachelor Valley Fund LLC; and Mark Paul Holdings, Inc.        An

   14   analysis of banking records shows over $700,000 in transactions

   15   between MJRE and Antares Topanga Group, LLC, aka Valley Collective

   16   Care, which public records show doing business as The Atrium, a

   17   marijuana dispensary.    MJRE also conducts business with Emerald Fund

   18   LLC (both owned by PAUL).    Emerald Fund remitted funds for a 67-acre

   19   purchase in Oregon. Emerald also has financial transactions with

   20   Rogue Bioscience, a Medford-Oregon based industrial hemp processor.

   21   Bachelor Valley Fund has financial transactions with a company in

   22   Denver, Colorado. This analysis supports statements PAUL and VASQUEZ

   23   made to CS-1 and CS-4.

   24        63.    Based on information provided by the California Department

   25   of Consumer Affairs - Cannabis Enforcement, which enforces marijuana

   26

   27

   28        23OSPV former owner and OLYMPIC GOLD & JEWELRY owner, Steve
        BARTH, is also a principal at MJRE,
                                        44


                                    EXHIBIT A
                                       63
Case
 Case2:21-cv-07192-SVW-AS
      2:21-cv-06968-RGK-MARDocument
                             Document
                                    1-133-1
                                         FiledFiled
                                               09/08/21
                                                    02/02/22
                                                          Page
                                                             Page
                                                               58 of58104
                                                                       of 104
                                                                           Page
                                                                              Page
                                                                                ID #:64
                                                                                    ID
                                     #:278




    1   laws in California, PAUL is not licensed to "have a dispensary" or
    2   otherwise participate legally in the cannabis industry.
    3        K.      USPV Owner Michael POLIAK is a Professional Criminal
    4        POLIAK's Criminal Activity
    5        64.     In addition to brokering a cocaine deal for CS-3 and
    6   selling 1000 units of BHO THC-containing vape pen cartridges on two
    7   occasions (discussed above), POLIAK continues to engage in criminal
    8   activity.     The following examples demonstrate this:
    9                1.      POLJAK studied how to commit deceptive online
                             marketinq
   10
                     a.      During a December 2019 meeting with CS-1, which was
   11
        recorded and reviewed by investigators, POLJAK described a possible
   12
        new business deal, which involved fraud: "I have a guy that's a
   13
        master at driving traffic on-line . . . . But he does deceptive
   14
        marketing.        He'll fake some shit, like he'll put Dr. Oz promoting his
   15
        product or Ellen [DeGeneres) or some shit like that.        And he'll sell
   16
        the fuck out of it, but you burn a lot of merchant accounts.
   17
        But merchant accounts is the problem.        It's - you burn a lot of them.
   18
        You constantly need a flow of merchant accounts.        Cause the [credit
   19
        card) charge-backs are gonna be like crazy."        POLIAK advised that he
   20
        had a business meeting arranged with this person for the following
   21
        day, in order to learn how to take over his business, before he goes
   22
        to jail24,    In January 2020, POLIAK introduced CS-1 to Allen NEYMAN,
   23
        and they discussed possible business deals.        That meeting was
   24
        recorded and reviewed by investigators.
   25
   26
   27
             24 The person running the fraud scheme as described by POLIAK is
   28   ALLAN NEYMAN who was involved with the torture/kidnapping discussed
        above.
                                         45


                                        EXHIBIT A
                                           64
Case
 Case2:21-cv-07192-SVW-AS
      2:21-cv-06968-RGK-MARDocument
                             Document
                                    1-133-1
                                         FiledFiled
                                               09/08/21
                                                    02/02/22
                                                          Page
                                                             Page
                                                               59 of59104
                                                                       of 104
                                                                           Page
                                                                              Page
                                                                                ID #:65
                                                                                    ID
                                     #:279




    1              2.    POLIAK's Paycheck Protection Program scheme
    2             b.     On or about September 15, 2020 CS-1 met with POLIAK.
    3   The meeting was consensually recorded and reviewed by investigators.
    4   During the meeting, POLIAK described obtaining almost $70,000 from
    5   Payroll Protection Plan (PPP) for his "employment" at MGP Management.
    6   POLIAK admitted to CS-1 that he only made $1,000 a month, and didn't
    7   have any employees, but submitted an application and received
    8   $68,700. When CS-1 asked how he did it, POLIAK replied "Cause I
    9   filed. That I had hardships."     Additionally, POLIAK applied for and
   10   received three SBA (Small Business Administration) loans for his

   11   other businesses, though he acknowledged they were loans.        POLIAK

   12   described them as "free money," and at an interest rate of 3.75%,

   13   could earn more than that through one of his "investments."

   14   Throughout this conversation, POLIAK bragged to CS-1 about committing
   15   fraud,

   16             3.     POLIAK's marijuana trafficking

   17             c.     On or about January 27, 2020 CS-1 met with POLIAK.

   18   The meeting was consensually recorded and reviewed by investigators.

   19   During the meeting, POLIAK spoke to Memory Buss using the speaker

   20   function on his cell phone.     CS-1 witnessed both sides of the

   21   conversation.    Based on my review of the conversation, as well as

   22   information provided by the California Department of Consumer Affairs

   23   ("COCA"), Buss is licensed under CalCannabis for Provisional Adult

   24   Use - Nursery; Processor; and Specialty Indoor - but not retail or

   25   manufacturing.    Further, POLIAK leases property in Los Angeles which

   26   he subleases to Buss for use in her Cannabis business.

   27             d.     Buss recently ended a partnership in her Cannabis

   28   business because her partners were operating outside the law.        She

                                           46


                                    EXHIBIT A
                                       65
Case
 Case2:21-cv-07192-SVW-AS
      2:21-cv-06968-RGK-MARDocument
                             Document
                                    1-133-1
                                         FiledFiled
                                               09/08/21
                                                    02/02/22
                                                          Page
                                                             Page
                                                               60 of60104
                                                                       of 104
                                                                           Page
                                                                              Page
                                                                                ID #:66
                                                                                    ID
                                     #:280




    1   told POLIAK, "I'm staying compliant by getting rid of them.        I would
    2   have lost my license if they would have stayed because they broke the
    3   law so many times."
    4               e,   During the conversation, POLIAK offered to sell Buss
    5   filling machines for $5,000 each.       He first denied having any, "I
    6   just got rid of everything when I closed out.       They weren't legal
    7   anyway."    But then he said, "I have three laying around," which she
    8   asked to buy.    Based on information provided by CDCA, "filling
    9   machines" are outside the scope of Buss's license; POLIAK is not
   10   licensed to possess these machines at all.
   11               f.   POLIAK also offered to broker the sale of 20,000 pre-
   12   rolled joints.    While POLIAK was adamant that he did not want to
   13   "hold" more than a few samples --"you can drop off samples.       But I
   14   don't need to store fuckin' tons of shit.       A couple samples, yeah, no
   15   problem.    I'll just hand it over to the guy."     As the conversation is
   16   wrapping up, POLIAK tells Buss to bring the samples and he'll give
   17   them to a couple of guys,
   18               g.   This demonstrates POLIAK's on-going business dealings
   19   in the marijuana industry which are outside California law, as he is
   20   not licensed.
   21               4.   USPV Owner POLIAK bragged about his drug cartel
                         connections
   22
             65.    In December 2019, POLIAK discussed with CS-1 his various
   23
        business deals, including one involving the import of produce from
   24
        Mexico,    During that conversation, which was recorded and reviewed by
   25
        investigators, POLIAK told CS-1 that he was affiliated with the
   26
        Beltran-Leyva drug cartel.    During a conversation, CS-1 said, "These
   27
        guys [referring to CS-l's phone], their mother is from cartel."
   28
                                           47


                                     EXHIBIT A
                                        66
Case
 Case2:21-cv-07192-SVW-AS
      2:21-cv-06968-RGK-MARDocument
                             Document
                                    1-133-1
                                         FiledFiled
                                               09/08/21
                                                    02/02/22
                                                          Page
                                                             Page
                                                               61 of61104
                                                                       of 104
                                                                           Page
                                                                              Page
                                                                                ID #:67
                                                                                    ID
                                     #:281




    1   POLIAK responded, "That's how I am. I'm Beltran,                         Beltran are my
    2   people.       Google Beltran, you'll see how big they are.                      Guadalajara.n
    3   POLIAK then told CS-1 that the cartels control everything in Mexico
    4   and you can't work there without them.                    POLIAK's self-proclaimed
    5   association with a well-known Mexican drug cartel suggests his
    6   participation in money laundering or drug trafficking.                            While POLIAK
    7   refers to the subject of this business as involving "produceu or
    8   "avocadoes," based on my training and experience, produce is often
    9   used by Mexican drug cartels as a "covern load to disguise transport
   10   of drugs or currency.
   11           66.    During the course of this investigation, agents have
   12   obtained and reviewed financial records related to USPV principals,
   13   including records related to Michael G. POLIAK and numerous business
   14   entities associated with him (e.g. MGP Consulting, MGP Management).
   15   A review of financial records associated with MGP Consulting revealed
   16   a January 25, 2019 check for $125,000 payable to AA Consulting Group,
   17   Inc.     Public records show that AA Consulting Group, Inc. belongs to
   18   Aram Abgaryan, who was arrested and charged with murder in October
   19   2019.     Those charges stem from Abgaryan's involvement in an explosion
   20   at a sophisticated cannabis extraction plant in Chatsworth,
   21   California, which resulted in the death of one of the participants 25 •
   22
   23
        25See www.nbclosangeles.com\news, "Five Men Charged For Deadly Honey
   24
        Oil Lab Explosion in Chatsworth," October 31, 2019.
   25
        "Five men have been charged with murder following a deadly explosion at an illegal honey oil lab in
   26   September that killed a man they were working with, authorities announced Thursday.
   27
        The defendants and the victim had been operating a lab in Chatsworth, where they extracted THC, the
   28   high-inducing chemical found in marijuana, from cannabis plants for at least two months, the Los

                                                       48


                                             EXHIBIT A
                                                67
Case
 Case2:21-cv-07192-SVW-AS
      2:21-cv-06968-RGK-MARDocument
                             Document
                                    1-133-1
                                         FiledFiled
                                               09/08/21
                                                    02/02/22
                                                          Page
                                                             Page
                                                               62 of62104
                                                                       of 104
                                                                           Page
                                                                              Page
                                                                                ID #:68
                                                                                    ID
                                     #:282




    1   That POLIAK was participating in this illegal and dangerous
    2   enterprise is supported not only by the check he wrote to AA
    3   Consulting, but by statements he made to CS-1 in December 2019.                                   In a
    4   conversation between POLIAK and CS-1, which was recorded and reviewed
    5   by investigators, POLIAK described an "unlucky" guy who used to "make
    6   oil" for him using solvents.                   According to POLIAK, the man had a
    7   heart attack prior to the chemical explosion, but the others were
    8   being charged with murder anyway because the death occurred during
    9   the commission of a crime.
   10          POLIAK's Money Launderinq
   11           67.    In multiple conversations with CS-1, which were
   12   consensually recorded and reviewed by investigators, POLIAK admits to
   13   laundering money, often referring to money as "clean" or "dirty," and
   14   speaking plainly about the need to "clean my money."                              The following
   15   provide specific examples from conversations between CS-1 and POLIAK:
   16
   17
        Angeles district attorney's office said in a statement,
   18
        The lab exploded Sept. 21 while four of the men and the victim, Dados Aroutiounov, 62, were inside.
   19
        Aroutiounov's remains, burned beyond recognition, were found the following day under a pile of debris
   20   after investigators received information that someone may have been killed in the fire.

   21   The cannabis allegedly was being turned into a potent concentrate known as hash oil or honey oil that
        can be used in vape pens, edibles, waxes and other products.
   22
   23   A rise in vaping illnesses nationwide has caused federal investigators to probe the black market for
        THC products, especially illegal vaping cartridges.
   24
        Aram Abgaryan, 30, Vadim Klebanov, 59, Arsen Terejyan, 43, Rafael Mailyan, 32, and Stepan
   25   Mailyan, 65, were arrested Tuesday and charged with murder and manufacturing a controlled
        substance, concentrated cannabis. Authorities also seized $3,2 million and gold bars Tuesday from a
   26
        storage unit connected to the case.
   27
        Each faces 23 years to life in prison. They remain in jail on $2 million bail."
   28
                                                           49


                                                EXHIBIT A
                                                   68
Case
 Case2:21-cv-07192-SVW-AS
      2:21-cv-06968-RGK-MARDocument
                             Document
                                    1-133-1
                                         FiledFiled
                                               09/08/21
                                                    02/02/22
                                                          Page
                                                             Page
                                                               63 of63104
                                                                       of 104
                                                                           Page
                                                                              Page
                                                                                ID #:69
                                                                                    ID
                                     #:283




    1                   a.   During a meeting in December 2019, POLIAK told CS-1
    2   that he has monthly income in the form of a $50,000 check.          "I get
    3   checks for fifty-thousand a month.          Forty-five gets me fifty."    Later
    4   in the conversation, CS-1 asked, "But how do you have fifty a month?"
    5   POLIAK replied, "I'm telling you, between like all my things I'll
    6   make like six hundred this year."          CS-1 asked, "You give them cash,
    7   they give you check, is that what-"          POLIAK replied, "No, no that's
    8   just to cl.ean my money . . . that I don't even count as income."
    9                   5.   USPV Owner POLIAK admits he uses a shell business to
                             launder money
   10
                68.     POLIAK further discussed both the "forty-five-for-fifty"
   11
        deal, and other aspects of money laundering with CS-1 on or about
   12
        January 27, 2020, during a meeting which was recorded and reviewed by
   13
        investigators.        After a detailed description of his involvement in
   14
        the cannabis industry, POLIAK said, "I took home 200-something
   15
        thousand in key money and ten thousand a month income every month."
   16
        CS-1 asked, "So how do you manage, where do you put your money?"
   17
        POLIAK exclaimed, "I own a vault!"         CS-1 asked, "I'm not talking
   18
        about the cash."        POLIAK replied, "It's all cash!    It's all cash,
   19
        Why do you think I bought the vault?"           POLIAK then described some of
   20
        his shell corporations: "I have MGP.          Because I have to clean the
   21
        money.        Put money into MGP so I can pay half the rents.    Half the
   22
        rent is in cash and half the rent is clean."
   23
                69.    Later in the same conversation with CS-1, POLIAK said, "I
   24
        wash $50,000 through my consulting.         Remember, I pay 45 for 50?"
   25
        POLIAK continued, "So fifty thousand--" CS-1 finished, "you put into
   26
        MGP."     POLIAK corrected, "No, I put into MGP Consulting.       MGP
   27
        Consulting pays MGP Management for rent.          Talking about $10,000 a
   28

                                              50


                                       EXHIBIT A
                                          69
Case
 Case2:21-cv-07192-SVW-AS
      2:21-cv-06968-RGK-MARDocument
                             Document
                                    1-133-1
                                         FiledFiled
                                               09/08/21
                                                    02/02/22
                                                          Page
                                                             Page
                                                               64 of64104
                                                                       of 104
                                                                           Page
                                                                              Page
                                                                                ID #:70
                                                                                    ID
                                     #:284




    1   month.       And that goes to the landlords." CS-1 said, "So you're paying
    2   the landlords--" POLIAK finished, "--through my consulting." CS-1
    3   said, "So you're getting paid cash . . . you give some fucker cash--n
    4   POLIAK finished, "He cuts me a check.       Fifty thousand for forty-five
    5   cash."       It is important to note POLIAK's use of various shell
    6   corporations such as MGP Management and MGP Consulting.        Based on my
    7   training and experience investigating money laundering organizations,
    8   I know that it is common for criminals to create multiple "shell"
    9   corporations to "layer" criminal proceeds, thereby obscuring their
   10   criminal origins.       Additionally, in this exchange, POLIAK again
   11   openly admits cleaning his money, something which does not need to be
   12   done with lawfully earned income.
   13          70.    A review of Michael POLIAK's bank accounts (specifically
   14   MGP Consulting) corroborates his description of this activity.
   15   Between February 15, 2018 and January 2020, MGP Consulting received
   16   $50,000 a month (fortY-:,·two $25,000 checks) from Corporation A and
   17   Corporation B, both owned by the same individual.       I learned through
   18   conversations with FBI agents that the individual is the target
   19   subject of a current FBI Healthcare Fraud investigation (hereafter TS
   20   HCF) 26 •    TS HCF's signature is on checks from both companies.    Based
   21   on conversations I've had with agents who investigate healthcare
   22   fraud, I know that those engaged in healthcare fraud schemes often
   23   need cash and will pay a premium for it (e.g. $50,000 for $45,000 in
   24   cash) because they need to make cash payments to "patients" seeking
   25   healthcare services which are being over-billed.       They cannot
   26

   27        26 FBI agents who are investigating TS HCF asked that the
        identity of the target of their investigation, as well as his/her
   28   related business entities, remain undisclosed in order to protect the
        integrity of their investigation.
                                         51


                                       EXHIBIT A
                                          70
Case
 Case2:21-cv-07192-SVW-AS
      2:21-cv-06968-RGK-MARDocument
                             Document
                                    1-133-1
                                         FiledFiled
                                               09/08/21
                                                    02/02/22
                                                          Page
                                                             Page
                                                               65 of65104
                                                                       of 104
                                                                           Page
                                                                              Page
                                                                                ID #:71
                                                                                    ID
                                     #:285




    1   withdraw the amount of cash they need without bringing attention to

    2   their scheme,     This leads them to look for other sources of cash.

    3        71.     POLIAK has a large amount of cash which he stores at USPV.

    4   On or about December 17, 2019, CS-1 met with Michael POLIAK.          The

    5   meeting was consensually recorded and subsequently reviewed by

    6   investigators.     During the meeting POLIAK told CS-1 that as a

    7   customer of USPV (prior to buying in to the business), POLIAK had

    8   four boxes at USPV.     He further stated that he now has "six boxes in

    9   the place myself!     I was a customer.     I'm telling you,   I have six

   10   ten-by-tens myself."      POLIAK added, "Let me put it this way, the

   11   reason also why I wanted to buy it [USPV], I got a lot of fucking

   12   money now."     Earlier in the conversation, POLIAK said, "I wish I had

   13   fifty (million] right now.     That would be nice."     CS-1 replied,

   14   "Yeah?     In your twenties or what?"     POLIAK said, "No, not even, bro.

   15   Like ten.            I have like two clean, eight like dirty.       I put
   16   most of it in the house."     Based on my review of the recording and a

   17   debrief of CS-1, I believe that POLIAK has $10 million: $2 million

   18   which he laundered through the purchase of property (discussed below)

   19   and $8 million in cash stored in six 10 x 10 boxes at USPV.

   20   Additionally, POLIAK himself describes the $8 million as "dirty," by

   21   which I believe he means it was not legally derived and in the form

   22   of cash - not laundered to appear legitimately earned.

   23        72.    Based on my training and experience, my review of bank

   24   records and recordings, I believe that the cash POLIAK is sending to

   25   TS-HCF is the proceeds of his self-professed "illegal businesses,"

   26   likely drug trafficking, which he stores at USPV.        Thus, drug

   27   trafficking proceeds are being used to further healthcare fraud; and

   28

                                           52


                                     EXHIBIT A
                                        71
Case
 Case2:21-cv-07192-SVW-AS
      2:21-cv-06968-RGK-MARDocument
                             Document
                                    1-133-1
                                         FiledFiled
                                               09/08/21
                                                    02/02/22
                                                          Page
                                                             Page
                                                               66 of66104
                                                                       of 104
                                                                           Page
                                                                              Page
                                                                                ID #:72
                                                                                    ID
                                     #:286




    1   the fraud proceeds are being further laundered by POLIAK to make
    2   purchases (such as USPV) and advance his other criminal interests.
    3        73.    Michael POLIAK described efforts to launder his money
    4   through a real estate purchase to CS-1.      On or about December 17,
    5   2019 and again on September 15, 2020, Michael POLIAK met with CS-1.
    6   The meetings were consensually recorded and reviewed by
    7   investigators.     During those meetings, POLIAK described to CS-1 his
    8   plans to launder cash through the purchase, renovation and sale of
    9   property located at
   10        74.   During the earlier conversation, POLIAK told CS-1 that the
   11   property was listed at $2 million, but he offered the sellers $1.7
   12   million "tomorrow - no inspection."      POLIAK said, "I literally did
   13   one day close. Can you imagine?     One day close?"    In the subsequent
   14   meeting, POLIAK further explained that he put $600,000 down and took
   15   out a mortgage of about $1.2 million 27 •   He also told CS-1 that he
   16   spent about $1.5 million renovating the property.
   17        75.   In September 2020, with renovations complete, POLIAK told
   18   CS-1 he was listing the property for $3.6 million, but expected a
   19   bidding war.     POLIAK believed the property was worth closer to $4
   20   million.
   21        76.   With regard to the property purchase and massive renovation
   22   under way when CS-1 first saw the property in December 2019, CS-1
   23   commented, "You could, basically what you could do is, one-point-
   24   seven, you could easily clean your money through it."        POLIAK
   25   replied, "That's what I'm doing with the construction.        Why do you
   26   think I'm doing half a million construction?"       CS-1 said, "Half a
   27
   28        27 This is supported by financial analysis which revealed a
        mortgage on this property.
                                         53


                                    EXHIBIT A
                                       72
Case
 Case2:21-cv-07192-SVW-AS
      2:21-cv-06968-RGK-MARDocument
                             Document
                                    1-133-1
                                         FiledFiled
                                               09/08/21
                                                    02/02/22
                                                          Page
                                                             Page
                                                               67 of67104
                                                                       of 104
                                                                           Page
                                                                              Page
                                                                                ID #:73
                                                                                    ID
                                     #:287




    1   million cash."      POLIAK said,    "I want to do one or two projects like

    2   this a year."     CS-1 said, "That's a million dollar give-away.         And

    3   you-" POLIAK interrupted, "Ten-thirty-one-exchange 2 B." POLIAK added,

    4   "And I can wash it off the construction company.          On top of the ten-

    s   thirty-one exchange,"      CS-1 asked, "You're giving him cash?" POLIAK

    6   said, "I write off Jacob," referring to his contractor.           CS-1 said,

    7   "Yeah, you take his check.         You give him cash."   POLIAK said, "Yep .

    8   .   . . We do profit sharing . . . Yeah, on the house.         It's gonna be

    9   like this and it comes back clean .          . I pay all his subs in cash.

   10   I've been paying all his subs in cash all year already."

   11           77.   It is worth noting that POLIAK himself uses phrases such as

   12   "I can wash it" and "it comes back clean," showing his own awareness

   13   and acknowledgement of money laundering.         Additionally, when CS-1

   14   says "you could easily clean your money through it," POLIAK eagerly

   15   agrees, saying "That's what I'm doing with the construction.             Why do

   16   you think I'm doing half a million construction?"          Finally, by

   17   admitting that he is paying sub-contractors        ("subs")   in cash and has

   18   been doing so all year, POLIAK is specifically describing how he uses

   19   (illegal) cash to increase the value of his property which he will

   20   later sell for a profit and claim as legitimate income, thus

   21   "cleaning" his "dirty" money.

   22           78.   Finally, during their September 2020 meeting, which was

   23   recorded and reviewed, CS-1 inquired whether POLIAK's asking price

   24   would be reduced if a buyer came in with a million or two million in

   25   cash.     POLIAK told CS-1 he would require "a premium" if someone came

   26
   27
             20 A 1'031 Exchange refers to section 1031 of the IRS Code which
   28   allows a real estate investor to avoid capital gains taxes as long as
        the profit is used to purchase another "like kind property."
                                          54


                                      EXHIBIT A
                                         73
Case
 Case2:21-cv-07192-SVW-AS
      2:21-cv-06968-RGK-MARDocument
                             Document
                                    1-133-1
                                         FiledFiled
                                               09/08/21
                                                    02/02/22
                                                          Page
                                                             Page
                                                               68 of68104
                                                                       of 104
                                                                           Page
                                                                              Page
                                                                                ID #:74
                                                                                    ID
                                     #:288




    1   in with cash - he would charge $4.2 million.        "I don't- Nobody needs
    2   cash.              I have a ton of cash . . . , I'm doing business to get
    3   rid of my cash."       This further demonstrates POLIAK's on-going efforts
    4   to laundering money through his various projects.
    5           L.     USPV Owner Michael POLIAK Used Criminal Proceeds to Buy His
                       Interest in USPV
    6
                79,     In April 2019, Michael POLIAK purchased a 50% ownership in
    7
        USPV.        POLIAK described the deal to CS-1 in a consensually recorded
    8
        conversation which investigators reviewed.        During that conversation,
    9
        CS-1 asked, "How did you meet him [PAUL], turn around and become a
   10
        partner? . . . Did you have to pay him?"        POLIAK replied, "Yeah, I
   11
        gave him $475,000.                two-seventy-five clean.    Two hundred
   12
        dirty."       Later in the conversation, POLIAK explained, "Mark [PAUL]
   13
        owned 75%.       Hillary [BARTH) and her husband [STEVE BARTH] owned 25%.
   14
        I bought twenty-five from Mark, and I bought twenty-five from them,
   15
        I said,       'Mark, I can't buy the place unless I get at least 50%.'"
   16
                80.    A review of bank records supports POLIAK's claim.     On April
   17
        2, 2019, $225,000 was deposited into USPV's JP Morgan Chase bank
   18
        account ending in #7511.        The deposit included a Wells Fargo Bank
   19
        cashier's check in the amount of $125,000, payable to U.S. Private
   20
        Vaults, purchased by Michael POLIAK; and a check issued from Michael
   21
        POLIAK's Wells Fargo Bank account #7496 in the name of MGP Consulting
   22
        LLC, for $100,000, payable to U.S. Private Vaults.          Based on POLIAK's
   23
        statements, agents believe that the remainder of the $475,000 was
   24
        paid in cash.       Agents also believe STEVE BARTH and HILLARY BARTH were
   25
        paid in cash.
   26
                81.    As set forth above, there are numerous factors which
   27
        indicate that all of POLIAK's income is derived from illegal sources.
   28
                                              55


                                       EXHIBIT A
                                          74
Case
 Case2:21-cv-07192-SVW-AS
      2:21-cv-06968-RGK-MARDocument
                             Document
                                    1-133-1
                                         FiledFiled
                                               09/08/21
                                                    02/02/22
                                                          Page
                                                             Page
                                                               69 of69104
                                                                       of 104
                                                                           Page
                                                                              Page
                                                                                ID #:75
                                                                                    ID
                                     #:289




    1   The cash in particular cannot be sourced to any lawful pursuit.

    2   However, close examination of POLIAK's bank records reveal the

    3   following:

    4                a.   The check for $100,000 from MGP Consulting LLC, can be

    5   traced to healthcare fraud, as described above.       Between February 15,

    6   2019 and April 1, 2019, POLIAK received three checks from Corporation

    7   A, and one from Corporation B,, each for $25,000, payable to MGP

    8   Consulting. These checks are part of the "forty-five-for-fifty"

    9   healthcare fraud/money laundering scheme POLIAK himself described.

   10   These deposits funded the $100,000 check from MGP Consulting to U.S.

   11   Private Vaults.

   12                b.   In addition, the $125,000 cashier's check from

   13   POLIAK's Wells Fargo account can be traced to a $300,000 E-deposit

   14   made in New York on 10/20/2018.     Financial investigators traced this

   15   check to Alta Quality Growers, LLC of Elgin, Illinois, whose

   16   principal is John Fasano of Brooklyn, NY.      Fasano has a criminal

   17   history which involves drug trafficking (marijuana and ecstasy), as

   18   well as a financial history which includes a pattern of structured

   19   deposits and withdrawals and large wires to Mexico, with no business

   20   purpose.     Additionally, Alta Quality Growers, LLC has no website and

   21   little internet presence.     It's notable that the company, supposedly

   22   located in Illinois, has a    (956) area code phone number - 956 covers

   23   much of the Texas-Mexico border.     Based on my training and experience

   24   in both drug and money laundering investigations, I believe that Alta

   25   Quality Growers, LLC is a drug/money laundering front.        The money

   26   therefore which funded POLIAK's Wells Fargo Bank account and was used

   27   in part to purchase USPV, is likely also criminal proceeds.

   28

                                           56


                                     EXHIBIT A
                                        75
Case
 Case2:21-cv-07192-SVW-AS
      2:21-cv-06968-RGK-MARDocument
                             Document
                                    1-133-1
                                         FiledFiled
                                               09/08/21
                                                    02/02/22
                                                          Page
                                                             Page
                                                               70 of70104
                                                                       of 104
                                                                           Page
                                                                              Page
                                                                                ID #:76
                                                                                    ID
                                     #:290




    1        M.    None of the Individuals Associated with USPV, as Principals
                   or Patrons, who are Participating in the Marijuana
    2              Industry, is Licensed by the State of California to do so.
    3        82.    During the course of this investigation, federal agents
    4   consulted with the California Department of Consumer Affairs,
    5   Cannabis Enforcement.    Through that consultation, we learned that
    6   none of the following individuals is licensed to participate in the
    7   California cannabis trade, either with regard to cultivation,
    8   manufacture, or retail 29 :   MARK PAUL, MICHAEL POLIAK, GEORGE VASQUEZ,
    9   STEVE BARTH, HILLARY BARTH, Allan NEYMAN, Matthew BEAVER, Aram
   10   ABGARYAN, Alta Quality Growers, John FASANO.
   11        N,    USPV Principals Have Counseled Clients on Strategies to
                   Circumvent BSA Reporting Requirements and Have Themselves
   12              Failed to Comply with Reporting Requirements

   13               1.   USPV Manager VASQUEZ instructs a customer to structure
                         gold purchases to avoid currency transaction reports
   14
             83.   On August 9, 2019, CS-3 talked to USPV manager GEORGE
   15
        VASQUEZ about buying gold at OLYMPIC GOLD & JEWELRY.       The
   16
        conversation was consensually recorded and reviewed by investigators.
   17
        During the conversation, CS-3 said, "My Prime's gonna want to talk to
   18
        her [HILLARY BARTH] because we spoke about buying some gold. .             He
   19
        [Primo] needs to get rid of a lot of shit . . . and I'm hoping you
   20
        guys have some fuckin' creative ideas on how to do it."          VASQUEZ
   21
        clarified, "Well, depends on-what-okay-he's got to get rid of some
   22
        money?"    CS-3 replied, "Yeah."   VASQUEZ said, "He wants to buy gold?"
   23
        cs-3 said, "Yes."    VASQUEZ said, "Okay.    Keep it at under ten
   24
        thousand dollars."    CS-3 asked, ''How often?"   VASQUEZ replied, "About
   25
        - I would-it's, it's supposed to be every 24 hours . . . but I
   26
   27
             2 9 Valley Collective Care (Antares Topanga Group) which operates
   28   The Atrium at 5441 Topanga Canyon Blvd., Woodland Hills, CA,
        discussed herein is a licensed cannabis retailer.
                                           57


                                      EXHIBIT A
                                         76
Case
 Case2:21-cv-07192-SVW-AS
      2:21-cv-06968-RGK-MARDocument
                             Document
                                    1-133-1
                                         FiledFiled
                                               09/08/21
                                                    02/02/22
                                                          Page
                                                             Page
                                                               71 of71104
                                                                       of 104
                                                                           Page
                                                                              Page
                                                                                ID #:77
                                                                                    ID
                                     #:291




    1   suggest at least 48 hours."          VASQUEZ added, "Yeah.   But not all the

    2   time.     So let's say like 9,000 or 9,500."        CS-3 said, "Break it

    3   down."        VASQUEZ replied, "Break it down      . . Cause you don't want

    4   that paperwork shit,"         (Emphasis added.)   Based on my training and

    5   experience, as well as a comprehensive debrief of CS-3, CS-3 was

    6   talking to VASQUEZ about laundering criminal proceeds through the

    7   purchase of gold.         Furthermore, I believe that VASQUEZ understood

    8   that CS-3 was talking about laundering criminal proceeds.           Finally,

    9   it is indisputable from this conversation that VASQUEZ was coaching

   10   CS-3 how to "structure 3011 his purchases in order to avoid the Bank

   11   Secrecy Act       (BSA)   reporting requirements, specifically telling CS-3

   12   to "keep in under $10,000" because "you don't want that paperwork

   13   shit."

   14           84.     In addition to coaching CS-3 on how to avoid BSA

   15   requirements, VASQUEZ's statements show a clear knowledge of and

   16   participation in money laundering.          USPV is using its co-located

   17   business, OLYMPIC GOLD & JEWELRY as an outlet for USPV customers to

   18   launder criminal proceeds, by exchanging cash for gold or silver.

   19   That there is a pattern and practice of this is evidenced by the

   20   seizure of gold and silver from USPV boxes in the cases described

   21   earlier.         Furthermore, based on my training and experience

   22   investigating money laundering, I know that the purchase and sale of

   23   gold and silver is a common method which criminals employ to launder

   24   criminal proceeds.         Gold and silver are difficult to trace, portable,

   25

   26
             30 Structured deposits refers to multiple deposits under $10,000,
   27   made on the same day or consecutive days, which add up to over
        $10,000 - generally structured in order to avoid Bank Secrecy Act
   28   (BSA) requirements, such as providing identification and filing a
        Currency Transaction Report (CTR) or IRS Form 8300.
                                         58


                                         EXHIBIT A
                                            77
Case
 Case2:21-cv-07192-SVW-AS
      2:21-cv-06968-RGK-MARDocument
                             Document
                                    1-133-1
                                         FiledFiled
                                               09/08/21
                                                    02/02/22
                                                          Page
                                                             Page
                                                               72 of72104
                                                                       of 104
                                                                           Page
                                                                              Page
                                                                                ID #:78
                                                                                    ID
                                     #:292




    1   fairly easy to re-sell, and often traded in a manner which, like

    2   USPV, caters to criminals' need for anonymity.

    3               2.      HILLARY BARTH and VASQUEZ instruct a customer to
                            structure gold purchases to avoid currency transaction
    4                       reports

    5        85.    On or about January 13, 2020 CS-4 went to USPV to pay rent

    6   on a previously-rented safe deposit box.       While there, CS-4 spoke to

    7   HILLARY BARTH about the possibility of investing approximately

    8   $20,000 in gold or silver.       This conversation was not recorded, but

    9   was reported to the Affiant immediately after it occurred.        HILLARY

   10   BARTH, who had never previously met CS-4, told CS-4 that it didn't

   11   matter whether CS-4 purchased gold or silver - one came in coins, the

   12   other in bars - but he/she should not purchase $20,000 at one time.

   13   HILLARY BARTH specifically advised CS-4 not to purchase more than

   14   $10,000 worth of gold or silver at a time, otherwise, CS-4 would have

   15   to fill out the paperwork 31 •     This shows that HILLARY BARTH is

   16   coaching USPV/OLYMPIC GOLD & JEWELRY clients on strategies for

   17   evading BSA reporting requirements.       It's important to note that

   18   HILLARY BARTH had not previously met CS-4, because this suggests that

   19   she gives this advice to all USPV/OLYMPIC GOLD & JEWELRY clients.

   20        86.         On February 25, 2020, CS-4 went to USPV to access a

   21   previously-rented box.       While there, CS-4 spoke to George VASQUEZ

   22   about the possibility of purchasing gold,        This conversation was not

   23   recorded, but was reported to the Affiant immediately after it

   24   occurred,    VASQUEZ asked how much CS-4 wanted to purchase and CS-4

   25   said he/she might have about $23,000 to invest. CS-4 relayed to

   26

   27        31Note, CS-4 was not coached or prompted in any way to inquire
        about breaking up a purchase. CS-4 was instructed to mention that
   28   he/she expected to have $20,000 to invest and would like information
        about purchasing gold or silver.
                                         59


                                      EXHIBIT A
                                         78
Case
 Case2:21-cv-07192-SVW-AS
      2:21-cv-06968-RGK-MARDocument
                             Document
                                    1-133-1
                                         FiledFiled
                                               09/08/21
                                                    02/02/22
                                                          Page
                                                             Page
                                                               73 of73104
                                                                       of 104
                                                                           Page
                                                                              Page
                                                                                ID #:79
                                                                                    ID
                                     #:293




    1   VASQUEZ what Hillary BARTH had previously told CS-4 -- that he/she
    2   should keep the purchases under $10,000 in order to avoid doing
    3   paperwork. VASQUEZ agreed with that and told CS-4 that he could help;
    4   specifically, CS-4 could deposit $9,000 and give the rest to VASQUEZ,
    5   who would make the deposits, so no paperwork would be filed. VASQUEZ
    6   added that CS-4 should "throw me a little," meaning of the cash
    7   because "I help you, you help me," VASQUEZ said he had such an
    8   arrangement with someone else and it worked well 32 , VASQUEZ also added
    9   that CS-4 would not even have to put his/her name on the receipt for
   10   the gold; he/she could just use initials, and that way no one would
   11   know -- there would be no paperwork.
   12              3.   STEVE BARTH and VASQUEZ instruct a customer to
                        structure gold purchases to avoid currency transaction
   13                   reports
   14        87.   Similarly, on January 28, 2020, a DEA employee, posing as a
   15   potential customer, went to USPV to discuss purchasing gold.        The
   16   meeting was recorded and reviewed by investigators.       The DEA Agent
   17   first told George VASQUEZ that he wanted to purchase $18,000 worth of
   18   gold. VASQUEZ then advised the Agent that, "You can buy that but I
   19   advised you to buy under 10 ($10,000]. Because if you 1 re buying under
   20   10 [$10,000], we don't have to do paperwork, No information is going
   21   to IRS. So you could buy 9 [$9,000], and a couple days, come buy
   22   another 9 [$9,000] ."   VASQUEZ then logged on the computer and showed
   23   the Agent the gold prices 33 •   A few minutes later, STEVE BARTH arrived
   24
             32   Note this conversation took place after the
   25   January/February gold purchase, discussed below, in which VASQUEZ was
        "tippedu in cash for his assistance.
   26        33   The fact that VASQUEZ was able to go behind the counter of
   27
        OLYMPIC GOLD AND JEWELRY and log onto the computer led the Agent to
        believe that the VASQUEZ was an employee of both USPV and OLYMPIC
   28   GOLD AND JEWELRY and/or the two businesses were essentially one.

                                           60


                                    EXHIBIT A
                                       79
Case
 Case2:21-cv-07192-SVW-AS
      2:21-cv-06968-RGK-MARDocument
                             Document
                                    1-133-1
                                         FiledFiled
                                               09/08/21
                                                    02/02/22
                                                          Page
                                                             Page
                                                               74 of74104
                                                                       of 104
                                                                           Page
                                                                              Page
                                                                                ID #:80
                                                                                    ID
                                     #:294




    1   at the business. VASQUEZ introduced STEVE BARTH to the Agent and

    2   departed the display room.       STEVE BARTH told the Agent that he sells

    3   gold, silver, platinum and different types of gold. The Agent told

    4   STEVE BARTH that he wanted to purchase $18,000 worth of gold. STEVE

    5   BARTH advised the Agent, if someone gives you $10,000 or more there's

    6   a form you have to fill out. "If you buy less than $10,000 then

    7   there's no form.n    The Agent then told STEVE BARTH that he didn't

    8   have any problem with filling out the form. STEVE BARTH then told the

    9   Agent that, "Some people don't want to alert the IRS or whatever, so

   10   they keep it under, most people." STEVE BARTH then advised the Agent,

   11   "If you like to, you can buy $9,000 one day and then $9,000 you

   12   know." The Agent then asked STEVE BARTH if he could purchase $9,000

   13   of gold in one day then do another $9,000 worth of gold the very next

   14   day. Steve BARTH said, "Yes, you could do that."          Later, STEVE BARTH

   15   added, "I recommend you stay under 10,000 in cash and then you could

   16   just do some one day and a few days later you could do the other.

   17   That's what I would recommend." STEVE BARTH then said,         "Anytime,

   18   there's more than 10,000 dollars in cash, they get suspicious, so

   19   they want to know. You fill out the form and the form goes to the

   20   government and even though, it's legitimate."

   21        88.   In addition to coaching customers on methods for evading

   22   BSA requirements, HILLARY BARTH violated 31 U,S.C, §5331 by failing

   23   to file IRS Form 8300 after conducting a cash transaction at OLYMPIC

   24   GOLD & JEWELRY.     On or about December 4, 2019, CS-1 purchased

   25   jewelry from OLYMPIC GOLD    &   JEWELRY 34 •   CS-1 and HILLARY BARTH

   26

   27
             34 The purchase was not recorded, but CS-1 exchanged text
   28   messages with HILLARY BARTH negotiating and leading up to the

                                              61


                                     EXHIBIT A
                                        80
Case
 Case2:21-cv-07192-SVW-AS
      2:21-cv-06968-RGK-MARDocument
                             Document
                                    1-133-1
                                         FiledFiled
                                               09/08/21
                                                    02/02/22
                                                          Page
                                                             Page
                                                               75 of75104
                                                                       of 104
                                                                           Page
                                                                              Page
                                                                                ID #:81
                                                                                    ID
                                     #:295




    1   negotiated the sale for approximately $11,900.       CS-1 paid for the
    2   jewelry in cash.     HILLARY BARTH gave CS-1 a document certifying that
    3   the jewelry was authentic.     However, HILLARY BARTH did not provide an
    4   invoice or obtain the information necessary to complete the Form 8300
    5   (CS-l's identification, etc,). No Form 8300 was in fact filed, based
    6   on a database search for any Form 8300s filed (at any time) by either
    7   STEVE or HILLARY BARTH.     I believe HILLARY BARTH is aware of the
    8   requirement to file Form 8300 for cash transactions in excess of
    9   $10,000 based on her discussions with CS-4 and others.        Moreover,
   10   HILLARY BARTH's failure to provide CS-1 with a receipt, invoice or
   11   other paperwork suggests that the sale was "under the table" and that
   12   any income earned from the cash transaction was not declared to the
   13   IRS.
   14          0.    USPV Principals Laundered Cash Represented to be Criminal
                     Proceeds Through OLYMPIC GOLD & JEWELRY
   15
                     1.   January/February 2020 Gold Buy
   16
               89.   On or about January 29, 2020, CS-3 and TFO-UC (posing as an
   17
        associate of CS-3) went to USPV to discuss the purchase of gold with
   18
        cash purportedly derived from the sale of metharnphetamine.       The
   19
        meeting was recorded and reviewed by investigators.
   20
                     a.   After discussing the difference between gold coins and
   21
        gold bars, CS-3 told George VASQUEZ that gold bars were more
   22
   23   desirable for melting down, and mentioned that TFO-UC needed the gold

   24   bars as payment for a debt.     CS-3 then asked VASQUEZ about crossing

   25   gold "down south" [Mexico].     VASQUEZ asked CS-3, "How much are you
   26   planning to take?" He then instructed CS-3 to, "Keep it under 10,"
   27
   28   purchase; investigators received and reviewed copies of the text
        messages.
                                        62


                                     EXHIBIT A
                                        81
Case
 Case2:21-cv-07192-SVW-AS
      2:21-cv-06968-RGK-MARDocument
                             Document
                                    1-133-1
                                         FiledFiled
                                               09/08/21
                                                    02/02/22
                                                          Page
                                                             Page
                                                               76 of76104
                                                                       of 104
                                                                           Page
                                                                              Page
                                                                                ID #:82
                                                                                    ID
                                     #:296




    1   referring to the monetary value of $10,000 in cash, when purchasing
    2   gold. VASQUEZ then instructed CS-3 and TFO-UC to conduct two separate
    3
        "orders" under the amount of $10,000 each, when purchasing the gold.
    4
        CS-3 then asked VASQUEZ, "What do you mean?" VASQUEZ then continued,
    5
        "Yeah, if you keep it under $10,000, there is no paperwork. That way
    6
        you don't have to give no social security, no ID. All that shit goes
    7
    8   to the IRS." At this time, CS-3 and TFO-UC simultaneously expressed

    9   their interest in conducting the gold purchase without having to fill

   10   out paperwork.
   11               b.   CS-3 stated, "Nah .. Nah .. Nah. . fuck that l This is all
   12   'skante' money. I can't even fuck with that," VASQUEZ then
   13   reiterated, "Keep it under 10. You want to buy gold? Keep it under
   14   10."    Based on training and experience, TFO-UC recognized "skante 35 , "
   15   to be street vernacular commonly utilized for crystal
   16   methamphetamine.
   17               C,   At this time, TFO-UC asked VASQUEZ, "Does she
   18   (HILLARY) know the get down?" TFO-UC was referring to HILLARY BARTH's
   19   understanding of the structuring of gold purchases under $10,000 to
   20   avoid any reporting paperwork. VASQUEZ responded, "Yeah .. Yeah ..
   21   Yeah., She will tell you." VASQUEZ then referred to HILLARY BARTH'S
   22   husband, STEVE BARTH.     CS-3 indicated that STEVE BARTH instructed
   23   them on purchasing under $10,000 of gold at a time to avoid paperwork
   24   during a previous phone conversation.      VASQUEZ continued to instruct
   25   CS-3 and TFO-UC to "keep it under 10."      CS-3 then asked VASQUEZ if
   26
   27
               The Urban Dictionary defines "skante" as slang for crystal
               35
   28   meth. The DEA Drug Slang Code Words 2018 also defines "skante" as
        crystal meth.
                                            63


                                     EXHIBIT A
                                        82
Case
 Case2:21-cv-07192-SVW-AS
      2:21-cv-06968-RGK-MARDocument
                             Document
                                    1-133-1
                                         FiledFiled
                                               09/08/21
                                                    02/02/22
                                                          Page
                                                             Page
                                                               77 of77104
                                                                       of 104
                                                                           Page
                                                                              Page
                                                                                ID #:83
                                                                                    ID
                                     #:297




    1   HILLARY BARTH would question them in regards to where they obtained
    2   the money. VASQUEZ responded by saying, "She don't need to know. She
    3   ain't gonna ask you."
    4             d.    TFO-UC then asked VASQUEZ what the turn-around was on
    5   an order of gold. TFO-UC expressed to VASQUEZ he was under time
    6   constraints. VASQUEZ indicated the gold would be ready by the
    7   following morning, referring to January 30, 2020. TFO-UC stated he
    8   needed to get the gold down to Mexico. VASQUEZ then asked, "You guys
    9   are going to pay whoever you guys owe in gold? I am just curious,tt
   10   CS-3 then explained to VASQUEZ, "I moved a bunch of skante, and I did
   11   really good. The guy who fronted us is down south, He's gotta take
   12   the paper back. We don't wanna go down with paper 'cause I got
   13   pinched like that." VASQUEZ replied, "Right, so you'll take the
   14   gold." CS-3 responded, "Gold, cause the fuckin' dog won't pick up on
   15   it. VASQUEZ replied, "Right. Right. Whichever you like."
   16             e.    Based my training and experience and a debrief of TFO-
   17   UC, it was clear to TFO-UC that CS-3 was explaining to VASQUEZ that
   18   the money was obtained by selling crystal methamphetamine.
   19   Furthermore, CS-3 explained that the individual who sourced the
   20   crystal methamphetamine was in Mexico, and expecting payment for the
   21   crystal methamphetamine. CS-3 explained that TFO-UC was tasked with
   22   paying the source of the methamphetamine, adding that CS-3 and TFO-UC
   23   did not want to drive the bulk U.S. currency down to Mexico because
   24   CS-3 had previously been detained transporting narcotic proceeds, and
   25   lost the proceeds. Furthermore, CS-3 explained their desire to
   26   convert the narcotic proceeds into gold to repay the outstanding drug
   27   debt because the gold would more easily avoid detection by trained
   28   narcotic detecting K9's utilized by law enforcement personnel.
                                           64


                                    EXHIBIT A
                                       83
Case
 Case2:21-cv-07192-SVW-AS
      2:21-cv-06968-RGK-MARDocument
                             Document
                                    1-133-1
                                         FiledFiled
                                               09/08/21
                                                    02/02/22
                                                          Page
                                                             Page
                                                               78 of78104
                                                                       of 104
                                                                           Page
                                                                              Page
                                                                                ID #:84
                                                                                    ID
                                     #:298




    1                f.   Following the above referenced conversation, VASQUEZ

    2   escorted CS-3 and TFO-UC to HILLARY BARTH, who was waiting at the

    3   display of OLYMPIC GOLD AND JEWELRY.     TFO-UC told HILLARY BARTH he

    4   wanted to convert $16,000 in cash into a gold purchase. TFO-UC stated

    5   there were time constraints due to needing to get the gold bars

    6   delivered. HILLARY BARTH expressed an ability to have the gold by the

    7   following morning. HILLARY BARTH then went on to describe the

    8   different types of gold product they offered and the current value.

    9   HILLARY BARTH then explained, "Now up to $10,000 cash, uh, up to

   10   that, uh,    is not reportable. If you go,   if you buy more than that

   11   with cash,    there is a form you need to fill out, the government

   12   requires because they want to know where this cash is going. Uh, so

   13   anything under ten thousand there is no paperwork to fill out except

   14   that you're signing the purchase order for me,      for my records. So

   15   that I show I am making a buy for a client. Uh,      if you want to do

   16   your sixteen thousand all at once, uh, if you want to wire it, uh,        I

   17   don't believe you have to fill out that form.      It's a cash buy. We

   18   don't do credit, nobody would take a credit card or a check until it

   19   clears for bullion."       HILLARY BARTH then explained for $10,000 TFO-

   20   UC could buy approximately "six," referring to ounces of gold,

   21   depending on what gold product TFO-UC was interested in purchasing.

   22   TFO-UC expressed an interest in purchasing the gold bars.

   23                g.   CS-3 asked HILLARY BARTH how long TFO-UC would have to

   24   wait to conduct a second purchase of gold,      following the initial

   25   purchase of under $10,000. TFO-UC told HILLARY BARTH he was not

   26   interested in filling out any paper work for the gold purchase.

   27   HILLARY BARTH recommended waiting until "next week, a few days,"

   28   adding,   "it's not recommended, they say, don't come in every day."

                                           65


                                     EXHIBIT A
                                        84
Case
 Case2:21-cv-07192-SVW-AS
      2:21-cv-06968-RGK-MARDocument
                             Document
                                    1-133-1
                                         FiledFiled
                                               09/08/21
                                                    02/02/22
                                                          Page
                                                             Page
                                                               79 of79104
                                                                       of 104
                                                                           Page
                                                                              Page
                                                                                ID #:85
                                                                                    ID
                                     #:299




    1   HILLARY BARTH went on to say, "what they look for is a pattern of
    2   someone who with intention is trying to get around ... " HILLARY BARTH
    3   did not finish her sentence. Instead, she added, "I am just
    4   disseminating information." During this communication, it was
    5   apparent TFO-UC that HILLARY BARTH appeared uneasy with the
    6   conversation. HILLARY BARTH consistently looked up and away from CS-3
    7   and TFO-UC. Furthermore, HILLARY BARTH became selective in her word
    8   choice, referring to ''they" repeatedly when referring to the cash
    9   transaction report process.
  10                 2.   VASQUEZ suggests splitting the $16,000 Cash Purchase
                          between CS-3 and TFO-UC to avoid the $10,000 reportinq
   11                     reouirement
  12                 h.   During the conversation between HILLARY BARTH, CS-3,
   13   and TFO-UC, VASQUEZ stood approximately five feet west of the Olympic
  14    Gold and Jewelry display, listening to the transaction take place. As
  15    HILLARY BARTH explained to keep the purchase under $10,000, she
  16    advised TFO-UC he could purchase six gold bars for $9,840. TFO-UC
  17    explained again, his time constraints to get all $16,000 worth of
  18    gold delivered by Friday referring to January 31, 2020. At this time,
   19   VASQUEZ motioned over to CS-3 to come talk to him. CS-3 approached
   20   VASQUEZ, who in Spanish instructed CS-3 to have TFO-UC purchase "8"
   21   referring to $8,000 in gold, and CS-3 purchase the other "8"
   22   referring to $8,000 in gold. Thereby making two simultaneous
   23   transactions by two parties that would both fall under the $10,000
   24   threshold.
   25                i.   CS-3 then returned to the display where BARTH was
   26   explaining to TFO-UC that the purchase of nine gold ounce bars would
   27   amount to approximately $14,760. She then reiterated if TFO-UC
   28   conducted the purchase on one transaction ''paper work," would have to
                                           66


                                     EXHIBIT A
                                        85
Case
 Case2:21-cv-07192-SVW-AS
      2:21-cv-06968-RGK-MARDocument
                             Document
                                    1-133-1
                                         FiledFiled
                                               09/08/21
                                                    02/02/22
                                                          Page
                                                             Page
                                                               80 of80104
                                                                       of 104
                                                                           Page
                                                                              Page
                                                                                ID #:86
                                                                                    ID
                                     #:300




    1   be filled out. At this time, CS-3 motioned to TFO-UC to go and talk
    2   to VASQUEZ. TFO-UC approached VASQUEZ, who instructed TFO-UC to split
    3   the gold purchase into two separate transactions of $8,000. While
    4   TFO-UC was speaking with VASQUEZ, HILLARY BARTH was explaining to CS-
    5   3 that any cash transaction over $10,000 would require the cash
    6   transaction report. HILLARY BARTH further explained, the cash
    7   transaction report was the result of the Patriot Act. She added, she
    8   "never" utilizes the cash transaction reporting form because her
    9   clients do not typically purchase greater than $10,000.
   10               3.   HILLARY BARTH agrees to the structuring so long as CS-
                         3 and TFO-UC hand her the cash separately
   11
                    j.   At this time, TFO-UC returned and asked HILLARY BARTH
   12
        if he could split the purchase into two separate transactions
   13
        conducted separately by TFO-UC and CS-3. TFO-UC proposed that he
   14
        could purchase five gold bars and CS-3 could purchase four gold bars.
   15
        HILLARY BARTH indicated she would have to inquire to confirm if she
   16
        was capable of conducting such a transaction. She then proceeded to
   17
        operate her cellular phone through text messaging. She then stated,
   18
        "Yes, as long as you hand me the money," meaning separately. She then
   19
        explained she would fill out a receipt for the two separate
   20
        transactions, which would only require a first name and last initial.
   21
        HILLARY BARTH stressed the receipt was only for internal bookkeeping.
   22
                    k.   CS-3 then asked if he/she would have to be present to
   23
        pick up the gold bars. HILLARY BARTH explained it would be okay for
   24
        TFO-UC to take possession of the total purchase by presenting both
   25
        receipts.    HILLARY BARTH explained to TFO-UC that he would have to
   26
        sign the receipts at the time of pick up. Following the agreement to
   27
        conduct the purchase of $14,760 worth of gold in two separate orders,
   28
                                           67


                                    EXHIBIT A
                                       86
Case
 Case2:21-cv-07192-SVW-AS
      2:21-cv-06968-RGK-MARDocument
                             Document
                                    1-133-1
                                         FiledFiled
                                               09/08/21
                                                    02/02/22
                                                          Page
                                                             Page
                                                               81 of81104
                                                                       of 104
                                                                           Page
                                                                              Page
                                                                                ID #:87
                                                                                    ID
                                     #:301




    1   HILLARY BARTH suggested they conduct the transaction in the back

    2   office for "privacy."

    3              1.   At this time, HILLARY BARTH, TFO-UC, CS-3, and VAZQUEZ

    4   entered the back office.    Once inside the office, TFO-UC sat next to

    5   HILLARY BARTH to conduct the first gold purchase. HILLARY BARTH

    6   advised TFO-UC the first transaction of six one ounce Suisse bars

    7   would total $9,843. TFO-UC retrieved 99 one hundred dollar bills in

    8   U.S. currency ($9,900) of Official Advanced Funds (OAF) from a black

    9   backpack and handed it to HILLARY BARTH as payment for the gold bars.

   10   HILLARY BARTH placed the U.S. currency in a money counter and

   11   confirmed the total. HILLARY BARTH then asked TFO-UC for a first name

   12   and last initial for a hand written receipt for the transaction. TFO-

   13   UC advised BARTH his name was, "Andres V."      HILLARY BARTH proceeded

   14   to hand write a receipt for the purchase (ORDER# 1001). HILLARY

   15   BARTH then instructed TFO-UC to sign the "received by," section of

   16   the handwritten receipt. TFO-UC then initialed "AV" in cursive

   17   writing.

   18              m.   For the second transaction, CS-3 sat down in the chair

   19   closest to HILLARY BARTH. HILLARY BARTH advised CS-3 that the

   20   transaction of three one ounce Suisse bars would total $4,920. TFO-UC

   21   retrieved 61 one hundred dollar bills in U.S. Currency ($6,100) of

   22   OAF from a black backpack and handed it to CS-3 in plain and direct

   23   sight of HILLARY BARTH. At this time, CS-3 asked TFO-UC, "How much is

   24   it?" TFO-UC responded, "61," referring to $6,100 in U.S. currency.

   25   CS-3 then removed 11 one hundred bills in U.S. currency ($1,100) from

   26   the OAF and handed it back to TFO-UC. CS-3 then handed HILLARY BARTH

   27   50 one hundred dollar bills,    ($5,000) as payment for the three gold

   28   bars. HILLARY BARTH placed the U.S. currency in a money counter and

                                           68


                                    EXHIBIT A
                                       87
Case
 Case2:21-cv-07192-SVW-AS
      2:21-cv-06968-RGK-MARDocument
                             Document
                                    1-133-1
                                         FiledFiled
                                               09/08/21
                                                    02/02/22
                                                          Page
                                                             Page
                                                               82 of82104
                                                                       of 104
                                                                           Page
                                                                              Page
                                                                                ID #:88
                                                                                    ID
                                     #:302




    1   confirmed the total. HILLARY BARTH then asked CS-3 for a first name

    2   initial and last name for a hand written receipt for the transaction.

    3   CS-3 advised HILLARY BARTH to write,          "D.Rossi."   HILLARY BARTH

    4   proceeded to hand write a receipt for the purchase (ORDER# 1002).

    5   HILLARY BARTH did not instruct CS-3 to sign the "received by" section

    6   of the handwritten receipt. CS-3 then handed the receipt to TFO-UC in

    7   direct and plain sight of HILLARY BARTH.

    8                 n.      TFO-UC confirmed with HILLARY BARTH that he, alone,

    9   would be picking up the full order of gold the following day, January

   10   30, 2020. HILLARY BARTH confirmed the entire order, nine gold Suisse

   11   bars, would be available for pick up before 12:00 p.m.            The following

   12   day, January 30, 2020, TFO-UC received nine ounces of gold bullion

   13   from HILLARY BARTH at USPV.

   14           87.   On February 5, 2020, TFO-UC returned to USPV and

   15   compensated George VASQUEZ for his assistance in facilitating the

   16   gold deal the previous week,         TFO-UC gave VASQUEZ $1000 cash and

   17   said, "This is for you man.         I appreciate you walking us through that

   18   shit.     It worked out fucking perfect, so uh . . . we'll probably do

   19   it again."         TFO-UC suggested that he might conduct another gold

   20   transaction soon.         VASQUEZ said he would let the EARTHS know ahead of

   21   time,     TFO-UC said, "Just as long as I keep it under-" and VASQUEZ

   22   interjected, "Yeah, yeah.         Keep it under 10.    And if yo~ have to, do

   23   it twice.      Now let's say you need more than 10, but you're by

   24   yourself.      Come in.     Call me and say, "Hey George, I am gonna need

   25   15.     Give me whatever, what else.        Break it in half.   Give me half.

   26   And I'll have her buy it for me, and then I'll give it to you right

   27   there."

   28

                                               69


                                         EXHIBIT A
                                            88
Case
 Case2:21-cv-07192-SVW-AS
      2:21-cv-06968-RGK-MARDocument
                             Document
                                    1-133-1
                                         FiledFiled
                                               09/08/21
                                                    02/02/22
                                                          Page
                                                             Page
                                                               83 of83104
                                                                       of 104
                                                                           Page
                                                                              Page
                                                                                ID #:89
                                                                                    ID
                                     #:303




    1           P.     VASQUEZ and STEVE BARTH Arrange to Launder Cash for Wire
                       Transfers for CS-3 for 15%
    2
                90.     In October 2020, CS-3 approached VASQUEZ about conducting a
    3
        second gold purchase through OLYMPIC GOLD & JEWELRY.                  CS-3 stressed
    4
        to VASQUEZ that while he/she was cool with the earlier transaction,
    5
        it had "too many moving partsn and he/she was looking for something
    6
        simpler. CS-3 met VASQUEZ on or about October 8 1 2020 to discuss
    7
        this.        The meeting was recorded and reviewed by investigators, which
    8
        showed:
    9
                        a.       During the meeting CS-3 suggested to VASQUEZ that
   10
        he/she provide VASQUEZ with the total amount of cash CS-3 wanted to
   11
        use to purchase gold and VASQUEZ could structure the cash payment
   12
        (under $10,000) over multiple days, on behalf of CS-3, so that CS-3
   13
        did not have to go to USPV multiple times in the same week.                  VASQUEZ
   14
        agreed to this saying, "that's my point, I don't want you to have to
   15
        go all the time.n
   16
                       b.        CS-3 then said, "you don't even have to go get it.
   17
        Just cut me a receipt that I purchased it, and then tax me whatever
   18
        the fuck it is,      I   /f
                                       i.e. charge a fee for converting the cash into a
                                       I




   19
        clean financial transfer.                  VASQUEZ replied, "run that by me again.
   20
        Do you want the gold or not?"                  CS-3 indicated that he/she did not
   21
        want the gold.                "I just want the receipt and then I sell it back to
   22
        you, and you take your cut however it is."                  CS-3 asked if this was
   23
        possible, and VASQUEZ said, "Maybe."                  He later added" . . . maybe,
   24
        but I'm not sure.                  I will have to talk to Steve, Hillary's husband.n
   25
        As noted elsewhere STEVE BARTH and HILLARY BARTH own and run OLYMPIC
   26
        GOLD & JEWELRY.               CS-3 told VASQUEZ to "find out (from STEVE BARTH)
   27
        and get back to me."
   28
                                                        70


                                                 EXHIBIT A
                                                    89
Case
 Case2:21-cv-07192-SVW-AS
      2:21-cv-06968-RGK-MARDocument
                             Document
                                    1-133-1
                                         FiledFiled
                                               09/08/21
                                                    02/02/22
                                                          Page
                                                             Page
                                                               84 of84104
                                                                       of 104
                                                                           Page
                                                                              Page
                                                                                ID #:90
                                                                                    ID
                                     #:304




    1                c.    CS-3 and VASQUEZ continued discussing the proposed
    2   deal and VASQUEZ clarified, "you .just want to clean it."       CS-3
    3   replied, "that's exactly what it is."      CS-3 added that he/she did not
    4   want to continue laundering money through casinos, auctions and car
    5   dealerships.      VASQUEZ said, "Let me talk to Steve (BARTH), I don't
    6   know, cause Steve is - as much as he can-" CS-3 said, "I get it," and
    7   indicated that if they had to do it the way they did last time
    8   (referring to the February 2020 transaction) that was fine, but "it's
    9   about moving parts."
   10                d.    Later in the conversation, VASQUEZ suggested CS-3
   11   speak to Steve BARTH.      CS-3 indicated that he/she preferred VASQUEZ
   12   to speak to STEVE BARTH on his/her behalf.      Your Affiant believes
   13   this indicates that the decision to launder CS-3's money is STEVE
   14   BARTH's decision and that VASQUEZ is subordinate to BARTH.
   15                e.   VASQUEZ and CS-3 continued to discuss details such as
   16   the percentage that CS-3 would be charged, whether CS-3 would receive
   17   one check or multiple checks.      VASQUEZ stated that the purchases
   18   would have to be "under ten total . . . . I mean no paperwork and all
   19   that stuff."      CS-3 confirmed that the transaction would not be
   20   reported.     VASQUEZ said, "they have to at least take your first name
   21   down."    VASQUEZ added that he would "talk to Steve.      I won't talk to
   22   Hillary."     Finally, VASQUEZ concluded, "we can do it.     I think we
   23   can.     We do it that way a couple of times and it helps you out.        We
   24   all make a little bit."
   25                f.    As the meeting was wrapping up, VASQUEZ said, "I will
   26   talk to Steve."      CS-3 said, "if you can do me a favor, just try to
   27   fucking wash my shit."      VASQUEZ said he would try.
   28
                                            71


                                     EXHIBIT A
                                        90
Case
 Case2:21-cv-07192-SVW-AS
      2:21-cv-06968-RGK-MARDocument
                             Document
                                    1-133-1
                                         FiledFiled
                                               09/08/21
                                                    02/02/22
                                                          Page
                                                             Page
                                                               85 of85104
                                                                       of 104
                                                                           Page
                                                                              Page
                                                                                ID #:91
                                                                                    ID
                                     #:305




    1        91.    On or about November 12, 2020 CS-3 met with VASQUEZ at USPV

    2   to confirm the previously-discussed money laundering operation.        The

    3   meeting was recorded and reviewed by investigators.       During the

    4   meeting, CS-3 indicated that the money would be ready the following

    5   week, and they discussed the date and time for the transaction.        They

    6   also discussed the percentage which would be charged and VASQUEZ

    7   stated he still needed to talk to Steve (BARTH) to finalize that

    8   aspect.    As VASQUEZ walked CS-3 to the door, CS-3 told VASQUEZ he/she

    9   appreciated the arrangement because he/she just sold a large load of

   10   "skante" for some people down south and he/she needed to clean the

   11   money as soon as possible.     VASQUEZ told CS-3 not to worry about it

   12   and it would be taken care.

   13        92.     On or about November 17, 2020 CS-3 and TFO-UC went to USPV

   14   with $25,000 U.S. currency.     They met with VASQUEZ.    The meeting was

   15   recorded and reviewed by investigators.      The following took place:

   16               a.   CS-3 asked VASQUEZ what percentage of the $25,000

   17   would OLYMPIC GOLD AND JEWLERY charge, if they laundered all $25,000

   18   at one time. VASQUEZ stated approximately 12 percent. CS-3 and TFO-UC

   19   initially balked at such a high percentage being charged, VASQUEZ

   20   replied by saying,   "Well, first, we are not even supposed to be doing

   21   this, right? Second . . "    VASQUEZ then stopped talking and utilized a

   22   calculator to determine the amount of money OLYMPIC GOLD AND JEWLERY

   23   would charge at a 12 percent rate. VASQUEZ then stated, "it's about

   24   three grand. We are going to go with 12 percent at this time, because

   25   we are going to have to go buy it (referring to the gold bullion)."

   26   VASQUEZ then inquired if CS-3 and TFO-UC were still interested in

   27   conducting the laundering of the $25,000.      TFO-UC told VASQUEZ that

   28   he still wanted to do the transaction.

                                           72


                                     EXHIBIT A
                                        91
Case
 Case2:21-cv-07192-SVW-AS
      2:21-cv-06968-RGK-MARDocument
                             Document
                                    1-133-1
                                         FiledFiled
                                               09/08/21
                                                    02/02/22
                                                          Page
                                                             Page
                                                               86 of86104
                                                                       of 104
                                                                           Page
                                                                              Page
                                                                                ID #:92
                                                                                    ID
                                     #:306




    1             b.    TFO-UC then retrieved the $25,000 from a backpack and
    2   handed it to VASQUEZ. VASQUEZ took possession of the U.S. currency
    3   and placed it in a money counter on his desk. Upon verifying the
    4   amount of $25,000, VASQUEZ remained in possession of the money.
    5   VASQUEZ inquired if TFO-UC wanted a receipt for the transaction.
    6   TFO-UC said that he did not want any paperwork at all.
    7             c.    VASQUEZ then went on to explain based on the daily
    8   fluctuation of the price of gold and that they won't know exactly how
    9   much the business may earn and/ or lose when purchasing and
   10   reselling the gold bullion, which is why Steve [BARTH] is charging 12
   11   percent for the transaction 36 •   VASQUEZ explained that OLYMPIC GOLD
   12   AND JEWLERY would utilize the $25,000 to purchase gold bullion, in
   13   multiple structured purchases under $10,000 to avoid mandated
   14   reporting paperwork.    VASQUEZ stated once the gold bullion is
   15   purchased from a third party source, OLYMPIC GOLD AND JEWLERY would
   16   then ''sell" the gold bullion, and wire the transaction amount to an
   17   account belonging to CS-3.    CS-3 and TFO-UC expressed to VASQUEZ they
   18   did not want to touch nor see the gold bullion, and were only
   19
   20
              36 CS-3's initial understanding of the deal, based on
   21   conversations with VASQUEZ (which were not recorded) was that CS-3
        would give the cash to VASQUEZ who would give it to BARTH, who would
   22   disguise the placement of the funds into the OLYMPIC GOLD AND JEWELRY
        business account as legitimate precious metals sales. VASQUEZ told
   23   CS-3 that STEVE BARTH would structure the funds to avoid reporting
        requirements and disguise the transactions on paper as anonymous gold
   24   and silver purchases. VASQUEZ assured CS-3 that no gold would
        actually change hands. VASQUEZ further told CS-3 that once the money
   25   had been structured into the OLYMPIC GOLD AND JEWELRY business
        account that a wire transfer, or series of wire transfers could be
   26   utilized to return the money to cs-3 into a bank account that CS-3
        would provide VASQUEZ. VASQUEZ told CS-3 that the wire transfer
   27   would be made to look like a sale of precious metals to OLYMPIC GOLD
        AND JEWELRY. VASQUEZ told CS-3 that the entire circle of
   28   transactions would exist on paper only and would be clean and
        disguised as normal commerce.
                                          73


                                     EXHIBIT A
                                        92
Case
 Case2:21-cv-07192-SVW-AS
      2:21-cv-06968-RGK-MARDocument
                             Document
                                    1-133-1
                                         FiledFiled
                                               09/08/21
                                                    02/02/22
                                                          Page
                                                             Page
                                                               87 of87104
                                                                       of 104
                                                                           Page
                                                                              Page
                                                                                ID #:93
                                                                                    ID
                                     #:307




    1   interested in a time frame in which they could expect the money to be
    2   wired to the account.    VASQUEZ stated he understood and gave an
    3   approximate two week time frame for the approximate $22,000 to be
    4   wired to the account.    VASQUEZ explained the time frame depended on
    5   how much bullion was in stock at OLYMPIC GOLD AND JEWLERY and how
    6   much would have to be purchased from the third party source. VASQUEZ
    7   further stated he could only conduct one cash purchase of gold
    8   bullion under $10,000 a day and that OLYMPIC GOLD AND JEWLERY is only
    9   open twice a week.

   10             ct.   CS-3 then provided VASQUEZ with account information to
   11   receive the wire transfer.    VASQUEZ then inquired if TFO-UC wanted
   12   the $3,000 charge to come out of the $25,000 that he just handed
   13   VASQUEZ, or did he want to pay that separate, so that VASQUEZ knew
   14   how to structure the purchases.     CS-3 and TFO-UC advised VASQUEZ to
   15   take the 12 percent charge ($3,000) out of the $25,000 that TFO-UC
   16   just handed VASQUEZ.    VASQUEZ acknowledged he understood and
   17   indicated he would be in contact with CS-3 about updates.
   18             e.    As TFO-UC and CS-3 were leaving USPV, CS-3 handed
   19   VASQUEZ $500 for facilitating the transaction.        VASQUEZ accepted the
   20   money.
   21             f,    On or about December 2, 2020 CS-3 went to USPV to ask
   22   VASQUEZ when CS-3 would see the money.      This meeting was not
   23   recorded, but CS-3 reported it to investigators the same day, and
   24   also provided a "screen shot" of a later communication which
   25   corroborated his account, discussed below.      During the meeting,
   26   VASQUEZ told cs-3 he needed the address on CS-3's bank account
   27   because Steve BARTH needed it to complete the wire transfer,        CS-3
   28   provided the information to VASQUEZ.      Later that day, CS-3 received a
                                           74


                                     EXHIBIT A
                                        93
Case
 Case2:21-cv-07192-SVW-AS
      2:21-cv-06968-RGK-MARDocument
                             Document
                                    1-133-1
                                         FiledFiled
                                               09/08/21
                                                    02/02/22
                                                          Page
                                                             Page
                                                               88 of88104
                                                                       of 104
                                                                           Page
                                                                              Page
                                                                                ID #:94
                                                                                    ID
                                     #:308




    1   text message from VASQUEZ with a picture of a computer screen.          On

    2   the screen CS-3 saw a tracking number - 0W0001073359382 and the words
    3   "bullion purchase" and "pending."          Agents have preserved and reviewed

    4   the photo which VASQUEZ sent.     In the photo, agents observed a

    5   reflection of VASQUEZ looking over the shoulder of someone who
    6   appears to be STEVE BARTH.

    7         g.     VASQUEZ advised that the first wire transfer was for

    8   $10,000.     The rest would follow.

    9                h.   On December 4, 2020 agents received confirmation that
   10   two wires, one for $10,000 and one for $12,000 had been wired into

   11   the under-cover bank account which was being utilized for this
   12   operation.
   13         Q.     USPV Principals Help Its Customers Evade Law Enforcement

   14         95.    During the period of time in which CW-1 rented safe deposit

   15   boxes at USPV (2012-2015), federal agents were investigating CW-1 and

   16   contacted MARK PAUL about CW-l's boxes.          According to CW-1, PAUL told

   17   CW-1 that he stalled in replying to the FBI and instructed GEORGE
   18   VASQUEZ to "slow down in order to alert people."          PAUL specifically

   19   told CW-1 to get his/her stuff out of USPV because the FBI had come
   20   by.   Furthermore, PAUL told CW-1 to call another USPV customer whom

   21   CW-1 had referred, to tell that customer to remove the contents of

   22   his boxes quickly before the FBI could execute warrants.
   23         96.    On August 9, 2019, USPV manager GEORGE VASQUEZ counseled

   24   CS-3 on how to evade law enforcement.          During a recorded conversation
   25   between VASQUEZ and CS-3, VASQUEZ said, "Piece of advice for you.

   26   You know where you keep that [USPV safety deposit box] key, here?
   27   [indicating under his shirt on a chain around his neck) . . . Called,

   28   uh, asset forfeiture.     You ever heard about that?"       CS-3 said, "No,

                                              75


                                     EXHIBIT A
                                        94
Case
 Case2:21-cv-07192-SVW-AS
      2:21-cv-06968-RGK-MARDocument
                             Document
                                    1-133-1
                                         FiledFiled
                                               09/08/21
                                                    02/02/22
                                                          Page
                                                             Page
                                                               89 of89104
                                                                       of 104
                                                                           Page
                                                                              Page
                                                                                ID #:95
                                                                                    ID
                                     #:309




    1   what?" VASQUEZ explained, "Well. Let's say you get pulled over for a

    2   [unintelligible], right?      Cop checking you out, things like that.
    3   Hey, empty your pockets. They see your key, they know it's a safe

    4   deposit box.      They don't know where.   But then, they escalate it

    5   towards - they'll call someone from their department, say hey, you

    6   know what, we got this guy for whatever, whatever . . . . And then

    7   they start looking in to things. You know, and then they'll say, oh

    8   well, we'll confiscate whatever you have, this and that, and then

    9   they' 11 scare you and say hey, you know, you don't tell us where this
   10   key belongs to, you know, you're gonna do twenty, fifteen years."

   11   Later in the conversation, VASQUEZ added, "It's happened before.

   12   Just to let you know.          . Yeah, just to give you a heads up.
   13   That's why we-we make sure we - I take care of our people, man,"

   14   Based on my training and experience as well as a comprehensive
   15   debrief of CS-3, I believe that VASQUEZ was coaching CS-3 on how to
  16    evade law enforcement.

   17           97.   On August 30, 2019, CS-3 spoke to USPV manager GEORGE

  18    VASQUEZ.      The conversation was recorded and reviewed by

  19    investigators.      During the conversation VASQUEZ coached cs-3 on how
   20   to evade law enforcement.      VASQUEZ said, "Like I told you.      Be

   21   careful when you go out.      This is between us.   Mike [POLIAK]-you know

   22   he-he saw somebody get pulled over."       CS-3 asked, "Is it hot here or
   23   what?     Should I be worried?"    VASQUEZ replied, "No, no, no.         No it's

   24   just the people that do stuff."      CS-3 asked, "They get followed in?"

   25   VASQUEZ replied, "Yeah!      They're fuckin' stupid.   You know.     Not,
   26   not, not the place itself."       Later in the conversation, CS-3

   27   remarked, "You got to tell everybody to fuckin', shit, fuckin' watch

   28   their back."     VASQUEZ replied, "I tell everybody           I take care of

                                             76


                                      EXHIBIT A
                                         95
Case
 Case2:21-cv-07192-SVW-AS
      2:21-cv-06968-RGK-MARDocument
                             Document
                                    1-133-1
                                         FiledFiled
                                               09/08/21
                                                    02/02/22
                                                          Page
                                                             Page
                                                               90 of90104
                                                                       of 104
                                                                           Page
                                                                              Page
                                                                                ID #:96
                                                                                    ID
                                     #:310




    1   people, man."      Later VASQUEZ, discussing a person who was pulled over

    2   and then let go said, "But it's just that I tell them, even though

    3   they let him go, like, why did they pull you over in the first place?

    4   Has to be a reason . . . Cause you did something fuckin' stupid . .

    5   And one other guy said oh he had tinted windows - too tinted.                 One

    6   didn't have a fuckin'        front license plate . . . Little shit."          CS-3

    7   agreed, saying, "They'll find something to fuckin'            jam you up and

    8   then they find something and from that they run."             VASQUEZ replied,

    9   "That's what I tell them, perro!             But what do I know?   Right?"

   10        98.     In July 2019, CS-3 was at USPV.         While there, George

   11   VASQUEZ showed CS-3 the USPV security monitors and pointed out a

   12   number of vehicles which VASQUEZ said he believed belonged to law

   13   enforcement.      VASQUEZ,   in fact,   identified a number of law

   14   enforcement vehicles which were in the area due to CS-3's presence

   15   there.     VASQUEZ explained to CS-3 that he looks for vehicles parked

   16   in one spot too long; vehicles which park, but no one exits; tinted

   17   windows; and other factors.

   18        99.    On or about October 21, 2020, George VASQUEZ explicitly

   19   warned CS-4 that law enforcement officers were asking about him/her

   20   and that he/she should remove the contents of his/her box.              The

   21   meeting between VASQUEZ and CS-4 was recorded and reviewed by

   22   investigators.

   23                a.    Specifically, on or about October 16, 2020 local law

   24   enforcement officers went to USPV and represented themselves to be

   25   narcotics investigators seeking information about a person they

   26   asserted they had followed to USPV.            The officers presented VASQUEZ

   27   with a photograph of CS-4.        VASUQEZ first indicated that he could not

   28   give information about clients.         As the officers were leaving,

                                                77


                                        EXHIBIT A
                                           96
Case
 Case2:21-cv-07192-SVW-AS
      2:21-cv-06968-RGK-MARDocument
                             Document
                                    1-133-1
                                         FiledFiled
                                               09/08/21
                                                    02/02/22
                                                          Page
                                                             Page
                                                               91 of91104
                                                                       of 104
                                                                           Page
                                                                              Page
                                                                                ID #:97
                                                                                    ID
                                     #:311




    1   however, VASQUEZ walked them out and stated that he had seen the
    2   person in the photo at USPV,        He added that customers often remove
    3   the contents of their boxes and never return.
    4                b.      Shortly after the local law enforcement officers left
    5   USPV, VASQUEZ contacted CS-3, who had talked about coming to USPV to
    6   see VASQUEZ that day.        Using coded language and communicating via
    7   text message, VASQUEZ told CS-3 not to come, that the area was "hot"
    8   right now.
    9                c.     On or about October 19, 2020, CS-4 sent VASQUEZ a text
  10    message indicating that CS-4 intended to pay rent on his/her box that
   11   week.   VASQUEZ replied via text message and told CS-4 to delete all
  12    text communications between them.           This communication has been
   13   reviewed and preserved.
   14                d.      On October 21, 2020, CS-4 went to USPV to pay
   15   quarterly rent on his/her box.        VASQUEZ spoke to CS-4 in the office 37
   16   area and coached him/her through a dialogue whereby VASQUEZ said,
  17    "Pay close attention, okay? Pay attention.           It's going to be $5,000."
   18   CS-4 expressed surprise and confusion.          VASQUEZ said, "Yes.     Pay
  19    attention.        You say it's too expensive and you'd rather not do
   20   business with me.        Okay?"   CS-4 was confused by this charade, but
   21   followed VASQUEZ's instructions. When CS-4 asked why, VASQUEZ said,
   22   "I'm doing you a favor, man.                  I'm doing you a favor, dude,
   23   don't say anything. Okay?"         VASQUEZ added, "When you leave here,
   24   delete my number.        I'm doing you a favor, okay?     If you want to go in
   25   the bathroom and leave something for me, that's fine."           CS-4
   26
   27
             37 Conversations between CS-4 and VASQUEZ occurred in Spanish.
   28   Calls were translated into English by Spanish-language translators
        working on behalf of the FBI.
                                               78


                                          EXHIBIT A
                                             97
Case
 Case2:21-cv-07192-SVW-AS
      2:21-cv-06968-RGK-MARDocument
                             Document
                                    1-133-1
                                         FiledFiled
                                               09/08/21
                                                    02/02/22
                                                          Page
                                                             Page
                                                               92 of92104
                                                                       of 104
                                                                           Page
                                                                              Page
                                                                                ID #:98
                                                                                    ID
                                     #:312




    1   continued to press for an explanation.        VASQUEZ said, "I'm telling

    2   you, the heat is hot.           . . Things are hot here, I want you to

    3   cancel your box.              They're after you, man."     CS-4 asked, "Who?u

    4   VASQUEZ replied, "The cops, dude."        CS-4 asked whether he/she could

    5   rent a box later.        VASQUEZ said, "Another day, later on.      While

    6   things clam down.           . I'm doing you a favor.     They'll come again.

    7             They showed me your photo and everything, so."        CS-4 asked,

    8   "And the owners are the ones who made the decision?u           VASQUEZ said,

    9   "No, man.     I'm making it, to protect you, man . .          I'm just telling

   10   you because if they come here, they're after you.           Okay?

   11   They're going to come.        They already said that when they're after

   12   you, they're going to come back."        CS-4 asked again about renting a

   13   box later.        VASQUEZ concluded with "I know, dude.     They're looking

   14   for you.     I don't know.     The cops are looking for you,    for real.     I'm

   15   not going to lie to you,n        CS-4 agreed and left.     Conversations

   16   between VASQUEZ and law enforcement, as well as CS-4 were

   17   consensually recorded and reviewed.        Text messages have been reviewed

   18   and preserved,

   19                e.      On November 12, 2020, VASQUEZ related these events to

   20   CS-3, as well 38 •     This communication between VASQUEZ and CS-3 was

   21   recorded and reviewed by investigators.        During that conversation,

   22   VASQUEZ described how the police had come to USPV looking for a USPV

   23   customer (CS-4).        VASQUEZ speculated that the police had stopped the

   24   customer and found his/her key or followed him/her to USPV.            VASQUEZ

   25   assured CS-3 that he/she shouldn't worry about it, as the police had

   26   not returned.

   27

   28
             38   CS-3 and CS-4 are completely unknown to each other.
                                          79


                                        EXHIBIT A
                                           98
Case
 Case2:21-cv-07192-SVW-AS
      2:21-cv-06968-RGK-MARDocument
                             Document
                                    1-133-1
                                         FiledFiled
                                               09/08/21
                                                    02/02/22
                                                          Page
                                                             Page
                                                               93 of93104
                                                                       of 104
                                                                           Page
                                                                              Page
                                                                                ID #:99
                                                                                    ID
                                     #:313




    1        100. Based on discussions Michael POLIAK had with CS-1, it
    2   appears part of his motivation in buying into USPV was to protect
    3   both his own money, and that of his "friends." In a December 2019
    4   meeting which was recorded and reviewed by investigators, POLIAK told
    5   CS-1, "the reason why I wanted to buy it (USPV], I got a lot of
    6   fucking money now.     Not only - I don't just want to be a customer, I
    7   wanted to be the owner.         cause that way, if anything fucking
    8   happens, I know first.     And it's good for all my customers that I
    9   know first.     Cause I'm not Mark [PAUL]."   CS-1 said, "You see, I
   10   mean, you only yourself have what, ten million, eight million?"
   11   POLIAK said, "Yeah."     CS-1 continued, "And your friends?"     POLIAK
   12   replied, "A lot."     CS-1 said, "Think about that. Your friends.
   13   It's your ass.     It's your friends."   CS-1 said, "Worry-wise I don't
   14   care, but again, you have to have your eyes in there because you have
   15   to monitor their money,     But if you're a client-"    POLIAK added, "But
   16   it's also - how many people trust anybody with that kind of money?
   17   Anonymously?     I mean, it's not like we're Chase Bank.       . . So why

   18   do they come?     Cause of me. They're like, Mike {POLIAK]?     You're
   19   there, okay.     I'm good with that." This exchange suggests that POLIAK
   20   anticipates being able to warn his "friends" if there is some reason
   21   their money is in jeopardy.
   22        101. On or about September 16, 2020, in a conversation which was
   23   recorded and reviewed by investigators, Michael POLIAK told CS-1 that
   24   he would remove all but $5,000 of the contents of a client's box, for
   25   that client, if he became aware of pending legal process.
   26   Specifically, POLIAK and CS-1 were talking about having "a guy like
   27   me [POLIAK]" watching customers' money. POLIAK indicated that if
   28   someone had a problem he would "move it to another box . . . .       I
                                           80


                                     EXHIBIT A
                                        99
Case
 Case2:21-cv-07192-SVW-AS
       2:21-cv-06968-RGK-MAR
                           Document
                             Document
                                    1-1 33-1
                                         FiledFiled
                                               09/08/21
                                                    02/02/22
                                                          PagePage
                                                               94 of94
                                                                     104
                                                                       of 104
                                                                           PagePage
                                                                                ID #:100
                                                                                     ID
                                      #:314




    1    would leave like five grand in the box.             Five grand.   Take it.
    2    See you later. At least they can't say 'Oh, it was empty,'"        POLIAK
    3    then told CS-1 about agents from Homeland Security who came to USPV
     4   with a subpoena.     POLIAK said the agents showed a picture of the

    5    person whose box they were interested in, but POLIAK told them that
    6    USPV has no information about who holds which box and the agents
    7    needed to bring the person to USPV, physically, to have his eye
    8    scanned.

    9         R.     It Would Be Irrational for Non-Criminal Customers to Choose
                     USPV
   10
              102.      As suggested above by USPV owner POLIAK, there is no
   11
         reason for non-criminal clients to use USPV, whose selling points
   12
         are: anonymity, instructions on how to structure cash transactions to
   13
         evade cash reporting requirements, tips on how to avoid asset
   14
         forfeiture, and ownership and management by drug traffickers.
   15
         Legitimate customers need not pay to store cash, but can receive
   16
         interest and insurance by depositing it in a money market or other
   17
         financial account.    Only those who wish to hide their wealth from the
   18
         DEA, IRS, or creditors would instead chose to pay to store actual
   19
         cash at a single storefront operation owned by the likes of MARK PAUL
   20
         and MICHAEL POLIAK who might go bankrupt, close the business for any
   21
         reason, or steal their valuables and run off.      No organization stands
   22
         behind the boxes at USPV in the way that Chase Bank, which has a
   23
         nearly 150-year history and almost 200,000 employees, stands behind
   24
         its safety deposit boxes, to say nothing of its bank accounts, which
   25
         are insured by the FDIC.    As stated by USPV owner POLIAK, it is his
   26
         standing among drug traffickers, as well as USPV's criminal-friendly
   27

   28

                                            81


                                     EXHIBIT A
                                       100
Case
 Case2:21-cv-07192-SVW-AS
       2:21-cv-06968-RGK-MAR
                           Document
                             Document
                                    1-1 33-1
                                         FiledFiled
                                               09/08/21
                                                    02/02/22
                                                          PagePage
                                                               95 of95
                                                                     104
                                                                       of 104
                                                                           PagePage
                                                                                ID #:101
                                                                                     ID
                                      #:315




     1   policies, that entice criminals to store their millions in cash, as

     2   described earlier in the previous forfeitures section, at USPV.

     3        s.   USPV Falsely Claims It Either Returns the Unclaimed
                   Contents of Boxes to a Designee, or Escheats it to the
     4             State.

     5        103. On its company website USPV claims that the contents of

     6   unclaimed boxes will be turned over to a designee or to the State of

     7   California.    Specifically, under "Frequently Asked Questions - What

     8   happens to the contents of my box if I die or become physically or

     9   mentally incapacitated?" - USPV states,

   10         "You should provide your attorney, beneficiary, or custodian

   11         with information about the existence of your box (for an example

   12         letter, visit our Customer Resources page). However, knowledge

   13         of the existence of your box does not constitute permission to

   14         access it. USPV will require a court authorization letter to

   15         release the contents of your box to ANYONE other than the

   16         renter.

   17         "If you choose not to provide this information, USPV will open

   18         your box due to nonpayment of rent (after a six month grace

   19         period has elapsed). If you have provided contact information

   20         within your box (suggested), USPV will attempt to locate you. If

   21         no contact information is found, we will store the contents of

   22         your box in our private safe for three years. Thereafter, we are

   23         required to escheat (forward) the contents to the State of

   24         California."

   25         104. USPV employee GEORGE VASQUEZ, made similar statements to

   26    FBI agents during an interview on or about July 1, 2016.

   27    Specifically, VASQUEZ told agents that if a client fails to pay for

   28    his/her safety deposit box for three months, USPV will drill out the

                                            82


                                     EXHIBIT A
                                       101
Case
 Case2:21-cv-07192-SVW-AS
       2:21-cv-06968-RGK-MAR
                           Document
                             Document
                                    1-1 33-1
                                         FiledFiled
                                               09/08/21
                                                    02/02/22
                                                          PagePage
                                                               96 of96
                                                                     104
                                                                       of 104
                                                                           PagePage
                                                                                ID #:102
                                                                                     ID
                                      #:316




     1   lock and try to contact the client if they find identifying
     2   documentation on the box. If not, USPV will keep the contents on hold
     3   for three years and then forfeit it to the State of California.

     4        105. CW-1 alleged that these assertions by USPV and its
     5   principals are false.       CW-1 reported that he/she and another
     6   individual rented a USPV box to which CW-1 had both keys. CW-1 also
     7   paid all the rent and fees for the box.       Furthermore, CW-1 affixed a
     8   sticker onto the box with instructions for CW-l's spouse or father to
     9   be contacted in the event that CW-1 failed to pay rent on the box.
   10    CW-1 has not paid rent on the box in five years because CW-1 is
   11    incarcerated.       Neither CW-l's spouse nor father were ever contacted.
   12    The other person whose biometrics were used to rent the box has
   13    passed away.       The U.S. government did not seize the contents of the
   14    box, and there is no record of the property being forfeited to the
   15    State of California (which should not have happened because a
   16    designee was identified).       Thus it appears that USPV may have kept
   17    the contents of CW-l's box.       Furthermore, statements MARK PAUL made
   18    to CW-1 support this, described below.

   19         106. PAUL told CW-1 that in the event of non-payment, after
   20    allowing a grace period, PAUL would drill open the box, a process he
   21    said he would video record.       In the absence of contact instructions,
   22    he would place the contents into his own safe deposit box.          CW-1
   23    reported that PAUL himself has several USPV boxes.       CW-1 believes
    24   that PAUL keeps the contents of these boxes for himself.       CW-1
   25    believes that the USPV stated policy concerning unpaid rent is false.
    26               1.      USPV Has Never Escheated Property
   27         107.        Based on information obtained from the California State

    28   Controller's Office - Unclaimed Property division, USPV has never

                                              83


                                       EXHIBIT A
                                         102
Case
 Case2:21-cv-07192-SVW-AS
       2:21-cv-06968-RGK-MAR
                           Document
                             Document
                                    1-1 33-1
                                         FiledFiled
                                               09/08/21
                                                    02/02/22
                                                          PagePage
                                                               97 of97
                                                                     104
                                                                       of 104
                                                                           PagePage
                                                                                ID #:103
                                                                                     ID
                                      #:317




    1   escheated property to the state3 9 ,     USPV has been in business since
    2   2012; discounting the six month and three year waiting periods, this
    3   means that in approximately five years, no one who failed to identify
    4   a contact person has ever 1) abandoned a box; 2) failed to pay rent
    5   on a box; 3) been arrested; 4) been deported; 5) died; or 6) become
    6   incapacitated.     This seems unlikely, particularly given the types of
    7   customers using USPV, as described herein.        A more logical
    8   explanation is that PAUL places the contents of abandoned boxes in
    9   his own safe deposit box for the three-year waiting period, but never
   10   releases them to the state.
   11        T.      NOTIFYING USPV CUSTOMERS HOW TO CLAIM THEIR PROPERTY

   12        108. The search and seizure warrants the government seeks list
   13   the nests of safety deposit boxes at USPV among the items to be
   14   seized.   These nests of safety deposit boxes are evidence and
   15   instrumentalities of USPV's criminality.       The warrants authorize the
   16   seizure of the nests of the boxes themselves, not their contents.          By
   17   seizing the nests of safety deposit boxes, the government will
   18   necessarily end up with custody of what is inside those boxes
   19   initially.     Agents will follow their written inventory policies to
   20   protect their agencies from claims of theft or damage to the contents
   21   of the boxes, and to ensure that no hazardous items are unknowingly
   22   stored in a dangerous manner.     Agents will attempt to notify the
   23   lawful owners of the property stored in the boxes how to claim their
   24   property, such as by posting that information on the internet or at

   25
   26        3 9 I ran a search on the Unclaimed Property Website and spoke
        with a representative from the State Controller's Office, who also
   27   ran a search. Both searches revealed no results. In other words,
        USPV has never escheated property to the State of California, as it
   28   claims.

                                            84

                                     EXHIBIT A
                                       103
Case
 Case2:21-cv-07192-SVW-AS
       2:21-cv-06968-RGK-MAR
                           Document
                             Document
                                    1-1 33-1
                                         FiledFiled
                                               09/08/21
                                                    02/02/22
                                                          PagePage
                                                               98 of98
                                                                     104
                                                                       of 104
                                                                           PagePage
                                                                                ID #:104
                                                                                     ID
                                      #:318




     1   USPV itself, or by contacting the owners directly.       In order to
     2   notify the owners directly, agents will, in accordance with their
     3   policies regarding an unknown person's property, look for contact
     4   information or something which identifies the owner. 40       (USPV
     5   recommends that box renters include their or their designees'
     6   telephone numbers on a note in the box in the event that USPV removes
     7   the contents for nonpayment of rental fees.)
     8        u.     REQUEST FOR AFTER-HOURS SEARCH WARRANT FOR USPV LOCATION
                     ONLY
     9
              109.      I request permission to complete the search and seizure
   10
         warrants at the USPV location outside of normal searching hours.
   11
         Because that facility is secured and advertises that it is on a time-
   12
         lock, agents will not be able to begin executing any warrants there
    13
         until after its normal opening time, 10:00am.      Further, because it is
    14
         secured, I expect that removing some business equipment, especially
    15
         the nests of safety deposit boxes, will be unusually time consuming,
    16
         so that agents may not be able to complete their tasks before
    17
         10:00pm.    Accordingly, for the USPV location only, I request
    18
         permission for agents to continue executing search and seizure
    19
         warrants beyond 10:00pm.
    20
                     USPV OWNER MARK PAUL LIVES AT PAUL'S RESIDENCE
    21
              110.
    22
    23
    24

    25
    26
              40 The FBI policy regarding taking custody of an unknown person's
    27   property provides, in part, that agents "inspect the property as
         necessary to identify the owner and preserve the property for
    28   safekeeping." The inspection "should extend no further than
         necessary to determine ownership."
                                            85


                                     EXHIBIT A
                                       104
Case
 Case2:21-cv-07192-SVW-AS
       2:21-cv-06968-RGK-MAR
                           Document
                             Document
                                    1-1 33-1
                                         FiledFiled
                                               09/08/21
                                                    02/02/22
                                                          PagePage
                                                               99 of99
                                                                     104
                                                                       of 104
                                                                           PagePage
                                                                                ID #:105
                                                                                     ID
                                      #:319




     1

     2

     3

     4

     5           USPV OWNER MICHAEL POLIAK LIVES AT POLIAK'S RESIDENCE

     6        111.

     7

     8

     9

   10
   11

   12

   13

   14

   15          USPV MANAGER GEORGE VASQUEZ LIVES AT VASQUEZ'S RESIDENCE




                                                                -
   16         112.

   17

   18

   19
   20

   21
   22

   23

   24

   25            HILLARY AND STEVE BARTH LIVE AT THE BARTHS' RESIDENCE

   26         113.

   27

   28

                                            86


                                     EXHIBIT A
                                       105
Case
 Case2:21-cv-06968-RGK-MAR
      2:21-cv-07192-SVW-AS Document
                           Document 1-1
                                    33-1 Filed
                                          Filed09/08/21
                                                02/02/22 Page
                                                          Page100
                                                               100ofof104
                                                                       104 Page
                                                                            PageIDID
                                    #:106
                                    #:320




    1

    2
   3

    4
    5

    6




   8-.
    7



    9             TRAINING AND EXPERIENCE ON THE SUBJECT OFFENSES

  10         114. In my training and experience, persons involved in money

  11    laundering, drug trafficking, and structuring must maintain records
  12    of their activities just to manage their day-to-day criminal business

  13    affairs, and to keep track of their finances.     Commonly they maintain

  14    both written and electronic records, usually on computers and smart
  15    phones or tablets.   Typically they store these records where they

  16    feel is safe and near at hand, most often their residences, places of

  17    business, and vehicles.   Persons with illicit wealth often attempt to
  18    hide it from the authorities by storing it in the form of cash,
  19    precious metals, or digital currencies such as bitcoin.      Persons

  20    involved in criminal conspiracies must of necessity maintain the

  21    contact information of their co-conspirators in the form of telephone

  22    numbers, email addresses, and user names for communication

  23    applications, such as Signal, WhatsApp, and Facebook.     Most often
  24    they maintain this contact information on their computers or smart

  25    phones.
  26                  TRAINING AND EXPERIENCE ON DIGITAL DEVICES

  27         115. Based on my training, experience, and information from

  28    those involved in the forensic examination of digital devices, I know

                                          87


                                   EXHIBIT A
                                     106
Case
 Case2:21-cv-06968-RGK-MAR
      2:21-cv-07192-SVW-AS Document
                           Document 1-1
                                    33-1 Filed
                                          Filed09/08/21
                                                02/02/22 Page
                                                          Page101
                                                               101ofof104
                                                                       104 Page
                                                                            PageIDID
                                    #:107
                                    #:321




    1   that the following electronic evidence, inter alia, is often
    2   retrievable from digital devices:
    3              a.   Forensic methods may uncover electronic files or
    4   remnants of such files months or even years after the files have been
    5   downloaded, deleted, or viewed via the Internet.     Normally, when a
    6   person deletes a file on a computer, the data contained in the file
    7   does not disappear; rather, the data remain on the hard drive until
    8   overwritten by new data, which may only occur after a long period of
    9   time.   Similarly, files viewed on the Internet are often
   10   automatically downloaded into a temporary directory or cache that are
   11   only overwritten as they are replaced with more recently downloaded
   12   or viewed content and may also be recoverable months or years later.
   13              b.   Digital devices often contain electronic evidence
   14   related to a crime, the device's user, or the existence of evidence
   15   in other locations, such as, how the device has been used, what it
   16   has been used for, who has used it, and who has been responsible for
   17   creating or maintaining records, documents, programs, applications,
   18   and materials on the device.    That evidence is often stored in logs
   19   and other artifacts that are not kept in places where the user stores
   20   files, and in places where the user may be unaware of them.      For
   21   example, recoverable data can include evidence of deleted or edited
   22   files; recently used tasks and processes; online nicknames and
   23   passwords in the form of configuration data stored by browser, e-
   24   mail, and chat programs; attachment of other devices; times the
   25   device was in use; and file creation dates and sequence.
   26              c.   The absence of data on a digital device may be
   27   evidence of how the device was used, what it was used for, and who
   28   used it.   For example, showing the absence of certain software on a
                                          88

                                   EXHIBIT A
                                     107
Case
 Case2:21-cv-06968-RGK-MAR
      2:21-cv-07192-SVW-AS Document
                           Document 1-1
                                    33-1 Filed
                                          Filed09/08/21
                                                02/02/22 Page
                                                          Page102
                                                               102ofof104
                                                                       104 Page
                                                                            PageIDID
                                    #:108
                                    #:322




    1   device may be necessary to rebut a claim that the device was being
    2   controlled remotely by such software.
    3                d.   Digital device users can also attempt to conceal data
    4   by using encryption, steganography, or by using misleading filenames
    5   and extensions.     Digital devices may also contain "booby traps" that
    6   destroy or alter data if certain procedures are not scrupulously
    7   followed.     Law enforcement continuously develops and acquires new
    8   methods of decryption, even for devices or data that cannot currently
    9   be decrypted.
   10        116. Based on my training, experience, and information from
   11   those involved in the forensic examination of digital devices, I know
   12   that it is not always possible to search devices for data during a
   13   search of the premises for a number of reasons, including the
   14   following:
   15                a.   Digital data are particularly vulnerable to
   16   inadvertent or intentional modification or destruction.      Thus, often
   17   a controlled environment with specially trained personnel may be
   18   necessary to maintain the integrity of and to conduct a complete and
   19   accurate analysis of data on digital devices, which may take
   20   substantial time, particularly as to the categories of electronic
   21   evidence referenced above.     Also, there are now so many types of
   22   digital devices and programs that it is difficult to bring to a
   23   search site all of the specialized manuals, equipment, and personnel
   24   that may be required.
   25                b.   Digital devices capable of storing multiple gigabytes
   26   are now commonplace.     As an example of the amount of data this
   27   equates to, one gigabyte can store close to 19,000 average file size
   28   (300kb) Word documents, or 614 photos with an average size of 1.5MB.
                                           89


                                    EXHIBIT A
                                      108
Case
 Case2:21-cv-06968-RGK-MAR
      2:21-cv-07192-SVW-AS Document
                           Document 1-1
                                    33-1 Filed
                                          Filed09/08/21
                                                02/02/22 Page
                                                          Page103
                                                               103ofof104
                                                                       104 Page
                                                                            PageIDID
                                    #:109
                                    #:323




    1        117. The search warrant requests authorization to use the

    2   biometric unlock features of a device, based on the following, which

    3   I know from my training, experience, and review of publicly available
    4   materials:

    5                a.   Users may enable a biometric unlock function on some

    6   digital devices.     To use this function, a user generally displays a

    7   physical feature,    such as a fingerprint, face, or eye, and the device

    8   will automatically unlock if that physical feature matches one the

    9   user has stored on the device.     To unlock a device enabled with a

   10   fingerprint unlock function, a user places one or more of the user's

   11   fingers on a device's fingerprint scanner for approximately one

   12   second.   To unlock a device enabled with a facial,   retina, or iris

   13   recognition function,    the user holds the device in front of the

   14   user's face with the user's eyes open for approximately one second.

   15                b.   In some circumstances, a biometric unlock function

   16   will not unlock a device even if enabled, such as when a device has

   17   been restarted or inactive, has not been unlocked for a certain

   18   period of time (often 48 hours or less), or after a certain number of

   19   unsuccessful unlock attempts.     Thus, the opportunity to use a

   20   biometric unlock function even on an enabled device may exist for

   21   only a short time.     I do not know the passcodes of the devices likely

   22   to be found in the search.

   23                c.   Thus, the warrants I am applying for would permit law

   24   enforcement personnel to, with respect to any device that appears to

   25   have a biometric sensor and falls within the scope of the warrant:

   26   (1) depress the thumb and/or fingers of MARK PAUL, MICHAEL POLIAK,

   27   GEORGE VASQUEZ, and HILLARY and STEVE BARTH on the device(s); and

   28   (2) hold the device(s) in front of those persons' faces with their

                                           90


                                    EXHIBIT A
                                      109
Case
 Case2:21-cv-06968-RGK-MAR
      2:21-cv-07192-SVW-AS Document
                           Document 1-1
                                    33-1 Filed
                                          Filed09/08/21
                                                02/02/22 Page
                                                          Page104
                                                               104ofof104
                                                                       104 Page
                                                                            PageIDID
                                    #:110
                                    #:324




    1   eyes open to activate the facial-,           iris-, and/or retina-recognition

    2   feature.

    3           118. Other than what has been described herein, to my knowledge,

    4   the United States has not attempted to obtain this data by other

    5   means.

    6                                         CONCLUSION
    7           119. Based upon the foregoing facts and my training and

    8   experience, I believe there is probable cause to believe that

    9   evidence,         fruits, and instrumentalities of the SUBJECT OFFENSES, as

  10    listed in Attachment B, will be found at the SUBJECT PREMISES.                I

  11    further respectfully submit that there is probable cause to believe

  12    that the business computers, money counters, nests of safety deposit

  13    boxes and keys, digital and video surveillance and security equipment

  14    and biometric scanners located at USPV,            9182 West Olympic Blvd,,

  15    Beverly Hills, CA 90212 were used or intended to be used to

  16    facilitate violations of         18 tJ,S,C. § 1956, 21 U,S,C, § 841, and .3.1.
  17    n,s,c, § 5324,        and conspiracy to commit the same.      As a result, those

  18    items are subject to seizure and forfeiture to the United States

  19    pursuant to 18        u,s,c, § 982/b} (ll, 2.J U,S,C, § 853/fl   and 31 U,S,C,

  20    §   53J 7 /cl .
  21
        Attested to by the applicant in accordance
  22    with the requirements of Fed. R, Crim, P, 4,1
        by telephone on t h i s ~ day of March, 2021.
  23

  24

  25
   26

  27    STEVE KIM
        UNITED STATES MAGISTRATE JUDGE
  28

                                                91


                                         EXHIBIT A
                                           110
